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                       STATE OF OHIO,

                             Plaintiff,                                  Case No. CR 1983-12-0614

                       vs.



                       VON CLARK DAVIS                                   Judge Nastoff

                             Defendant.




                                          DEFENDANT'S SUPPLEMENTAL ANSWER
                                              TO REQUEST FOR DISCOVERY



                                    NOW COMES Defendant, by and through his undersigned counsel, and,
                       responding to the State's Motion for Discovery, responds as follows:

                       A. DOCUMENTS AND TANGIBLE OBJECTS, CRIMINAL RULE 16(C)(1)(a):

                             1. Summary of interview of Elizabeth Crawford
                             2. Summary of interview of Fannie Whiteside
                             3. Summary of interview of Charles Flowers
                             4. Affidavit of Milton Flowers
                             s. Affidavit of Dr. Orlando Hernandez, M.D.
                             6. Affidavit of Dr. J ames I. Fidelholtz, M.D.

                              WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       b:· the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.


                       B.    REPORTS       OF    EXAMINATIONS OR TESTS,                CRIMINAL RULE
                       16(B)(1)(d):
Repper, Pagan,
Cook, Ltd.
Attorneys at Law
ISO I First Avenue
Middletown, OH 45044
Phone: 513.424.1823
FAX: 513.424.3135




                                                                              VON CLARK DAVIS v. WARDEN
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                              WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.



                       C. WITNESSES' NAMES AND ADDRESSES, CRIMINAL RULE t6(C)(t)(c):




                              WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                       by the State in its Answers of Discovery. Defendant reserves the right to supplement
                       this response upon identification of additional evidence.


                                                                    Respectfully submitted,




                                                                    Mel da ook-Reich (SC# oo66596)
                                                                    REPPER, PAGAN, COOK
                                                                    Attorney for Defendant
                                                                    1501 First Avenue
                                                                    Middletown, OH 45044
                                                                    (513) 424-1823; Fax (513)424-3135


                                                                    and


                                                                    ~ 'RCYlll--( {ii)
                                                                    Randall Porter (SC#ooo5835)
                                                                    Assistant State Public Defender
                                                                    Office of the Ohio Public Defender
                                                                    250 East Broad Street, Suite 1400
                                                                    Columbus, Ohio 43215
                                                                    (614) 466-5394 (Voice)
                                                                    (614) 644-0703 (Facsimile)
                                                                    PorterR@OPD.state.OH.US

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                                                   CERTIFICATE OF SERVICE

                                     I hereby certify that a true copy of the foregoing was delivered via hand

                        delivery to Daniel G. Eichel, First Assistant Butler County Prosecuting Attorney, and

                        Michael A. Oster, Jr. Assistant Butler County Prosecuting Attorney by leaving same at

                        the Office of the Butler County Prosecuting Attorney,    nth   Floor, 315 High Street,

                        Hamilton, Ohio 45011, on this day September   3vzl, 2009.




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                                            CONFIDENTIAL
                                       ATTORNEY WORK PRODUCT

     Elizabe th Crawford (Paternal Aunt)                                     Dav is


         Interviewed by John Lee and Peggy Kent on 7 / 13/93 in t he home of he r
     mother , Grace Ayers.  Mrs. Ayers resides at • • • • • • -         Hamilton,
     Ohio. Her phone number is

         Elizabeth Crawford is the paternal aunt of our client, Von Davis.     Grace
     Ayers is Von's paternal grandmother.   Elizabeth was the primary responde n t in
     the interview but she would sometimes refer questions on the family history to
     her 84-year old mother who was present. Both Elizabeth and Grace were ab l e to
     offer some hi storical perspectives on Von's fa ther's side of the fami l y,
     however, they had limited contact with Von during his childhood .

         Liz reported her parents are Grace Ayers and Th omas El liot Davis .                Her
         father, Thomas, died in 1972.

         Liz reported her parents had 3 children:

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                   i·s· Sicloltlt· -·D
             Ph.ll I
                                     fii.olii.B. - -   resides at • • • • • • • Te aneck, N. J .


             Nick Davis - D.O.B.                - deceased

             Elizabeth Davis - D.O.B.

         Liz reported her brother,~Nick, drowned in December of 1974. His body was
         found in a river in Washington, D.c., which Liz found to be strange .    In
         addition to be an excellent swimmer, the fa mily could not unders t and how
         he could have gotten down too the r i ver' s edge because he walked with a
         cane.

         Liz reported all of the Davis c hi ld ren were born in Hami lton.            There were
         no problem pregnancies in b irths.

        Grace r epor ted only Liz    had a   serio us childhood ill ness,     spinal
        meningitis. Ni ck was a healthy child who had no deve l opmental problems .

        Liz reported her father worked as a porte r o n the railroad and her mother
        worked as an office cleaner at Ohi o Cas ualty.

        Liz reported her mother was in charge of the household but both paren t s
        d isciplined the children.  Nick got more spanki ngs than his sisters for
        not doing what he was supposed to d o. He also would take some spanking s
        for his sister (take blame for her acts) i n exchange for wha teve r sweets
        she had. (cookies, candy, etc.)

        Liz recall ed Nick did not do well in school.       He had a tempe r that
        resulted in numerous schoolyard fights . Nick attended Harrison Elementary




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          and Roosevelt Jr. High befo re dropping out in the seventh grade . Both Liz
          and Grace reported Nick was sent to Boys Industrial School in Cleveland
          when he was about 15 or 16 years old.        Nick was placed in B.I.S. for
          truancy and fighting.    Grace believed he remained in BIS for 6 mo nths.
          When Nick was released, he d id not re-enrol l in school.

         Grace reported Nick returned to Hamilton after his release and went to
         work for a l ocal dry cleaners for a brief pe riod prior to e nlisting in the
         Navy. Nick left school during his ninth grade year at Roosevelt J r . High
         School .

         Nick enlisted in the service in September of 1944 but he met and dated
         Alluster prior to his enlistment. Liz believes that Alluster might be two
         years older than Nick.   Nick completed one term in the service ·(2 or 3
         years) and returned to Hamilton after be i ng discharged honorably.

         Liz nor Grace could recall when Nick and All us ter were married but t hey
         both agreed their first child Elliot was born after Nick left t he service.
         Liz believes the couple had their own apartment by the time Elliot was
         born .

         Liz reported that she went to school with Alluster in Hamilton . Liz also
         recalled that Alluster was not a woman to bother because she was tough.
         According to Liz, "you didn't bother her.   She didn't go around starting
         things but when the deal went down, she ended it." Liz reca lled c h ildren
         rarely picked on Alluster because she was a good fighter .

         Liz reported she knew Alluster' s mom as Vick, but she did not have much
         contact with Alluster's mother.

         Liz recalled that Nick and Alluster "got into it" freq u ently . She did not
         know if the police were ever called but she does not think that was the
         case .

         Liz reported that both Nick and Alluster drank but Nick was the heavier
         drinker of the two . She believed that her brother had a long term problem
         with alcohol but he never sought professional help fo r his prob l em .

         Liz recalled at the funeral of their father, Nick , who had been drinking ,
         "fell out" and had to be caught by other family members . Nick also had to
         go to court at one time for taking an unauthorized trip to Detroit in the
         Von belonging to his employe r. Liz believes these ac tio n s were part of a
         drinking b inge but Nick did not have to go to jail for theft .            Liz
         believ es it was after this i n cident that Nick left his family for good- and
         went to live in Washington, D.C . with his father .        (Liz reported her
         parents had been separated for a while when Nick moved to D.C.)        At the
         time Nick moved to D. C. all his children had been born but his divorce
         from Alluster had not been finalized .

         Liz reported drank a lot and he had a temper .     She believes it was that
         combination that caused the ma rriage to break up. Despite Nicks excessive
         weekend drinking , he did provide for the family financially and when he
         was sober, he was a decent father.    Liz recalled that her brother was far
         from "A-1" as a father but he was never physically abusive towards his
         children.




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          Liz recalled Alluster never complained to other family members about Nick .
          In addition to his alcoholism, Nick was known to see other women while he
          was married.   Liz did not know i f Nick had children from any of his
          extramarital relations .

          Liz reported Nick and Al.luster had five children:    "Bu tch" (Elliot), Von,
          Carol, Greg and Victor .

          Liz described Von as a quiet little boy. "He was not a slow child just a
          quiet child." Von seemed normal developmentally and he got along with his
          peers. Liz could not recall Von being a problem child behaviorally.   Liz
          did not know how far Van went in school or how he did academically .

          Liz recalled Von went into the Navy after he left school and that h e
          seemed to be glad when he got out.   Liz was not aware of any particular
          goals Von had. She recalled he did work as an auto body man, as well as a
          dental technician .

          Liz could not recall Von having any major i l l ness as an adult or a s    a
          c hild. She also had no knowledge of Von u si ng drugs or alco hol.

          Liz reported her first awareness of Von encountering legal problems came
          when he killed his wife , Ernest ine . She recalled he was incarcerated for
          8 or 9 years .  When he was released from prison, Von did not talk about
          his time in prison .  He seemed essentially the same to Liz when he got
          o ut, qui e t.

          Liz reported when Von was sent to prison for the second time, she wrote to
          him early on but Vo n never responded.




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                                                             Davis




             Interviewed by John Lee and Peggy Kent at her home on 6/23/93.

             Fannie Whiteside is the maternal great aunt of Von Davis. Fannie made
             it clear that she had very limited contact with Von or with his mother
             Alluster. She was able to give some limited social history on Alluster
             but because of the age difference and the fact she moved away from
             Hamilton when she married, very little of significance was offered.
             Fannie also stated that she is in favor of the death penalty.

             Fannie reported Alluster' s mother was Hattie Bailey.    Fannie did not
             believe Hattie was married at the time of Alluster's birth.     Alluster
             was born in St. louis where Hattie was living with her sister, Allie
             Bailey. Both Allie and Hattie moved to Hamilton, Ohio together. Allie,
             who is Fannie's oldest sister, helped raise Alluster's children. Fannie
             believes at one point Allie told Von that Nicholas Davis was not his
             father. Fannie does not know if that is the case.

             Fannie recalled that Hattie Bailey worked full time at a factory until
             her retirement which is why Alluster was raised essentially by her
             grandmother, Evelyn Bailey, and Aunt Allie.

             Fannie recalled Alluster did not attend school regularly whic!h later
             impaired her ability to keep a job. She does not believe Alluster had a
             problem with drugs or alcohol.

             According to Fannie, Alluster liked to have a good time and ran around
             with several men. Fannie thinks that three of her children Von, Victor
             and Olarles may have had different fathers.

             Fannie did not 1<rlav how old Alluster was when she married Nick Davis.
             Fannie thought Nick was "O.K." 'Ihe only other infonnation she could
             offer regarding Nick was that he worked in a pressing shop and died in
             Michigan. She believes they were married al:x:lllt ten years.

             Fannie believes Nick's mother may still be living in Oxford, Ohio.

             Fannie has no recollection of Von as a child or as an adult.      "All I
             know is he killed two women. " Fannie did not know either of the women.

             Fannie was told by other family members that he did not deal with his
             two daughters when he was released from prison. His oldest daughter
             tried to contact him on several occasions rut Von would not see her.
             Fannie believes that the children were present when their mother was
             killed. Fannie currently has no contact with Von's children.




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                                     ATTORNEY WORK PRODUCT

     Dr. Charles Flowers                                               Von Clark Da vi s
     Virginia Beach , Virginia
     Phone #(804- 460-7501 (work)

         Interviewed by John Lee and Steve Cheney on 6 / 9/93 v ia telepho n e .

           Charles Flowers is an academic and guida nce counselor in the Virginia
     Beach City Schools .         He hai l s from Hamilton, Ohio and had some k no wledge of
     Von ' s  paren t s .     Dr . Flowers was able to give some limited historical
     perspecti ves on the Davis fa mily and a few insights o n Von .       Dr. Flowers c an
     be con t ac t ed in t h e mornings at the number above.

         Char les reported having taugh t in the Hamilton City Schools f o r six y ears,
         however, Von was never o ne of his students .   His knowledge of Von and t he
         Davis family came from having grown up with Von's parents in the same
         neighborhood in Hamilton .

         Charles described his neighborhood, Forest Park, as a poor , pre dominantly
         Black , working- class neighborhood . Most of t he parents of his peers were
         from the south and had little education .    Church at t endanc e was s tressed
         and most of the families attended either a baptist or methodis t c hu rch .

         Charles repo r ted Von's mo t he r, Alluster , lacked re l igious developmen t as a
         child .  Allus t er was rea red in the home of her maternal grandmother, Mrs.
         Bailey , who was a member of what Char l es chara c terized as a "fringe"
         church (a holiness chu rch) .           Charles believes Alluster's l ack o f,
         direction, both domestically a nd spiritually , may have contributed t o h er
         "wild" na tu re .

         Charles believes Alluster's mother was Vicki Baile y and he did no t recall
         wh ether or not Vicki was married at the t ime of Alluster's birth .

        Vicki lived wit h her mother , Mrs . Bailey, at the time of Alluster's b i rth
        along with n umerous au nt s and uncles .  Charles recalled that Mrs . Ba i l ey
        was the matria r ch o f the family and " all the children were u nd er her ;
        Alluster had two mothers ." .

        Charles , who lived next door to the Bailey home , recalled there we r e f ew
        positive r ole models i n t he home because all t h e uncles and Vicki were all
        " drinkers and car ousers ." Charles would not be specific bu t he s pec ulated
        that morals in the Bailey home were rather loose .

        Charles described All uster as a " happy- go- lucky" kid, who was n o t a good
        student . There was an emphasis on behaving in the Bailey home and i f y o u
        did not you got a whipping .   Charles also report ed Alluster had a temp e r
        and if you got in her face , she would f i ght y ou.     Charles r e por t ed s he
        fought almost daily and may have been suspended from sch ool at some t i me .




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         Charles reported Al l ust er got pregnant either in junior high school or
         early in high school.      He beli eves the father was Ni ck Davis . Charles
         believes Alluster left her grandmother's home to live with Nick about a
         year aEter the birth of her first child .     (Charles believes Alluster was
         between the ages of 15 and 17) .

         Charles remembered Nick Davis as being a very popular young man in
         Hamilton. Nick did not finish high school; however, his sister, Elizabeth
         Davis Herbert, was an h o nor student .  Charles believes Elizabeth still
         resides in Forest Park.    Charles has no knowledge of the whereabouts of
         any other Davis family members .

         Charles reported Nick and Alluste r had J children before they married .
         Charles stated that there was some speculations in t he communi ty that
         Alluster' s fourth child was not fathered by Nick. Charles did not know
         who the father might have been.

         Charles re called that Alluster and Nick fought frequent ly .  Most of the
         arguments centered on Nick's absence from the family home.          Charles
         reported that Nick would con tinue to go night clubbing during his wife's
         pregnancies when she could not. Nick also traveled to Chicago and Detroit
         frequently for unknown reasons . Charles reported Alluster and Nick fought
         phy sical ly and the children saw them.

         Charles described Von as a very poor student who had no academic
         discipline, "just like his mother."    He also believes that Von did no t
         have good male role modeling because of the "parade o f men" in and out of
         the home .

         Charles believed Von learned to hate women because he was always being
         whipped by one, be it his mot~er or one of his female relatives .  Charles
         stated that he thinks a great deal of Alluster's anger from he r childhood
         carried over to her adult life, and that unresolve d anger resulted in
         numerous whippings for Von.




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               S'mTE OF OHIO,

                      Plaintiff-Respondent,

               -vs-                                                  case No.   CR 83-12-0614

               VON c:LliRK DAVIS,

                      Defendant-Petitioner.


                                                       EXHIBIT      U



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     ...



     .J
               STATE OF OHIO I

               CDUNIY OF BUI'T..ER, SS:

                      I, rv'ri..lton Flowers, being first duly ·sworn according to law, state the
     l
     ":""      follo-ri..ng:

                      l)    I am a family friend of Petitioner Davis.
     ,.J

     ...,             2)    I beCarre acquainted with Petitioner's _family when I lived next door

      J        to then in Hamilton, Ohio.         Petitioner's rrother, Alluster, was just a baby.

               L'1 addition to Alluster, Alluster's rrother, Hattie Bailey, and Alluster' s
      J        gr-c:Uldrrot.~er   lived in the hare.

 J                    3)    I really did not believe that Hattie Bailey had all her rra:rbl es.

               was no rrother at all to Alluster.         If it were not for Alluster' s grandnother
                                                                                                          She

     ....,
               and her U."1cle Tecurrsah, I do not      kno.-~   what wo.lld have happened to Alluster.

                      4)   Hattie did not care what Alluster wo.lld do; she just wanted Alluster

               to stay 0-1t of her way.




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                              5)    Hattie was a violent . character who WOJ.ld becare abusive.      She WOJ.l.d
   ~··   ·· ..        say a lot of things she would be sorry for later.
(:: ";;.,.,,
\,_:'~~;.;::··
                              6)    Alluster, like her zrother, had a violent terper.        It did not take

                      rruch for her to get upset.       She got into nurrercus fights.

                              7)    Alluster rrarried Petitioner's father, Nick D:lVis, at a very yoLmg

                      age.     Whe.'1 Alluster and Nick ~re first rrarried, there were at t:in'es fcxxi

                      shortages in their home.

                              8)    Alluster was just al:x:Jut like Hattie as a zrother.

                              9)    After Nick and Alluster sep:rrated, there     ~      a lot of rren in and out

                      of Alluster' s life.       'Ihe quality of care for the children, including Von, was

                      poor.
                              10)    Van was very srrall as a · child.   He suffered because of his size; he

                      felt as i f he were bei.'lg taken advantage of;

                              11)    Von had a violent tarper .   At tirres when he was angry, the other

                      kids would have to catch and hold him until he cooled down.

                              12)    Von WOJ.ld have violent ootbursts    m   school .   These out:l:ursts were

                      like t-,ose t.P..at Alluster and Hattie had.

                              13)    I feel that Von is a prcrluct and victim of his enviroment.          He

                      faced r e jection both at home and in the camunity.

                              14)    Von was really out there on his own while he was growing up.          He was

                      not able to go hare to talk to anyone .

                              15)    I Would have been willing t~ testify on Von's behalf at his original

                      capital trial in 1984 and a t his resentencing in 1989.




           ·.    •.




                                                                                         VON CLARK DAVIS v. WARDEN
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             16)   I love Von and do not want h:im to be executed.

             Further Affia"lt saith naught.




                                                                           .,_,.
             SVJOm to and subscribed in   IT!{   presence this    .21.. day of                     .5fl,~ 1993 .



                                                 ~~~~L::.-=--b
                                                        JOANN M. BOUR-STO:~ES. A:-tc .. •· ·i'.i :_::.
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                              IN THE COURT OF COMMON PLEAS
                                   BUTLER COUNTY, OHIO

         STATE OF OHIO,

               Plaintiff,                                Case No. CR 1983-12-0614

         vs.

         VON CLARK DAVIS                                 Judge Nastoff

               Defendant.




                   AFFIDAVIT OF DR. ORLANDO HERNANDEZ, M.D.


         State of Ohio,

         County of Hamilton, ss:


               I, Dr. Orlando Hernandez, after being duly sworn according to law, state as 'II'    J;f}
         follows:                                                                         t1
                                                                                        .siA(}..
               1.       I am a medical doctor and h ave been licensed in the State of Ohio fef'
         twenty y:eare: My office address is 2827 Orchardpark Drive, Cincinnati, Ohio
         45239. I am affiliated with Bethesda North Hospital, Fott lla:ntilt6n Hughes ul
         Mem:e:J:ial J.Iospital, and Jewish Hospital of Cincinnati.
                            -~v;,l,{ ~
                 2.    I work-for Glendale Place Care Center, which is a skilled nursing
         facility. In that capacity I am the treating physician for Fannie Whiteside.

               3.    Ms. Whiteside is a person with Alzheimer's disease, Senile Dementia,
         and significant memory loss.

               4.    Because of these deficits, she is not able to communicate clearly,
         and suffers from short and long term m emory loss.

                5.    It is my opinion, within a reasonable d egree of medical certainty,
         that Ms. Whiteside, because of her Alzheimer's d isease, Senile Dem entia, and
         significant memory loss , is unable to accurately recollect impressions or
         observations she had of past events and as a result she will not be able to
         accurately r elate those impressions or observations to the Court.




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                 6.   Further affiant sayeth naught.




          .• 1


                 Swom and subscribed to me this the    2nd   day of September, 2009



                                                Notary         he


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                       . .MUC.S111£0f-
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                              IN THE COURT OF COMMON PLEAS
                                   BUTLER COUNTY, OHIO

         STATE OF OHIO,

               Plaintiff,                                Case No. CR 1983-12-0614

         vs.

         VON CLARK DAVIS                                 Judge Nastoff

               Defendant.



                    AFFIDAVIT OF DR. JAMES I. FIDELHOLTZ, M.D.


         State of Ohio,
         County of Hamilton, ss:


               I, Dr. James I. Fidelholtz, after b eing duly swom according to law, state as
         follows:

                1.    I am a medical doctor and have been licensed in the S tate of Ohio for
         thirty-three years. My office · address is 6103 Hamilton Avenue, Suite A,
         Cincinna ti, Ohio 45224. My area of specialty is internal medicine and I h ave a
         subspecialty of geriatric medicine.

              2.     I am affiliated with Good Samaritan Hospital in Dayton, Ohio; Mercy
         Hospital in Fairfield, Ohio; Mercy Franciscan Hospital in Mt. Airy, Ohio: and
         Deaconess Hospital in Evansville, Indiana.

               3.   I am the treating physician for Elizabeth Crawford. She is a person
         with D ementia.

               4.     It is my optmon, within a reasonable d egree of medical certainty,
         that Ms. Crawford, because of her Dementia, is unable to accurately recollect
         impressions or observations she h ad of past events and as a result she will not
         be able to accurately relate those impressions or observations to the Court.

               5.    Further affiant sayeth naught.




                                                                  VON CLARK DAVIS v. WARDEN
                                                                       CASE NO. 2:16-cv-00495
                                                                        APPENDIX - Page 4876
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 16 of 200 PAGEID #: 4911




              Sworn and subscribed to me this the     2nd   day of September, 2009




                          ANGIE WilEY
                      IID1MIY MUC, SUit., •   .
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                                                                    VON CLARK DAVIS v. WARDEN
                                                                         CASE NO. 2:16-cv-00495
                                                                          APPENDIX - Page 4877
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 17 of 200 PAGEID #: 4912




                                IN THE COURT OF COMMON PLEAS
                                     BUTLER COUNTY, OHIO

       STATE OF OHIO                                          CASE NO. CR83-12-0614             'l.;   i   '-'

                                                                                            f' 11 TLE·l,\ l-.,.1
                                                                                             -· v
                                                                                                                 1   I v
                                                                                                            , '.. J ..,. ,

                    Plaintiff                                                                                    t:
                                                                                           Cl. ETK DF J.,? T, ,,r.:.

             vs.                                             ENTRY GRANTING FUNDS
                                                             FOR OUT OF STATE
       VON CLARK OA VJS                                      WITNESS APPEARANCE

                    Defendant                                 JUDGE NASTOFF



                   Upon application of counsel and for good cause shown,

                  IT IS HEREBY ORDERED THAT the Auditor of Butler County Ohio shall issue a
       check in the amount of $560.45 to Delbert Flowers, a resident of the State of Maryland whose
       appearance has already been secured via a subpoena. This sum is for Payment fo r Mr. Flowers
       as a Witness for mileage, travel, and witness fees in the above entitled matter which is set for a
       Mitigation Trial before this Court beginning September 8-11, 2009.

                   In the event that these funds are not issued immediately, the monies for this Witness'
       fees and travel will be guaranteed by the Court.




                                                                           VON CLARK DAVIS v. WARDEN
                                                                                CASE NO. 2:16-cv-00495
                                                                                 APPENDIX - Page 4878
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      09104/2009         10:27                                                           (FAX)                     P.002/004


 1/
                                                IN THE COURT OF COMMON PLEAS
                                                     ·BUTLER COUNTY, OHIO

                         STATE OF OHIO,

                                 Plaintiff,                                 ·            Case No. CR 1983-12-0614
                                                    FilED in Comrr:.:-. -. "·~,. : r
                                                        SUTLER COUWY. p r-·,,-,
                         vs.
                                                           SEP 0 4 20Q9
                                                           CINDY CARPEN] ER
                         VON CLARK DAVIS                                                 Judge N astoff
                                                           CLERK OF COUkTS

                                 Defendant.




                                              DEFENDANT'S SUPPLEMENTAL ANSWER
                                                  TO REQUEST FOR DISCOVERY



                                      NOW COMES Defendant, by and through his undersigne d counsel, and ,
                         responding to the State's Motion for Discovery, responds as follows:

                         A. DOCUMENTS AND TANGIBLE OBJECTS, CRIMINAL RULE t6(C)(1)(a):

                                WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                         by the State in its Answers of Discovery. Defendant reserves the right to supplement
                         this response upon identification of additional evidence.

                         B.    REPORTS         OF    EXAMiNATIONS                      OR . TESTS,     CRIMINAL      RULE
                         t6(B)(t)(d):

                                WHEREFORE, the Defendant reserves the right to utilize any discovery provided
                         by the State in its Answers of Discove1y. Defendant reset;ves the right to supplement
                         this response upon identification of additional evidence.

                         C. WITNESSES' NAMES AND ADDRESSES; CRIMINAL RULE t6(C)(t)(c):

                         1.      . Dr. Orlando Hernandez                                  2827 Orchardpark Drive
Rep per, Pagan,                                                                           Cincinnat;, OH 45239
Cook, Ltd.
Attomcy~   i1t L;\\V
1501 First Avenue        2.      Dr. James l. Fidelholtz                                  6103 Hamilton Ave., Suite A
Middletown, 0 11 45044
Phone: 513.424.I 823                                                                      Cincinnati, OH 45224
!'AX: 513.424 .3135




                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                       APPENDIX - Page 4879
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                                                                              (FAX)                    P.003/004
      09/04/2009         10:27




                                WHEREFORE, the Defendant t'eserves the right to utilize any discovery p rovirled
                         by the State in its Answers of Discovery. Defendant reserves the right to supplement
                         this response upon identification of additional evidence.


                                                                        Respectfully submitted,




                                                                        Melynda oak-Reich (SC# oo66596)
                                                                        REPPER, PAGAN, COOK
                                                                        Attorney for Defendant
                                                                        1501 First Avenue
                                                                        Middletown, OH 45044
                                                                        (513) 424-1823; Fax (513)424-3135


                                                                        and




                                                                        Randall Porter (SC#ooo5835)
                                                                        Assistant State Public Defender
                                                                        Office of the Ohio Public Defender
                                                                        250 East Broad Street, Suite 1400
                                                                        Columbus, Ohio 43215
                                                                        (614) 466-5394 (Voice)
                                                                        (614) 644-0703 (Facsimile)
                                                                        P01terR@OPD.state.OH. US


                                                                        COUNSEL FOR VON CLARK DAVIS




Rep11er, Pngon,
Coolr, Ltd.
Attomey~  :t.t l..nw
1501 First A..·emJe
Middleto\m, 0114504<1
Phone: 513.<12·1.1 823
FAX: 513.424.3135



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                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 4880
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     09/04/2009          10:28                                                 (FAX)                     P.004/004




                                                       CERTIFICATE OF SERVICE

                                        I hereby ce1tify that a true copy of the foregoing was delivered via Fax to

                         Daniel G. Eichel, First Assistant Butler County Prosecuting Attorney, and Michael A.

                         Oster, Jr. Assistant Butler County Prosecutiug Attorney by leaving same at the Office of

                         the Butler County Prosecuting Attorney,     nth   Floor, 315 High Street, Hamilton, Ohio

                         45011,   on this day September   Cf , 2009.




Repper, Pagnn,
Cook, Ltd.
Attorneys nl Law
150 I First Ave.nue
Middletown. OJ I 45044
Phone: 513.42-1.1823
FAX: 513.424.3 135



                                                                       3




                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                            CASE NO. 2:16-cv-00495
                                                                                             APPENDIX - Page 4881
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 21 of 200 PAGEID #: 4916
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                                                                      Repper, Pagan, Cook, Ltd.
                                                                      Attorneys and Counselors at Law
                                                                      1501 First Avenue
                                                                      Middletown, OH 45044
                                                                      513-424-1823
                                                                      fax# 513-424-3135




   Fax
          To:      Butler County Clerk;                    From:   Melynda Cook-Reich

                   APA Michael Oster, APA Dan Eichel

          Fax:     (513) 887-3966; (513) 887-3489          Date:   September 4, 2009

          Phone:                                           Pages: 4

          Re:      State of Ohio v. Von Clark Davis        CC:

                   Case No. CR1983-12-0614

          D Urgent       D For Review        0 Please Comment      0 Please Reply        D Please RecyCle



          •Comments: Attached please find Defendant's Supplemental Answer to Discovery to
          be filed with the Court with regards to the above-referenced case.

          1HIS MESSAGE AND ACCOMPANYING DOCUMENTS ARE INTENDED ONLY FOR THE USE OF THE INDIVIDUAL OR
          ENmY 70 WHICH THEY ARE ADDRESSED AND MAY CONTAIN INFORMA T/ON THAT IS PRIVILEGED, CONFIDEN17AL,
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          INTENDED RECIPIENT OR THE EMPLOYEE OR AGENT RESPONSIBLE FOR DEUVERING THE MESSAGE 70 71-IE
          INTENDED RECIPIENT, YOU ARE HEREBY WARNED THAT ANY DISSEMINATION. DISTRIBUTION, OR COPYING OF THIS
          COMMUNICATION IS STRICTLY PROHIBITED. IF YOU HAVE RECEIVED THIS COMMUNICATION IN ERROR, PLEASE
          NOTIFY US IMMEDIATELY BY TELEPHONE, AND RETURN THE ORIGINAL MESSAGE TO US AT THE ABOVE ADDRESS
          VIA THE U.S. POSTAL SERVICE. THAN/( YOU.



                                                                                       From the desk o f...
                                                                                             Ashley Stred1
                                                                                           Legal Assistant




                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 4882
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 22 of 200 PAGEID #: 4917



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                                     IN THE COURT OF COMMON PLEAS
                 ZU09 SEP -8 PH12 '!JPJTLER COUNTY,          OHIO

       STATE OF ®~.Q, CARPENTER
                    BUTLER COUNTY
             Plaintfflf RK OF COURTS                      Case No. CR 1983-12-0614

       vs.                                                Judge Nastoff (Presiding Judge)

       VON CLARK DAVIS                                    Judge Prater

             Defendant.                                   Judge Spaeth




                              VON CLARK DAVIS EXHIBIT LIST


       A     Au topsy of Ernestine Davis

       B     Death certificate of Charles Flowers

       C     Death certificate of Milton Flowers

       D     Affidavit of Dr. James Fidelholtz, M.D.

       E     Affidavit of Dr . Orlan do Hernandez, M.D .

       F     Summary of J u ly 13, 1993 interview of Elizab eth Crawford

       G     Summa ry of June 9, 1993 interview of C h arles Flowers

       H     Affidavit of Milton Flowers, executed September 28, 1993

             Summary of J u ne 23, 1993 interview of Fannie Whiteside

       J     Institutio n al Summary, Von Davis

       K     DRC Record -Budget In m ate Costs as of 5 / 14/ 09

       L     Curriculum Vitae - Dr. Robert Smith




                                                                     VON CLARK DAVIS v. WARDEN
                                                                          CASE NO. 2:16-cv-00495
                                                                           APPENDIX - Page 4883
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                                           Respectfully submitted,



                                        fi:     nda Cook-;efc;
                                           REPPER,PAGAN,COOK
                                                                              t:~~J!f(L
                                           Attorney for Defendant
                                           1501 First Avenue
                                           Middletown, OH 45044
                                           (513) 424-1823 (Telephone)
                                           (513)424-3135 (Fa~ile)
                                           MG              b izcinci.   l.cdm

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                                                                        I
                                           R nda 1 Po ter (t3C#OQ.08 35)
                                           Assistant ~tate ~Defender
                                           Office of t~e Ohio Pub lic Defender
                                           250 East Broad Street, Suite 1400
                                           Columbu s, Ohio 432 15
                                           (614) 466-5394 (Voice)
                                           (6 14) 644-0703 (Facsimile)
                                           PorterR@OPD.state.OH .US


                                           COUNSEL FOR VON CLARK DAVIS

                                CERTIFICATE OF SERVICE

            I hereby cer tify th at a true copy of the foregoin g was hand delivered t o

       Daniel G. Eichel, Assistant Butler County Prosecuting Attorney , and Michael A.

       Oster, Jr. Assistant Butler County Prosecuting Attorney by leaving same at the

       Office of the Butler County Prosecuting    At~,             11 "' Floor,          igh Street ,

       Hamilton, Ohio 45011 , on this day September 8, 2
                                                      I


                                                  /       ~~~~-4~~~-----




                                              2



                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
                                                                                  APPENDIX - Page 4884
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 24 of 200 PAGEID #: 4919

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                        BUTLER COUNTY SHERIFF'S OFFICE                                                                                               r
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         STATE OF OHIO                                                CASE NUM BER: CR 1983 12 06 14

         vs.
                                                                      DATE ISSUED: Aug ust 19.2009
         VON CLARK DAVIS


         COURT DATE: 09/08/09 TH ROUGH 09/1 1/09
                                                                                                                                                     --
         WITNESS INFORMATION :
         Name:   V ICTOR D AV I S
         Addre'" .                            f
                 HAMILTON. O H ~5013


         SHERI FF'S INSTRUCTIONS:          This Subpoena is rt;quired to be personally s _rved upon        th~()OO SEP 3 16:14~ ,Jjy
                                           named above.                                                                                             ..   AD -tJ I '1
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                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                              CASE NO. 2:16-cv-00495
                                                                                               APPENDIX - Page 4885
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                  C INDY CARPENTER                                                             CLERK OF COURTS



         WITNESS SUBPOENA COPY:
         LISA LINK




         Date:      August 28, 200lJ                                Case No.:CR 1983 12 0614
                                                 ST ATE OF OH IO VS YON CLARK DAVIS


                           SUBPOENA SERVED BY PROC ESS SERVER
                    C 0 U R T 0 F C 0 lVI M 0 N P L E A S, B U T L E R C 0 U N T Y, 0 H I 0

         TY PE OF SUBPOENA: SENTENCE HEA RING

         To the above named Witness: You arc hereby commanded to appear in the Common Pleas Court of Butler
         County Ohio at th e Government Services Center, 3 15 High Street, 3~D Floor. Hamilton, Ohio 450 II .

                    DAT E: SETPEMBER 8 2009                                                           T IME: 9:00AM

                    JU DGE: NASTOFF

         You are required to attend and give testimony on behalf of the plaintiff/defendant in the above captioned
         case under penalty of law.

         To apply for payment for your services as a witness after testimony, bring this subpoena to the office of the
         Butler County Clerk of Courts.

         C l DY CA RPE T ER                                                               REQUEST! G ATTORNEY :
         Butler County Clerk of Courts                                                    NAME: ROBIN PIPER
                                                                                          ADDRESS: 3 15 HIGH ST
                                                                                          CITY& STATE: HAM ILTON OH
                                                                                          ZIP: 45011
                                                                                          PHONE: (5 13)887-3474
         By: SHON D A ERTEL
         Deputy Clerk

                                                                   WIT NESS CERTIFICATION
         I <lllcs! lhat I <tppeared to give tc; timony in the above l'<tplionccl cusc. I was present in the Cou11 of Common l'le<ts for _ __ cluy>.
         As'"' out o f county witness. I trawled .Z,(J miks from the city of /t.VC.ti\11Vvt11                                              in the
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         GOVERNMENT SERVICES CENTER •                           315 HIGH STREET • SUITE 550 •               HAMibTeN. OHI~~OI I -6016
                                                  BUTLFR COUNTY CLERK OF COU RTS                                                        I
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                                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                                   APPENDIX - Page 4886
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 26 of 200 PAGEID #: 4921




                                COURT OF COMMON PLEAS

                                 BUTLER COUNTY, OHIO

       STATE OF OHIO                       *     Case No. : CR8 3-12-0614
                                           *
                    Plaintiff              *     Judge Nastoff
                                           *
      vs.                                  *     VERDICT FORM
                                           *
      VON CLARK DAVIS                      *
                                           *
                    Defendant              *
                                           *
                                     ***********

             We, the three -judge panel, do hereby find the aggravating circumstance
       that the Defendant was found guilty of committing:



       _ _ __ Does not outweigh the mitigating factors presented in this case by
       proof beyond a reasonable doubt.

          v' Does outweigh the mitigating factors presented in this case by proof
       beyond a reasonable doubt.



       Date : S~   p1   }0 , .200~




                                                              VON CLARK DAVIS v. WARDEN
                                                                   CASE NO. 2:16-cv-00495
                                                                    APPENDIX - Page 4887
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 27 of 200 PAGEID #: 4922




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                              STATE OF OHIO
                                                                              t
                                                                               :·· a...   j
                                                                                              ·CASE NO. CR1983-12-0614             G~D
                                                              2009 S[p
                                            Plaintiff          -~I'         : PH 4S~TE OF OHIO
                                                                           21
                                                               VO~~    : CJ · . -, COUNTY OF BUTLER
                              vs.                             CL fk~.fR cob;/jf90URT OF COMMON PLEAS
                                                                      '·'OF COURr~Nastoff, P.J; Pater and Spaeth , JJ.
                              VON CLARK DAVIS
                                                                                                        PRIORilY
                                            Defendant                                         JUDGMENT OF CONVICTION ENTRY
                                                                                               [This is a Final Appealable Order.}
                                                           .. .. .. .. ..          .. ..
                                                                                      . . ...
                                                                                            .
                                     Th is 8 th-10th days of September, 2009, came t he Prosecuting Attorney into Court

                              and the Defendant personally appearing with his counsel, Melynda W. Cook-Reich and

                              Randall L. Porter, and the charges, plea of Not Guilty, and Findings of the three-j udge panel

                              as to Count One with Specification being set forth in the previous Entry which is expressly

                              included herein by reference. Wherefore, the Defendant being informed that he stands

                              convicted of AGGRAVATED MURDER contrary to R.C. 2903.01(A) with Specification to

                              Count One pursuant to R.C. 2929.04(A)(5 ) as charged in Count One of the Indictment, the

                              Court afforded counsel an opportunity to speak on behalf of t he Defendant, and the Court

                              addressed the Defendant personally and asked if he wished to make a statement in his own

                              behalf or present any information in mitigation of punishment, and after having heard all the

                              facts adduced by both parties, the panel of t hree j udges having engaged in a determination

                              of sentence for Count One pursuant to the requi rements of R.C. 2929.03 (D) and having

                              unanimously found, by proof beyond a reasonable doubt , that the aggravating circumstance

                              the Defendant was found guilty of committing outweighs t he mitigating factors presented

                              herein , and nothi ng being shown as to why sentence should not now be pronounced,

      OFFICE OF
PROSECUTING ATTORNEY
 BUTLER COUNTY, OHIO

     ROBIN PIPER
PROSECUTING ATTORNEY

GOYERIIMENT SERVtCES CENTER
  315 HIGH ST. · 11TH FlOOR
         P.O. BOX 515
    HAM ILTON, OHIO 45012
                                                                        Page 1 of 2



                                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                                       CASE NO. 2:16-cv-00495
                                                                                                        APPENDIX - Page 4888
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 28 of 200 PAGEID #: 4923




                                                                          State v. Von Clark Davis , Case No. CR1983-12-0614
                                                                                      Judgment of Conviction Entry -- Page 2




                                    It is ORDERED as to Count One t hat the sentence of death shall be imposed upon

                             the Defendant, which sentence is imposed pursuant to R.C. 2929.02(A) and 2929.03 -

                             2929 .04, said sentence being in addition to a term of imprisonment previously imposed by

                             journal entry as to Count Two . Defendant is FURTHER ORDERED to pay all costs of

                             prosecution. The Sheriff is hereby ORDERED to convey the Defendant to the custody of the

                             Ohio Departme nt of Rehabilitation and Correction , forthwith .        Defendant was further

                             advised of all of his rights pursuant to Criminal Rule 32, including his right to appeal t he

                             j udgment, his right to appointed counsel at no cost, his right to have court documents

                             provided to him at no cost, and his right to have a not ice of appeal filed on his behalf.


                                                                         ENTER




                                                                           ~              :;Z_ ?<____
                                                                         CHARLES L. PATER, Judge




                             Approved as to Form:
                             ROBIN N. PIPER (0023205)
      OFFICE OF              PROSECUTING ATTORNEY
PROSECUTING ATTORNEY
 BUTLER COUNTY, OHIO         BUTLER COUNTY, OHIO
     ROBIN PIPER             DGE/MAO
PROSECUTING ATTORNEY
                             09/15/2009
GOVERNMENT SEfMCES CENTER
  315 HtGHST. · 11TH FlOOR
         P.O. BOX 515
    HAMLTON, ot-10 45012


                                                                    Page 2 of 2


                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                          CASE NO. 2:16-cv-00495
                                                                                           APPENDIX - Page 4889
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 29 of 200 PAGEID #: 4924




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                            STATE OF OHIO,                                   *       Case Number: CR1983 12 0614
                                                                             *
                                              Plaintiff,                     *       Judge Andrew Nastoff, Presiding
                                                                             *       Judge Charles Pater
                            vs.                                              *       Judge Keith M. Spaeth
                                                                             *
                            VON CLARK DAVIS,                                 *        SENTENCING OPINION
                                                                             *
                                              Defendant.                     *
                                                                             *
                                                                   ******** ** ** ***** **
                                    The Court issues this sentencing opinion pursuant to R.C. 2929.03(F).

                                    On January 6. 1984, the Butler County Grand Jury returned a two count indictment

                            against Defendant. Count One of the indictment charged Defendant with aggravated murder

                            in vio lation of R.C. 2903.01(A) with two specifications. Specification One charged that

                            prior to the offense at bar. Defendant was convicted of murder in the second degree, in

                            violation of R.C. 2901.05 on April 20. 1971 , an essential element of which was the

                            purposeful killing of another as specitied in R.C. 2929.04(A)(5). Specitication Two charged

                            that Defendant had a tirearm on or about his person or under his control whi le committing

                            the offense set forth in Count One, as specitied in R.C. 2929.71. Count Two charged

                            Defendant with having weapons under disability in violation ofR.C. 2923. 13(A)(2).

                                     Defendant pled not guilty to all of the charges and specifications. Defendant waived

.Judlo(c .\ndrcw ~usloll'
  Cc;;umon Plea s Court      hi s right to a jury trial and req uested that the matter be tried to a three-j udge panel.
   Autkr County. Ohio

                                     Beginning May 4, 1984, Defendant was tried by a three-judge panel that found




                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                  APPENDIX - Page 4890
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                          Defendant guilty of all charges and specifications. On May 29, 1984, the trial 's sentencing

                          phase commenced. At the conclusion of the sentencing phase, the three-judge panel held

                          that the aggravating c irc umstance outweighed the mitigating factors beyond a reasonable

                          doubt and sentenced Defendant to death.

                                 On September I 4, 1988. the Ohio Supreme Court held that the three-judge panel

                          erred by considering and weighing non-statutory aggravating circumstances against

                          mitigating factors when it imposed Defendant' s death sentence. The Ohio Supreme Court

                          affirmed Defendant ' s convictions, but reversed his sentence and remanded the case to the

                          trial court for resentencing.

                                  On remand, Defendant sought to introduce additional mitigation evidence in the

                          form of testimony from prison personnel employed at the Southern Ohio Correctional

                          Faci lity in Lucasvi lle, Ohio. Defendant argued that the testimony was relevant because it

                          showed good behavior whi le on death row. The reconstituted three-judge panel did not

                          permit Defendant to o ffer add itional mitigation evidence . Instead, the panel simply

                          reconsidered the evidence presented at the original sentencing phase. Once again, the panel

                          found that the sole aggravating circumstance outweighed the miti gating factors beyond a

                          reasonable doubt and imposed the death penalty.

                                  Both the Twdfth District Court of Appeals and Ohio S upreme Court affirmed

,Judl(c .\ndrcw \ustotr    Defendant' s death sentence. Defendant then petitioned the United States District Court for
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                           the Southern Di strict of Ohio for a writ of habeas corpus. The District Court denied



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                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                          CASE NO. 2:16-cv-00495
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                         De fendant' s petition. On appeaL the United States Court of Appeals fo r the Sixth C ircuit

                         reversed Defendant's death sentence, holding that the trial court erred at resentencing when

                         it barred Defendant from presenting new mitigation evidence concerning his good behavior

                         while on death row. On January 29, 2007, the Sixth Circuit rem anded the matter to the

                         District Court. On July 19, 2007, the Di strict Court granted Defendant' s writ of habeas

                         corpus conditioned upon the State of Ohio granting Defendant a new sentencing hearing.

                                 On remand. this Court assumed jurisdictio n over the instant case . On December 19,

                         2007, to comply with the m andate handed down from the federal courts, this Court granted

                         Defe ndant a new sentencing hearing. Because the original three-j udge panel could not

                         reco nstitute, the undersigned three-j ud ge panel was formed pursuant to R .C. 2929.06 and

                         Ohio Rule of C rimina l Procedure 25( 8 ).

                                 Pursuant to R.C. 2929. 03 and R.C. 2929.04, the undersigned three-judge panel

                         presided over Defendant ' s resentencing hearing from September 8, 2009 through September

                         10, 2009 to determine whether the single aggravating circumstance in this case outweig hed

                         the mitigating fac tors beyond a reasonable doubt.

                                                     AGGRAVATING CIRC UMSTANCE

                                  In this case, the aggravating circumstance that is to be weighed against the mitigating

                          facto rs is as fo llows: that prior to the offense at bar, the offender was convicted of an offense

,Judge Andrew Nustofl'    an essential elem ent of w hich was the purposeful killing of another. R.C. 2929.04(A)(S).
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  Btttkr County, Ohio




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                                                                                        VON CLARK DAVIS v. WARDEN
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                                   The State of Ohio re-introduced the journal entry of conviction filed in Butler County

                            Common Pleas Case Number 2 1655 re flectin g Defendant ' s 197 1 conviction for second

                            degree murder in violation of R.C. 290 1.05. The State further o ffered portions of the 1984

                            trial transcript to show then-defense counsel' s stipulation to the 1971 entry of conviction, its

                            pertinence to Defendant, and that an essential element of R.C. 290 1.05 was the purposeful

                            killing of another. The evidence established that the victim of Defendant' s prior purposeful

                            killing was his wife, Ernestine. The State submitted no other evidence. The Court accepted

                            the aforementioned evidence to the extent that it was relevant to the aggravating

                            circumstance committed in this case.

                                                             MITIGATING FACTORS

                                    Mitigating factors are factors which, while they do not justify or excuse the crime,

                            nevertheless in fairness and mercy, may be considered as they call for a penalty less than

                            death, or lessen the appropriateness of a sentence of death . Mitigating factors are those

                            factors about an individual that weigh in favor of a decision that a sentence of life in prison

                            is the appropriate sentence.

                                    As requested by Defendant and in accordance with R.C. 2929.04(B), the Court has

                            weighed against the aggravating circumstance the nature and circumstances of the offense,

                            the history, character, and background of the Defendant, and all of the following:

.Ju<IJ.(c .\ndrcw~usto lr
  Com mon l'lcus Court
   Untkr County. Ohio                I . Any other factors that are relevant to the issue of whether the
                                     offender should be sentenced t o death (R. C. 2929.04(B)(7)):

                                     A. Borderline personality di sorder;
                                                                             4




                                                                                         VON CLARK DAVIS v. WARDEN
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                                   B. Alcohol abuse;

                                   C. Love and support of family members and friends;

                                   D. Testimony of Defendant's daughter, Sherry Davis, regarding her
                                   forgiveness of Defendant for the purposeful killing of her mother~

                                   E. Good behavior while in prison;

                                   F. Childhood and fami ly experience, and the impact of each upon
                                   Defendant 's personal ity development and mental health;

                                   G. Remorse and apology;

                                   H. Age (62 years old);

                                   I. Probability of no release from prison;

                                   J. Whether a sentence of life in prison wou ld bring closure to the
                                   victim' s fam ily; .

                                   K. The savings to taxpayers should a li fe sentence be imposed.

                                   It must be noted that Defendant did not request a pre-sentence investigation or mental

                            examination pursuant to R.C. 2929.03(0)(1 ); therefore, neither were ordered for the Court 's

                            review and deliberation. In consideration of the aforementioned factors, the Court heard

                            evidence from the following individuals.

                                                                Family and Friends

                                   The Court heard testimony from Defendant' s mother (Alluster Tipton), step-father

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                            (Charles Tipton), younger sister (Carol Smith). younger brother (Victor Davis), daughter
    Buller CntUity. Ohio

                            (Sherry Davis), and two friends (Rick Rotundo and Fran Weiland).



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                                                                                      VON CLARK DAVIS v. WARDEN
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                                 The testimony of each witness centered on Defendant' s positive aspects and his

                          importance in their lives. Each witness testified to maintaining some amount of contact with

                          Defendant, despite his incarceration on death row. Each witness opposed the re-imposition

                          of the death penalty in this case.

                                                                Prison Personnel

                                  The Court also heard testimony from Defendant's prison case manager, Scott Nowak,

                          regarding Defendant's positive prison record and his pos ition on death row' s "extended

                          pri vilege unit'' or " honor block.'' The Court reviewed Defendant' s institutional summary,

                          which revealed no more than a single occurrence of prison misconduct since 1984.

                          Defendant' s sole instance of misconduct occurred in 1990.

                                  The Court also heard testimony from Jeremy Stineman, who conducted Alcoholics

                          Anonymous meetings with death row inmates, including Defendant, for several years.

                          Stineman testified that Defendant regularly attended meetings and participated actively.

                                                                Cynthia Mausser

                                  The Court heard testimony from Cynthia Mausser, Chairperson of the Ohio Parole

                          Board, who described the Parole Board 's various policies and procedures . Defense counsel

                          posed hypothetical questions to Mausser. who testified that an indiv idual with Defendant' s

                          background is '·unlikely" to be paroled at the first opportunity, and would " like ly" spend a

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                           substantial portion o f his adult life in prison. Mausser could not. however, state with any
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                           certainty if or when Defendant might be paroled if this Court imposed a sentence less than



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                                                                                      VON CLARK DAVIS v. WARDEN
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                           death. Mausser did testify that if Defendant became parole-eligible, he would be considered

                           for parole at intervals ranging from one to ten years for the rest of his life. Mausser testified

                           that in each instance, the victim's family would be notified and could appear to voice

                           opposition to Defendant's release.

                                                                 Dr. Robert Smith

                                   Finally, the Court heard testimo ny from clinical psychologist and certified addiction

                           specialist, Dr. Robert Smith. Dr. Sm ith recounted Defendant's social history, including

                           interviews that he conducted with Defendant' s family members, some of whom testified

                           during the mitigation phase of thi s trial. Dr. Smith also reviewed the interv iew summaries of

                           other indi vidual s who were fam iliar with the Defendant. Additionally, Dr. Smith reviewed

                           Defendant ·s prior psychological evaluations, conducted between 1964 and 2002. After

                           conducting interviews and reviewing s ummaries and evaluations, Dr. Smith met with

                           Defendant twice. Each visit lasted approximately five to six hours. Dr. Smith testified that

                           the aforementioned interviews and evaluations, in the aggregate, provided a sufficiently

                           "rounded" and "longitudina l" picture of the Defendant for purposes ofrendering a diagnosis.

                                   Dr. Smith found that at the time of the offense at bar, Defendant s uffered from

                            borderline personality disorder and alcohol dependence. Dr. Smith found that Defendant

                            suffers from these co-occurring disorders to thi s day. In Dr. Smith' s opinion, a biological

.Jud¢c .\ndrcw 1'\ustolr    component exists w ith respect to the borde rline personality disorder. It is Dr. Smith' s belief
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                            that Defendant' s borderl ine personality disorder formed in early adolescence when



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                            Defendant' s dysfunctional childhood environment and the bio logical component coalesced .

                            Dr. Smith testified that his diagnosis does not excuse or justify Defendant 's actions in killing

                            Suzette Butler, but offers some explanation as to how or why the killing occurred.

                                      Dr. Smith testified that De fendant 's good behavior while in prison is not surpri sing,

                            given that individua ls with borderline personality disorder function well in a hig hly

                            structured environment such as prison. U ltimately, however, Dr. Smith fail ed to forecast

                            Defendant' s behavior or recommend a treatment plan, should he eventua lly be released from

                            prison.

                                                                        FINDINGS

                                      In order to sentence Defendant to death, the law requires that the three-judge panel

                            find beyond a reasonable d o ubt that the aggravating circumstance in this case o utweighs the

                            mitigating factors. The pane l must consider the evidence presented as to the aggravating

                            circumstance that transformed the offense of aggravated murder from a case in which death

                            was not a potential penalty to one in which death is a po tential penalty. This aggravating

                            circumstance must be then weighed against the mitigating factors that w ould we igh in favo r

                            of a decision that a sentence of li fe in prison is the appropriate sentence.

                                      The weig hing process is just that. The panel must place the aggravating

                            circumstance o n o ne side and place all of the mitigating facto rs on the o ther, and then

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                            determine beyond a reasonable doubt whether the aggravating c ircumstance outweighs the
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                            mitigating facto rs. Proo f beyond a reasona ble doubt manJates that this panel have a firm



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                                                                                           VON CLARK DAVIS v. WARDEN
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                                                                                                 APPENDIX - Page 4897
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                            belief or conviction in what is to be established. Proof beyond a reasonable doubt requires

                            that an ordinary person be willing to act upon that proof in the most important of his or her

                            own affairs.

                                       The aggravating circ umstance in this case relates that prior to committing the

                            aggravated murder of Suzette Butler with prior calculation and des ign, Defendant was

                            previously convicted of purposefully killing Ernestine Davis. The three-judge panel

                            unanimously finds that the aggravating circumstance deserves great weight.

                                       Against the aggravating circumstance, the pane l weighs the following mitigating

                            factors:

                                       In accordance with R.C. 2929.04(8 ). the panel finds nothing mitigating about the

                            nature and circumstances of the offense itself.

                                       The panel has considered the testimony offered to show that Defendant is loved and

                            supported by family and friends.         This evidence is not atypical and does not deserve

                            significant weight. The panel has also considered the testimony of Sherry Davis and the fact

                            that she has forgiven Defendant for purposefully killing her mother; however, the panel

                            affords this factor very little weight.        The panel furth er considered the testimony of

                             Defendant ' s friends and family concerning his dysfunctional fam ily and childhood

                            cxpenences. The panel finds the testimony to be unconvincing and entitled to little or no

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                                                                                           VON CLARK DAVIS v. WARDEN
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                                       The panel considaed the impact of Defendant' s fami ly expen ences upon his

                                personality development and mental health, as detailed in Dr. Robert Smith' s testimony.

                                The panel finds that the separate testimony of Defendant' s family and friends does not

                                s upport Dr. Smith' s conclus ion that Defendant suffered an extreme and dys functiona l

                                upbringing. Nevertheless, assuming that De fendant' s background contributed in some way

                                to the developme nt of Defendant ' s borderline personality disorder and alcohol dependence,

                                the pane l still finds that Dr. Smith's diagnosis, even if valid, is entitled to little weight in

                                mitigation.

                                       T he panel considered the testimony of Cynthia Mausser offered to show the

                                probability that Defendant would never be released from prison if given a sentence less than

                                death. The pane l unanimously fi nds this evidence to be highly speculative and unconvincing

                                and entitled to no weight.

                                        The panel considered the Defendant's good behavior while in prison, the

                                Defendant' s advanced age, and the Defendant's remorse and apology during his unsworn

                                statement.    The panel attributes little weight to each factor.

                                        Finally, Defendant proposed that the panel should consider that a life sentence in this

                                case would be economically beneficia l to taxpayers and would bring closure to the victim 's

                                family. The panel is uncertain whether these factors are relevant mitigating factors under

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  ('(;111111011   l'ltas Coun   Ohio Jaw; nonetheless, the panel considered Defendant ' s evidence and arguments to ensure
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                                tbat he had a full opportunity to present all mitigating evidence during the sentencing phase.



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                                                                                             VON CLARK DAVIS v. WARDEN
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                            After considering evidence and testimony relevant to these factors, the panel affords them

                            no weight.

                                   The panel must weigh all of the relevant mitigating factors, a djudge the collective

                            weight of the factors, and determine if the sole aggravating ci rcumstance in this case

                            outweighs the mitigating factors beyond a reasonable doubt.

                                   In perform ing that task, the Judges of this panel unanimously find that the

                            aggravating circumstance outweighs, beyond a reasonable do ubt , the individual and the

                            aggregate of the mitigating factors present in this case. Therefore. the pane l finds that the

                            sentence of death shall be imposed upon the Defendant, Von C lark Davis.

                                   SO ORDERED.




                                                                          Charles Pate r, Judge




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   llutkr County. Ohio




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                              cc:

                              Michael A. Oster, Jr.
                              Assistant Prosecuting Attorney
                              3 15 High Street, 11 '" Floor
                              Hamilton, OH 450 11

                              Randall L. Porter
                              Assistant State Public Defender
                                                     1
                              8 East Long Street - 11 h Floor
                              Columbus, Ohio 432 15

                              Melynda Cook-Reich
                              R EPP ER, PAGAN, COO K, Ltd.
                              1501 First Avenue
                              Middletown, Ohio 45042




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                                                                     VON CLARK DAVIS v. WARDEN
                                                                          CASE NO. 2:16-cv-00495
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                                                           The Supreme Court of Ohio
                                                      Rule 37(8} Capital Case Report

Daniel Andrew Nastoff                                                                                09/09
 Reporting Judg41                                 ,..                                                 Reporting Month and Year
                                                  '
Butler
 County                                               ..                          .. ,,
                                                                                     )




 Case Information ·

CR83- 12-0614                                                                   Von Clark Davis
 Case Number                                                                     OefGf'ldant's Name
                                                                                                                              tiLtD BUTLtR CO.
12/22/83
                                                                                                                             COURT OF APPEALS
 Date Filed
10/ 2/ 0 7                                                                                                                        SEP 2 2 2009
 Date Case Assigned 10 Reporting Judge
                                                                                                                                  CINDY CARPENTER
                                                                                                                                  CLERK OF COURTS
 Description of Counts (attach additional shHts if nece$$City)
 1   Ct. I. Aggravated Murder, w/ Spec. I- Prior conviction of Murder, Spec. Il - Firearm
 2 Ct. II, Having Weapons Under Disability
 3
 4
     -------------------------------------------------------------------------------
 5
 6
     --------------------------------------------------------------------
 Disposition of Counts (attacfl additional shfHits if nec11$$11ry)

                                 Disposition               If Disposition Code H (Other), describe
      Date of Disposition           Code                           manner of disposition                       Di:spo$ition Codfls
 1   09/10/09                  H                 Resentencing by three-Judge panel                             A. Nou. prosequi
                                                                                                               B. Oism~ for IIW.:II ol speeey trial
 2                             Code
 3
   ---------                   Code
                                                                                                               C. Gullty or no I:OOie&l plea (to )uoge-)
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                                                                                                               E. Trial by jury
                               Code                                                                            F. Trial by llvve-judga panel
 5                             Code                                                                            G. Not guilty by raa500 d insanity
                                                                                                               H.Othe<
                               Code

 If defendant was found guilty of a capital offense. was death imposed?        Yes   [7)   NoD

                                                                                                                           09/ 22/ 09
                                                                                                                            Date

               F or mall to:
          Case lol4anagement Section
          The Supreme Court of Ohio
       65 SQuth Front Street, 6'" Floor
          Co4umbus, Ohio 43215-3431
              Fe• 614.387.9419




                                                                                                                VON CLARK DAVIS v. WARDEN
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                                    CuURT OF COMMON PLEAS
                                                                   Butler County
                                                         . 315 High Street, Third Floor
  Judges                                                      Hamilton, Ohio 45011                        Judge
  Trial Division                      ..... "') ,""\....,   ,..,.t ' .       f,
                                            '     ' '·      i .l   -·. 51J.3-887-3290                     Andrew Nastoff
 Craig D. Hedric                                                    Fax 513-887-3621
 Andrew Nastoff
 Patricia J. Oney                                                    "
 Charles L. Pater                                                        I   I

 Noah E. Powers
 Michael J. Sage
 Keith M. Spaeth


                                                              September 22, 2009


 Kristina D. Frost, Clerk
 Office of the Clerk
 The Supreme Court of Ohio
 65 South Front Street, 8th Floor
 Columbus, Ohio 43215

                   In Re: State of Ohio vs. Von Clark Davis. CR83-1 2-0614

 Dear Clerk:

        The above-captioned case was returned to this Court from District Court in October, 2007, for
 resentencing. The mitigation hearing in this case was heard September 8 through 10, 2009 by a three-judge
 panel. I am, therefore, enclosing a copy of a Capital Case Report. The original Report has been faxed to the
 Case Management Section of the Ohio Supreme Court. Also enclosed are a copy of the Judgment of
 Conviction Entry and Sentencing Opinion, filed September 2 1, 2009.

        These documents are being sent to you for filing pursuant to O.R.C. 2929.03(F), the law effective at the
 time of the original sentencing in this case.

         If you need any further information, please feel free to contact me through the means above.




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 Enclosures




                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                               CASE NO. 2:16-cv-00495
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                                     CvURT OF COMMON PLEAS
                                                                           Butler County
                                                         ' 315 High Street, Third Floor
 Judges                                                       Hamilton, Ohio 45011                             Judge
 Trial Division                 'c-- j        ?Z    ~·~ '·: l I 513-887-3290                                   Andrew Nastoff
 Craig D. Hedric                                                           Fax 513-887-3621
 Andrew Nastoff
 Patricia J. Oney           .    .. - .
                                     ·~                      '
                                                                  I
                                                                  I
                                                                      ~~
 Charles L. Pater          CL-Ei.H        1
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 Noah E. Powers
 Michael J. Sage
 Keith M. Spaeth


                                                                          September 22, 2009


 Mr. Ben Manning
 Court Administrator
 Twelfth District Court of Appeals
 I 00 1 Reinartz Boulevard
 Middletown, Ohio 45044

                  In Re: State of Ohio vs. Von Clark Davis. CR83- 12-0614

 Dear Ben:

        The above-captioned case was returned to this Court from District Court in October, 2007, for
 resentencing. The mitigation hearing in this case was heard September 8 through 10, 2009 by a three-judge
 panel. I am, therefore, enclosing copies of the Judgment of Conviction Entry and Sentencing Opinion, filed
 September 21, 2009.

        These documents are being sent to you for filing pursuant to O.R.C. 2929.03(F), the law effective at the
 time of the original sentencing in this case.

        If you need any further information, please feel free to contact me through the means above.




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 Enclosures




                                                                                               VON CLARK DAVIS v. WARDEN
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    Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 44 of 200 PAGEID #: 4939


                                                  ~llt:U BUTlER CO.
                                                 COURT OF APPEAlS

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                                                             BUTLER COUNTY, OHIO

                           STA TE OF OHIO,                                  *       Case N umber: C R1 983 12 06 14
                                                                            *
                                           Pla intiff,                      *       Judge A ndrew Nastoff, Presiding
                                                                            *       Judge C ha rles Pater
                           vs.                                              *       Jud ge Keith M. Spaeth
                                                                            *
                           VON CLARK DA VIS,                                *       SENTENCING OPINION
                                                                            *
                                           Defendant.                       *
                                                                            *
                                                            ** * *********** ** ***
                                   The Court issues this sentenci ng opinion pursuant to R.C. 2929.03(F).

                                   On January 6, 1984, the Butler C ounty Grand Jury re turned a two count indictment

                          agai nst Defendant. Co unt One of the indi ctment charged D efendant with aggravated murder

                          in violation ofR.C. 2903.0 1(A) with t wo specificatio ns . Specification One charged that

                          prior to the offense at bar, Defendant wa s convicted of murder in the second degree, in

                          violation of R.C. 290 I .05 on A pril 20, I 97 1, an essenti al e lement of which was the

                          purposeful kill ing of another as specified in R.C. 2929.04(A)(5). Specification Two charged

                          that Defendant had a firearm on or abou t his person or under his control while committing

                          the offense set fori h in Count One, as specified in R.C. 2929.7 1. Count Two charged

                          Defendant with having weapons under di sability in violation of R.C. 2923.1 3(A)(2).

                                  Defendant pled not guilty to all of the charges and specifications. Defendant waived
fudge Andrew Nasi off
 Cnmmon Pleas Court       his right to a j ury trial and requested that the matter be tried to a three-jud ge panel.
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                                  Beginning May 4, 1984, Defendant was tried by a three-judge panel that found




                                                                                                   VON CLARK DAVIS v. WARDEN
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                           Defendant guilty of all charges and specifications. On May 29, 1984, the trial's sentencing

                           phase commenced. At the conclusion of the sentencing phase, the thr ee-j udge panel held

                           that the aggravating circumstance outweighed the m itigating factors beyond a reasonable

                           doubt and sentenced Defendant to death.

                                  On September 14, 1988, the Ohio Supreme Couti held that the three-j udge panel

                           erred by considering and weighing non-statutory aggravating circumstances against

                           mitigating factors whe n it imposed Defendant's death sentence. The Ohio Supreme Court

                          affirmed Defendant's convictions, but reversed his sentence and remanded the case to the

                          trial co urt for resentencing.

                                  On rem and, Defendant sought to introduce additional mitigation evidence in the

                          form of testimony from prison personnel employed at the Southern Ohio Correctional

                          Facility in Lucasville, Ohio. Defendant argued that the testimony was relevant because it

                          showed good behavior while on death row. The reconstituted three-judge panel did not

                          permit Defendant to offer additional mitigation evidence. Instead, the panel simply

                          reconsidered the evidence presented at the original sentencing phase. Once again, the panel

                          found that the sole aggravating circumstance outweighed the mitigating factors beyond a

                          reasonable doubt and imposed the death penalty.

                                 Both the Twelfth District Court of Appeals and Ohio Supreme Court affirmed

Judge Andrew Nasi ofT
Commuu Pkm, Court         Defendant' s death sentence. Defendant then petitioned the United States District Court for
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                          the Southern District of Ohio for a writ of habeas corpus. The D istrict Court denied



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                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                            CASE NO. 2:16-cv-00495
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                           De fendant 's petition. On appeal, the Un ited States Court of Appeal s for th e Si xth C ircuit

                           reversed Defendant ' s death sentence, holding that the trial court erred at resentencing when

                           it barred Defendant from presenting new mitigation evidence concerning his good behavior

                           while o n death row. On J anuary 29, 2007, the Sixth Circuit remanded the matter to the

                           District Court. On July 19, 2007, the Di strict Court granted Defendant 's writ of habeas

                           corpus conditioned upon the Stat e of Ohio grant ing Defend ant a new sentencing hearing.

                                   On remand, this Co urt assum ed j urisdiction over the instant case. On December 19,

                           2007, t o comply with the mandate handed down from the federal courts, th is Court granted

                           Defendant a new sentencing hearin g. B ecause the original three-j udge p anel could not

                           reconstitu te, the unders igned thr ee-judge panel was form ed pursuant to R. C. 2929.06 and

                           Ohio Rule of Criminal Procedure 25(8 ).

                                    Pursuant to R.C . 2929.03 and R .C . 2929.04, the undersigned three -judge panel

                           pres ided over D efendant's resentencing hearing from September 8, 2009 through September

                           10, 2009 to determ ine whether the single aggravating circumstance in thi s case o utweighed

                           the m itigating factors beyond a reasona ble doubt.

                                                       AGG RA V ATJ NG CIRCUMST ANCE

                                    In this case, the aggravating circumstance that is to be weighed against the mitigating

                            factors is as follows : that prior to the offense at bar, the offender was convi cted o f an offense

,J ud~c Andrew Nos loll'    an essential elem ent of which was the purposeful killing of another. R. C. 2929.04(A)(5).
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    Bntk·r C'mUJty, Ohio




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                                  The State of Ohio re-introduced the journal entry of conviction filed in Butler County

                           Common Pleas Case Number 21655 reflecting Defendant's 197 l convict ion for second

                           degree murder in violation of R.C. 290 I .05. The State further offered po rtions of the 1984

                          trial transcript to show then-defense counsel's stipulation to the 1971 ent1y of conviction, its

                          pertinence to Defendant, and that an essential element of R.C. 2901.05 was the purposeful

                          killing of another. The evidence establis hed that the victim of Defendant's prior purposeful

                          killing was his wife, Ernestine. The State submitted no other evidence. The Court accepted

                          the aforementioned evi dence to the extent that it was relevant to the aggravating

                          circumstance committed in thi s case.

                                                           MITIGATING FACTO RS

                                  Mitigating factors are factors which , while they do not justify or excuse the crime,

                          nevertheless in fairness and mercy, may be considered as they call for a penalty less than

                          death, or lessen the appropriateness of a sentence of death. Mitigating factors are those

                          facto rs about an individual that weigh in favor of a decision that a sentence of life in prison

                          is the appropriate sentence.

                                 As requested by Defendant and in accordance w ith R .C. 2929 .04(B), the Court has

                          weighed against the aggravating circumstance the nature and circumstances of the offense,

                          the hist01y, character, and background of the Defendant, and all of the following:

Judge .\ndrcw :'Juslofl
 romrwnt Pku:-, Court
  Dntkr fmuny. Ohlo
                                 I. Any o ther factors that are relevant to the issue of whether the
                                 ofTcnder should be sentenced to death (R.C. 2929.04(8)(7)):

                                 A. Borderline personality disorder;

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                               I3. Alcoho l abuse;

                              C. Love and support of fami ly members and frie nds;

                               D. Testimony of Defendant's daughter, Sherry Davis, regard ing her
                               forgiven ess of Defendant fo r the purposeful killing of her mother;

                               E. Good behavior while in prison ;

                               f. Childhood and fam ily experience, and the impact of each upon
                               Defendant's personality development and mental health;

                               G. Remorse and apology;

                               H. Age (62 years old) ;

                               I. Probability of no release ti·om prison ;

                               J. Whether a sentence of life in prison would bring closure to the
                               victim's family; .

                               K . The savings to taxpayers should a life sentence be imposed.

                               It must be noted that Defendant did not request a pre-sentence investigation or mental

                        examination pursuant to R.C. 2929 .03(D)(l); therefore, neither were ordered for the Cowi 's

                        review and deliberation. In consideration of the aforementioned factors , the Court heard

                        evidence from the following individuals.

                                                             Fam ilv and Friends

                                The Court heard testimony from Defendant's mother (Al luster T ipton) , step-father

Judge Anrlrcw Naston·   (Charles Tipton), younger sister (Carol Smith), younger brother (Victor D avis), daughter
 Colllmon Pk as Comt
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                        (Sherry Davis), and two friends (Rick Rotundo and Fran Welland).



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                                      T he testimony of each wi tness centered on Defe ndant's positive aspects and his

                              importance in their lives. Each witness testified to maintaining some amount of contact with

                              Defendant, despite his incarceration on death row. Each witness opposed the re-imposition

                              of the death penalty in this case .

                                                                     Prison JlCI'sonnel

                                     The Court also heard testimony from Defendant 's prison case manager, Scott Nowak,

                              regard ing Defendant 's positive prison record and his position on death row's "extended

                              privil ege unit" or " hono r block." The C ourt reviewed Defendant's insti tutional summary,

                             which revea led no more than a single occurrence of pri son m iscond uct since 1984.

                             Defendant's sole instance of m isconduct occurred in 1990.

                                     The Court also heard testimony from Jeremy Stineman , who conducted A lcohol ics

                             Anonymous meetings with death row inmates, includ ing Defendant, fo r se veral years.

                             Stineman testified that Defendant regu larly attended meetings and participated actively.

                                                                    Cvnthia Mausser·

                                     The Court heard testimony from Cynthia Mausser, Chairperson of the Ohio Parole

                             Board, who descri bed the Paro le Board' s various policies and proced ures. Defense counsel

                             posed hypothetical questions to Mausse r, who testi fi ed that an individual with Defendant's

                             backgro und is " unlikely" to be paroled at the fi rst opportunity, and wo uld " likely" spend a

.Judge .-\ndrc\\' Nasloll"
  Common l'h..·as Coul't     substant ial portion of hi s adult life in prison. M ausser could not, however, state with any
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                             certainty if or when Defendant might be paro led if this Court imposed a sentence less than



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                               death . Mausser did testify that if Defendant became parole-el igible, he would be considered

                               for paro le at interval s ranging from one to ten years for the rest of his life. Mausser testified

                               that in each instance, the victim' s family would be notified and could appear to voice

                               opposition to Defendant' s release.

                                                                      Dr. Rober-t Smith

                                      Final ly, the Co urt heard testimon y from clini cal psychologist and certified addiction

                              specialist, Dr. Robert Smith. Dr. Smith recounted Defendant's social history, including

                              interviews that he conducted with Defendant's family members, som e of whom testified

                              duri ng the m itigatio n phase of thi s trial. Dr. Smith also reviewed the interv iew summaries of

                              other indi viduals w ho were familiar with the Defendant. Additionally, Dr. S mith reviewed

                              De fendant' s prior psychological evaluations, conducted between 1964 and 2002. After

                              cond ucting interviews and reviewin g sum maries and evaluations, Dr. Sm ith met with

                              Defendant twice. Each visit lasted approx imately five to six hours. Dr. Smith testified that

                              the afo rementioned interviews and eval uations, in the aggregate, provided a sufficiently

                              "rounded" and " longitudinal" picture o f the Defendant for purposes of rendering a diagnosis .

                                      Dr. Smith fo und that at the time of the of fense at bar, Defendant suffered from

                              borderl ine personal ity d isorder and alcoho l dependence. Dr. Smith found that Defendant

                              s uffers from these co-occurring disorders to this day. In Dr. Smith's opinion, a biological

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 Common Pkns C'ourl           co mponent exists w ith respect to the borderline personality disorder. lt is Dr. Smith's belief
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                              that Defe ndant's borderline personality disorder formed in early adolescence when



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                                   Defendant's dysfunctional childhood environment and the biological component coalesced.

                                    Dr. Smith testified that his diagnosis does not excuse or justify Defendant's actions in ki lling

                                   Suzette Butler, but offers some explanation as to how or why the kil ling occurred.

                                           Dr. Smith testified that Defendan t's good behavior whi le in prison is not surprising,

                                   given that individuals with borderline personali ty disorder function well in a highly

                                   structured environment such as prison. Ultimately, however, Dr. Smith failed to forecast

                                  Defendant's behavior or recommend a treatment plan, should he eventually be released from

                                  pnson.

                                                                             FINDINGS

                                           In order to sentence Defendant to death, the Jaw requires that the three-judge panel

                                  find beyond a reasonable doubt that the aggravating circumstance in this case outweighs the

                                  mitigating factors. The panel must consider the evidence presented as to the aggravating

                                  circumstance that transformed the offense of aggravated murder from a case in which death

                                  was not a potential penalty to one in which death is a potential penalty. This aggravating

                                  circumstance must be then weighed against the mitigating factors that would weigh in favor

                                  of a decision that a sentence of li fe in prison is the appropriate sentence.

                                          The weighing process is just that. The panel must place the aggravating

                                  circum stance on one side and place all of the mi ti gating facto rs on the other, and then
,Judge .-\ndn:w .\ustuff
  CmHIIIOil I ,h.'u:-. ( 't>tut   determine beyond a reasonable doubt whether the aggravating circumstance outweighs the
   Butkr Comity. Ohio

                                  mitigating factors. P1:oof beyond a reasonable doubt mandates that this panel have a firm



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                                                                                                  VON CLARK DAVIS v. WARDEN
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                         belief or conviction in what is to be established. Proof beyond a reasonable doubt requires

                         that an ordi nary person be w illing to act upon that proof in the most important of his or her

                         own affairs.

                                     The aggravatin g circumstance in this case relates that prior to commi tting the

                         aggravated murder of Suzette Butler with prior calculation and design, D efendan t was

                         previously convicted of p urposefully killing Ernestine Davis. The three-judge panel

                         unanimously finds that the aggravating circumstance deserves great weight.

                                     Against the aggravating circum stance, the panel weighs the fo llowing mitigating


                         facto rs:

                                     In accordance with R.C. 2929.04(8 ), the panel find s nothing mitigating about the

                         nature and circumstances of the offense itself.

                                     The panel has consid ered the testimony offered to show that Defendant is loved and

                         supported by family and friends.           This evidence is not atypical and does not deserve

                         significant weight. The panel has also considered the testimony of Sherr-y Davis and the fact

                         that she has forgiven Defendant for purposefully killing her mother; however, the panel

                         afford s thi s factor very little weight.       The panel further considered the testimony of

                         Defendant' s friends and fami ly concerning his dysfunctional family and childhood

                         experiences. The panel finds the testimony to be unconvincing and entitled to littl e or no

Judge :\.udrcw Nnstolf
 Common Plea~ Court
                         we ig ht.
 Hutkr County. Ohio




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                                       The panel considered the impact of Defendant' s family experiences upon his

                               personality development and mental health, as detailed in Dr. Robe1i Smith' s testimony.

                               The panel finds that the separate testimony of Defendant 's family and friends docs not

                               support Dr. Smith 's conclusion that Defendant suffered an extreme a nd dysfunctional

                               upbringing. Nevertheless, assuming that Defendant's background contributed in some way

                               to the development of Defendant 's borderline personality disorder and alcohol dependence,

                              the panel still finds that Dr. Smith 's di agnosis, even if val id, is entitled t o little weight in

                              mitigation .

                                      The panel considered the testimony of Cynthia Mausser offered to show the

                              probabi li ty that Defendant would never be released from prison if given a sentence less than

                              death. The panel unanimously finds thi s evidence to be highly speculati ve and unconvincing

                              and entitled to no weight.

                                      The panel considered the D efendant's good behavior while in prison, the

                              Defendant 's advanced age, and the Defendant 's remorse and apology during his unsworn

                              statement.     The panel attributes little weight to each factor.

                                      Finally, Defendant proposed that the panel should consider that a life sentence in this

                              case would be econom ically benefi cial to taxpayers and wo uld bring closure to the victim's

                              fam ily. The panel is uncertain whether these factors are relevant mitigating factors under

,JtHI I.(c Andre\\' Nustulf
  C~nuumt Pleas Cum1          Ohio law; nonetheless, the panel considered Defendant ' s evidence and arguments to ensure
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                              that he had a full opportunity to present all mitigating evidence during the sentencing phase.



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                              After considering evid ence and testimony relevant to these factors, the panel affords them

                             no weig ht.

                                     T he panel must weigh all   or the   relevant mitigating factors, adj udge the collective

                             weight of the facto rs, and determine if the sole aggravating circumstance in this case

                             outweighs the mitigating fac tors beyond a reasonable doubt.

                                     In performing that task, the .Judges of this panel unanimous ly find that the

                             aggravating circ um stance outweighs, beyond a reasonable dou bt, the individual and the

                             aggregate of the mitigating facto rs present in thi s case. Therefore, the pa nel finds that the

                             sentence o f death shall be imposed upon the De fendant, Von C lark Davis.

                                    SO ORDE RED.




                                                                             C harles Pater, Judge




Judge .\tH lrcw Nnslofr
 r (.JIIliiHltl Pkus Com·t
  Butkr County, Ohio




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                         cc:

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                                               111
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                         Randall L. Porter
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                         Melynda Cook-Reich
                         REPPER, PAGAN, COOK, Ltd.
                         1501 First A venue
                         Midd letown, Ohio 45042




,Judge Anclrcw Nnstotr
 Common Pkas Conrl
  Jlntkr Cmmty, Ohio




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                                                       COURTOf APPEALS




                                                                                 CASE NO. CR1983-12-0614

                                                                                 STATE OF OHIO
                                                                                 COUNTY OF BUTLER
                                                                                 COURT OF COMMON PLEAS
                                                                                 Nastoff, P.J.; Pater and Spaeth, JJ.

                                                                                           PRIORI T Y
                                                                                 JUDGMENT OF CONVICTION ENTRY
                                                                                  [This is a Final Appealable Order. ]
                                                                                .. .. ..
                                                                                      . .
                                    This 8th-10th days of September, 2009, came the Prosecuti ng Attorney into Court

                             and th e Defendant personal ly appearing with his counsel, Melynda W. Cook-Reich and

                             Randall L. Porter, and the charges, plea of Not Guilty, and Findings of the three-j udge panel

                             as to Count One with Specification being set forth in the previous Entry which is expressly

                             included herein by reference. Wherefore, the Defendant being informed that he stands

                             convicted of AGGRAVATED MURDER contrary to R.C. 2903.01(A) with Specification to

                             Count One pursuant to R.C. 2929.04(A)(5 ) as charged in Count One of the Indictment, t he

                             Court afforded counsel an opportunity to speak on behalf of the Defendant, and the Co urt

                             addressed the Defendant personally and asked if he wished to make a statement in his own

                             behalf or present any informat ion in mitigation of pun ishment, and after having heard all the

                             facts adduced by both parties, the pa nel of three judges having engaged in a determination

                             of sentence f or Count One pursuant to the requ irements of R.C. 2929.03 (0 ) and having

                             unanimously found, by proof beyond a reasonable doubt, t hat the aggravating circumstance

                             t he Defendant was fou nd guilty of committing outweighs t he mitigating factors presented

                             here1n, and nothing being shown as to why sentence should not now be pronounced.

     OFFICE OF
ROSECUTING ATTORNEY
BUTLER COUNTY, O HIO

    R OBIN PIPER
ROSECUTING ATTORN EY

OVERNMflfT SERVICES CENTER
 315 HIGH ST. ·11TH FlOOR
       P.O.BOX 5 t5
   HAMilTON, OHIO "5012
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                                                                             State v. Von Clark Davis , Case No. CR1983·12-0614
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                                        It is ORDERED as to Count One that the sentence of death shall be imposed upon

                                the Defendant. which sentence is imposed pursuant to R.C. 2929.02(A) and 2929.03 -

                                29 2 9 .0 4 , said sentence being in addit ion to a term of imprisonment previously imposed by

                                journal entry as to Count Two. Defendant is FURTHER ORDERED to pay all costs of

                                prosecution. The Sheriff is hereby ORDERED to convey the Defendant to the custody of the

                                Ohio Department of Rehabilitation and Correction, forthwith.           Defendant was further

                                advised of all of his rights pursuant to Criminal Ru le 32, including his right to appeal the

                                judgment, his right to appointed counsel at no cost, his right to have court documents

                                provided to him at no cost, and his right to have a notice of appeal filed on his behalf.


                                                                            ENTER




                                                                           ANDREW NASTOFF, Presiding Judge




                                                                           CHARLES L. PATER, Judge




                                                                           KEITH M. SPAETH , Judge
                                Approved as to Form:
                                ROBIN N. PIPER (0023205 )
      OFFICE OF                 PROSECUTING ATTORNEY
>ROS ECUTING ATTO RN E Y
 BUTLER COUNTY, OHIO            BUTLER COUNTY, OHIO
     ROBIN PIPER                DGE/MAO
>ROSE CUTING ATTORNEY
                                09/ 15/2009
GOVER NMENT SERVtcES CENTER
  315 HIGH ST. · 1 ITH FI.OOR
        P.0.80X515
    HA MilTON, OHIO 45012


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                                                                                       (case No. {:R'9 :) -/.).-    0/t f.b/
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                            BUTLER C OU~ TY
           Date ofrequest: CLERK OF COUJif~9..-i) j

           Requesting Party:                         t             'f9r/0 1 1- 1:..£     P Off<fe_
           Phone No.                                           ~/ Jf- ·/S'd- 9 J./ 5
           Indigent Defendant:                        (yes)_ _(no)_ _

           Case Caption:                             l/0 J C L(/tl k Dr1VIS
           Filed in Court of Appeals:                 (yes)_                _ (no)_ _

           Type of hearings and dates:                £E-:S'f:J./( };..f..,/ ('1 ,.J6-




           Judge:                                    f 'fr57?;:-y.
           Requested Completion date: - -- -- - - -




           CD#s:

           Transcriptionist:

           Additional notes:




           Copies to:   WHITE -A ttach to Entry
                        GREEN - Requesting Party
                        CANARY - Court Reporter
                        PINK - Bailiff
                        GOLD - Prosecutor




                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                       APPENDIX - Page 4922
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 62 of 200 PAGEID #: 4957



                                                                                                                                                ' ...            fl':\
  I
                                    REQUEST FOR COU RT PAID EXPERTS AND/ OR EXPENSES                                                                    .            -~()


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      In the           Conmon Eleas                                                  ,Court of Butler County:                            , Ohio.
                                 ,.."'"" r ~(" I
                                          .. . .
                                              I
                                              ~
                                                    ' • '
                                                           2       pf,l2: _       34
      Plaintiff:   State of Ohio                                 . ..           ,- .       Case No. CR 1983-12-0614
                                                        L: ,\ i ' ~ :.. ..... \ -:._
                                                     , , :      I .   I                      f'
                                                                     ~ I I " Ty
                                        r-. u-f \. c \~
                                                  - · i . . ...       •        ('
                                                                   l; ' .~      J    1
                                                                                           Attorney(s) for the Defendant/Party Represented:
      v.                                           CL    -~
                                                    e [I~i\      · "'TS
                                                            OF CGU(\
            Von Clark Davis                                                                        Melynda Cook
      Defendant/Party Represented

      In re:
               ,/4't0s.t-AI~ {_:.ZI/f/:757~/J.,df/t:.J                              )~/t/.         Randall Porter


                                                                                         CHARG ES
                 OFFENSEICHARGEIMATIER                                                                  ORC/CITY CODE            DEGR EE            DISPOSITION

      1.) Aqq . Murder                                                                                 2903.01                   F              Trial-G
      2.)
      3.)
      'Ust only the three most serious charges beginning with the one of greatest severity and continuing in descending order.
                                                                                    JUDGMENT E NTRY


           The Court finds that the following experts and/or expenses were ordered for use in the case of an indigent
      person, that all rules and standards of the Ohio Public Defender Commission and State Public Defender have been
      met, and that an Affidavit of lndigency/Financial Disclosure Form for the above referen ced person has been sent to the
      Office of the Ohio Public Defender, or is attached to this document.

          IT IS THEREFORE ORDERED that the expert fees and/or expenses attached are hereby approved in the
      amount of $               It is further ordered that the said amount is certifi ed ~ the C
                            f f'/. 50                       .                                    o the County



                                                                                                   ~
      Auditor for payment.

            Nastoff
                                                                                                  JudQe·~atu re
                                                                                                                                           f(;/zefn
      Judge's Name (type or print)                                                                                                                          Djte
                                                                COUNTY AUDITOR'S CE~ION
           The County Auditor in executing this certificate attests to e a uracy of the figures contained herein. A
      subsequent audit by the Ohio Public Defender Commission and or Auditor of State that reveals unallowable or
      excessive costs may result in future adjustments against reimbursement or repayment of audit exceptions to the Ohio
      Public Defender.

      PAYEE                                                                          TAX ID           WARRANT NO.       WARRANT DATE            AMOUNT

            Thomas Hall         P.r. Inc.                                     XX-XXXXXXX                                                         487.50




      (If necessary, continue on separate sheet.)
                                                                          I                       I                 I
                                                                                                                                 TOTAL     $487 . 50

      County Number                                                                                                                             J
                                                                                                  County Auditor's Signature
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                                                                                                                                                    \\
  OPD-209 (1/00)




                                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                                          APPENDIX - Page 4923
 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 63 of 200 PAGEID #: 4958
Oct 19 09 02:15p               Jason Quinlan                                                      5134424792             p.1




                               Thomas Hall P .1. Inc.
                               1281 GraceAve.
                               Cincinnati, O H 45208
                                                                                                  Invoice
                                                                                                  Number: 1282

                                                                                                   Date:   October 19, 2009
           Bill To:                                                                    Ship To:
                                  - - ------- ------ - --
           Mrs. Mely:-~da Cock- Reich, Esq .
           Repper , Powers & Pagan
           1501 Firs'.: i\ve .
           Middle town , OH 45044

                                               ·· - -···-··

                           Terms                                                       Ship


   [=
    Item#
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                          Description
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                                                              Von Clark Dav is investigation.




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                                                                                                               Total           $487 . 50
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                                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                                        CASE NO. 2:16-cv-00495
                                                                                                         APPENDIX - Page 4924
 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 64 of 200 PAGEID #: 4959
Oct 19 09 02 15p       Jason Quinlan                                              5134424792                p.2




                                  Case time billing worksheet
     Client:       Mr. Von Clark Davis                      Attorney: Ms. Melynda Cook-Reich, Mr. Randall Porter

        Date        Start     Stop        Total                               Case Notes
       2116/2008      10:45   11 :15:00      0.5 Background on VC Davis case.
       2120/2008      16:45       19:15      2.5 Family_Mtg. in Forest Park, OH.
       8122/2008       9:00      13:30       4.5 9 subpoenas (all same day, several out of county)




                                             7.5 TOTAL HOURS




                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 4925
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 65 of 200 PAGEID #: 4960




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                                                           .


                                                 IN THE COURT OF~C@MON PLEAS
                                                     20H1t01Lt&. ~'SN¥v, OHIO
                        STATE OF OHIO,

                               Plaintiff,                                           Case No. CR 1983-12-0614

                        vs.


                        VON CLARK DAVIS                                             Judge Daniel Andrew Nastoff

                               Defendant.



                          ENTRYG~GDmrnNDANrSMOTIONANDMKMORANDUMFOR
                              THE APPROPRIATION OF FUNDS FORA PRIVATE INVESTIGATOR


                               The Court having received a Motion through Defendant's Counsels for the Appropriation

                        of Funds for a Private Investigator, hereby GRANTS said motion for Good Cause.

                                       WHEREFORE, the Court grants the Defendant $ 1,000.00 for expenses for a

                        Private Investigator in this matter. Such expert expenses to be billed at $65.00 per hour.

                                                                              SO ORDERED,



                                                                              ~ I        ;
                                                                                        .·
                                                                                             I




                        Cc: Prosecutor

                        Entry prepared by Melynda Cook-Reich



 Repper, Pagan,
 Cook, Ltd.
 Anorneys at Law
 1501 Fint Avenue
 Middletown, OH 45044
 Phone: 513.424.1823
 FAX: ~13.424 .3 1 3~




                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                            CASE NO. 2:16-cv-00495
                                                                                             APPENDIX - Page 4926
     Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 66 of 200 PAGEID #: 4961



                                   ;FINANCIAL:DISCLOSURE/AFFIDAVTT .:OF:INOI"GENCY
                             ($25.00 ·aoolicationiee·m a v be assessed--see ·notice on·reverse side)




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                                                                    T otal Income - Allowable Expenses = Adjusted Total Income




3. EXPENSES·
                                                          :111. ASSET INFORMATION                                                                                        - ' .. ,, '


ryoe of A5set                                Describe /length of Ownership I Make, Model. Year (where aoplicable)               I            Estimated Value
~eal   Estate I Home                Price:$                  Date Purchased:                  Amt Owed:$

>to::ks I Bonds I CO's
                                                                                                                                                      I
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\!.Jtom obiles                                                                                                                                        /
                                                                                                                                                  I
·rucks I Boats I Motorcycles                                                                                                                  I                          ..
                                                                                                                                              I                   I


)ther Valuable Property                                                                                                           I I                                    L

:ash on Hand                                                                                                                      I I /
~ oney   Owed to Applicant                                                                                                      I "---7
>ther                                                                                                                                J                '../
:heckJng Acct (Bank I Acct #)
;avings!MM Acct (Bank I Acct #)                                                         ·'.                                                                               ,.
                               ..                                                     I D. T OTAL ASSETS :'           -·                 $                ·. (~;;;,.;'



                                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                                          CASE NO. 2:16-cv-00495
                                                                                                           APPENDIX - Page 4927
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 67 of 200 PAGEID #: 4962



                 VII. MDNTfiLY LIABllmESICTHER EXPENSES                                                                       VIII. GRAND 'TOTALS




J~r_o_
    oo______________________~----L---~~: C. ADJ .IOTAL INC OME                                                                                              D
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                                                                                               I D.IOTAL ASSETS
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  Gas                                                   i                                                                                        i          0
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  ruel                                                  I        ;

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  Telephone                                             I        'i
                                                                 '
                                                                                                   :E. LIABILITIES & OTHER                        I                            I
  8able                                                 I        '
                                                                 '
  Water I Sewer !Trash                                           \                                         $25.00 APPLICATION t==:E NOTICE
  Credit Cards
                                                        I \                        I               By submitting this Financial .Disclosure Form/Affidavit of
                                                                                                   lndigency Form, you will be assessed a non-refundable
   Loans                                                                  ~                        $25.00 application fee unless waived or reduced by the
  Taxes Owed                                                                   I                   court. If assessed, the fee is to be paid to the cleti< of courts
                                                                                                   within seven (7) days of submitting this form to the court, the
   Ottler
                                                                                                   public defender, your appointed counsel or any other party
 .E . LIABILITIES .& OTHER EXPENSE                                         0                       who will make a determination regarding your indigency.
                                                                 IX. AFFIDAVIT OF INDIGENCV

     I, ---        ------- --            - - -- - - - - --                                     - -     - - - -- (affiant) being duly sworn, say:

     1. I am financially unable to retain .private.counsei without substantial hardship to me or my family.
     2.         I understand that I must inform the public defender or appointed attorney if my financial situation should
                change before the disposition of the case(s) for which representation is being p rovided.
                                                                               .                                 .

     3.  I understand that if it is determined by the county, or by the C ourt, that legal representation should not
         have been provided, I may be required to reimburse the county for the costs of representation
         provided. Any action filed by the county·to collect legal fees hereunder must be brought within two
         years form the last date legal representation was provided.                         ·
                                        .                                   .
      4. I understand that I am subject to qriminal charge$ for providing false financial information in connection
         with the above application for legal representation pursuant to Ohio Revised Code Sections 120.05
         and 2921.13.                                                                               ·
      5. I       hereb~~~
                      _ ........_,~.e informatio.n_ I have provided on this fi
                      ....                                                                                   ancial dis osure form is true t o the best .
                ofmy                       '        .       ·                              .                         1 .           ·                            .
                       ·.                *:     ·       ·                              .                    fJvv          .        l       Uu\A                 J2. - lf · 7
                        ~~
                         "'- .        · / ;;    . . NOJI- coO~                                      Affiant's Signature                                     Date
                            .,.   •   C~f      M,l:tY           tote ol Q h iO                                                                                         .
                Notary · ~tJ~id~aicdf.JTY~~ti~ ~mtlThister oath:                                                                                                       n--
                Subscribed and ~¥(6~:~tne~ording to law, by the above named                                                                     a~nt this ~ day of
                ~ ,                       at       D'\.         tla Y\AA.il
                                                                  , County of                                                                   ~~
                ~-=
                  - --=-..=:.:::._ _ __



                                                                          .X.JUDGECERriFICATION                                -       .    ·         · ·

                       I hereby certify that above-noted applicant is unable to fill out and/or sign this financial disclosure/
                 affidavit for the following reason: - -- - - - - -- - -- - - -- - - - -- - - - - - -·

                 I have determined that the applicant meets the criteria for receiving court appo inted counsel.


                                                                                                     Judge's Signature                                          Date

   OPD-205R         rev. 9/2005



                                                                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                                                                CASE NO. 2:16-cv-00495
                                                                                                                                                 APPENDIX - Page 4928
      Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 68 of 200 PAGEID #: 4963

                                MOTION , ENTPY, AND CERTIFI CATION FOR A PPOJfi'..-ED C OUNSEL FE E S

 In t he                             Common Plec.~                                                                            Co urt of                             Butler County
                                                                                                                                                                                                                  . Ohio

 Plaintiff:
       v.
                                      State of Ohioi
                                                               a
                                                                     4 -;       1
                                                                            , t ~ ~~- ~
                                                                                            -:-··     a                       Current Case No.
                                                                                                                              Reference Case No. (if app.)
                                                                                                                                                             CR1983-12-0614
                                                                                                                                                                                                    ,;~;

                        Von Clark Davis        ( nlt) JM1
 Defendant I Party Represe nted
                                                                                 8              r:1 r: . ~n 0                 [ ] Capital Offense Case
                                                                                                                                  Guardian Ad Litem
                                                                                                                                                                    (check if this is a Capital 6 \nse case)
                                                                                                                                                            (check if appointed as GAL)                    ~
                                                        i ~ jjV~·           ;
                                                                                      .•l }··-.
                                                                                             · .          •J
 In re:                                         :..,     j

                                                       f"i   t"I.·          :,.j~ '   1
                                                                                          ' ·     •   '~       \ .   •
                                                                                                                         1    Judge                                        Nastoff                           ()

                MOTION FOR            APPR~fffA~~E~T ~?F APPOINTED COU NSE L                                                                                            FEES AND EXPE N SES
  The undersigned having been appointed counsel for the party represented moves this Court for an order approving payment of fees and
  expenses as indicated in the itemized statement herein. I certify that I have re ceived no compensation in connection with providing
1 representation in this case other than that described in this motion or wh ich has been approved by the Court in a previous motion , nor have


  any fees and expenses in this motion been duplicated on any other motion. I, or an attorney under my supervision , have performed all legal
  services itemized in this motion.
   0        Periodic Billing (check if this is a periodic bill)

   As attorney/guardian ad litem of record, I was appointed on                                                               December 5, 2007               This case terminated and/or was

   disposed of on         September 2 1, 2009                   . I am submitting this application on                                              O ctober 15, 2009

                                                                                                                                                                   ' .-, ~ ~ .            ' -· l._ _./
                                                                                                                                                                                        ( .({l.:l.
                                                                                                                                                       /1

                                     Melynda Cook~                                                                                                ~l' l '. -.
                                                                                                                                                   I •·
   Name                                                                                                                            Signature        , - ~ L.Lc ('c ~---
                                                                                                                                                       I        I
   Address                                1501 First Ave., Middle town, OH, 45044                                                                                         SSN/Tax ID                04- 3699744
                 Address                                                                                                     City I State I Zip                           OSC Reg. No.                     0066596

                                       SUMMARY OF C HARGES, FlOURS, EXP E NSES, AND BILLING
OFFENSE/CHARGE/MATTER                                                                                                                        ORC/CITY CODE                  DEGREE                  DISPOSITION
1.) Aggravated Murder                                                                                                                             2903.01                       F                          Trial-Guilty




      *List only the three most serious charges beginning with the one of the greatest severity and continuing in descending order_

                                                                                                                                  IN-COURT
                                                                                      PRE-TRIAL                              ALL OTHER
Grand Total                             OUT-OF-COURT                                  HEARINGS                                IN-COURT            IN-COURT TOTAL                GRAND TOTA L
H o urs
                                            362.70                                              6 .90                          31 .80                   38.70                       401.40
From Other Side :

  0       Flat Fee         Hrs:ln     38.70    X Rate                       $50.00                    =              $1 ,935.00 Tota l Fees                 $ 16 ,443.00
  0       Min. Fee       Hrs:Out      362.70 X Rate                         $40. 00                   =         $14,508.00                Expen ses                  $76.25    Total        $16,51 9 .25

                                                JUDGME NT ENTRY
 The Court find s that counsel performed the legal services set forth on the itemized statement on the reverse hereof, and that the fees
 and expenses set forth on this statement are reasonable, and are in accordance with the resolution of the Board of County
 Commissioners of                             Butle r                                                      County, Oh io relating to payment of appointed counsel, that all ru les and
 sta;1dards of the Ohio Public Defender Commission and State Public Defender have been met.

 IT IS THEREFORE ORDERED                   lh•l oo""''"''""d''P'"'''be, ood;~1ooolof 4f{,) Sl't. ZS
 It is further ordered that th e said amount be, and hereby is, certified by the C                                                             to the County Auditor f                 •n-'-:       4/~


 0    Extraordinary fees granted (copy of journ al entry attached)                                                               Judge          -
                                                                                                                                          / fgnati:ifti:\
                                                                                                                                                                                                h /{)
                                                                                                                                                                                                I
                                                                                                                                                                                                             Date

                                                       CERTIFI CAT ION >f~
 The County Auditor, in executing this certification. attests to the accuracy of fi     contained herein. A subsequent audit by th e
 Ohio Public Defender Commission and/or Auditor of the State which reveals unallowable or excessive costs may result in future
 adjustm ents against re imbursement or repayment of audit exceptions to the Ohio Public Defender Commission.
 County Number                   9                           Warrant Number                                                                                           Warrant Date

                                                                                          County Auditor




                                                                                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                                                                                          APPENDIX - Page 4929
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 69 of 200 PAGEID #: 4964


CASE NUMBER_ _ _ __ C;;;..;R
                           ~1 '                         ' -12-0614                          ATTORN EY/(                             Melynda Cook-Rei ch
 IF CAPITAL OF FENSE CASE, LIST CO-COUNSEL'S NAME HERE: _ _ _ _ __ _ __ __ __ _ _ __ _

                                                ITEMIZED FEE STATEMENT
I hereby certify that the following time was expended in representation of the defendant/party represented·
                                            IN-COURT                                                                                  IN-COURT




                               -' Cfl      0::                                                                             -' Cfl     0::
                               ~ C)        WI-                                                                                        WI-
                                           I O::                                                                           ~C)
                 OUT-OF-       o::z        1- :::l                                          DATE OF       OUT-OF-          o::z       I O::
                                                                                                                                      1- :::l
                 COURT        r;- a:       00           IN-COURT          DAILY             SERVICE       COURT            r;- a:     0 0           IN-COURT               DAILY
 DATE OF                       w ~         -'(.)                                                                           w ~        _J()
 SERV ICE         TOTAL        o::w        -' '           TOTAL           TO TAL           (continued)     TOTAL           O:: U!     -''             TOTAL               TOTA L
                               C.. I       ~ ~                                                                             C.. I      ~~
  12/3/07               2.5        0.0           0.0            0.0             2.5         2/19/08                1.0        0.0           0.0                 0.0                 1.0

  12/4/07               2.5        0.0           1.3            1.3             3.8         2/20/08                5.0        0.0           0.0                 0 .0                5.0

  12/5/07               0.2        0 .0          0.0            0.0             0.2         2/23/08                0.1        0.0           0.0                 0.0                 0.1

  12/6/07               3.2        0.0           0.0            0.0             3.2         2/24/08                1.5        0.0           0.0                 0.0                 1.5

  12/7/07               1.2        0.0           0 .0           0.0             1.2         2/25/08                0.9        0.0           0.0                 0.0                 0.9

  12/9/07               0.5       0.0            0.0            0.0             0.5         2/27/08                0.5        0.0           0.0                 0.0                 0.5

 12/13/07               0.2       0.0            0.0            0.0             0 .2        3/4/08                 1.5        0.0           0.0                 0.0                 1.5

 12/20/07               0.1       0 .0           0.0            0.0             0.1         3/5/08                 4.5        0.0           0.0                 0.0                 4.5

 12/28/07              0 .7       0 .0           0.0            0.0             0.7         3/6/08                 1.8        1.5           0.0                 1.5                 3.3

  1n/08                0 .1       0 .0           0.0            0.0             0.1         3/11/08                0.2        0 .0          0.0                 0.0                 0.2

 1/11/08               0.5        0 .0           0.0            0.0             0.5         3/17/08            10.5           0.0           0.0                 0.0                10.5

 1/22/08               0. 1       0.0            0.0            0.0             0. 1        3/18/08                2.5        1.0           0.0                 1.0                 3.5

 1/29/08                1.0       00             0.0            0.0             1.0         3/19/08                2.5        0 .0          0.0                 0.0                2.5

  2/4/08               5.0        0.0            1.0            1.0             6.0         3/20/08                2.5        0.0           0 .0                0 .0               2.5

  2/5/08               2.5        0.0            0.0            0.0             2.5         3/24/08                0.2        0.0           0 .0                0.0                0.2

  2/6/08               0.2        0 .0           0.0            0.0             0.2         3/27/08                3.5        0.0           0.0                 0.0                3.5

  2/9/08               1.5        0 .0           0.0            0.0             1.5         4/2/08                 0.4        0.0           0.0                 0.0                0.4

 2/10/08               0 .8       0.0            0.0            0.0             0.8         4/3/08                 1.7        0.0           0.0                 0.0                1.7

 2/11 /08              0.5        0.0            0.0            0.0             0.5         4/7/08                 0.5        0.0           0.0                 0.0                0.5

 2/15/08               2.5        0.0            0.0            0.0            2.5          4/8/08                 1.1        0.0           0.0             0.0                    1.1

 2/18/08               1.0        0.0            0.0            0.0             1.0       Contin ued on a separate s heet
                                         Contmue at top of nex t column.                     Time IS to be reported m tenth of an hour (6 mmute) mcrements.

 I hereby certify that the f ollow ing expenses were incurred:
 Use the following categories for Type:           (1) Experts         (2) Postage/Phone      (3) Records/Reports         (4) Transcripts           (5) Travel          (6) Other
TYPE PAYEE                                                                                                                                               AMOUNT
 6     Salvation Army- Clothes for Defendant                                                                                                                                $ 12.70
 6     Kmart- Clothes for Defendant                                                                                                                                          $8.04
 3     VCN Vital Records- Death Certificate                                                                                                                                 $32.75
 6     Parking                                                                                                                                                               $4.00
 6     Parking                                                                                                                                                               $6.00
                                                                                                                            I Contin ued on a separat e s heet
Clearly identify each expense and mclude a rece1pt for any expense over $1.00. See Sect1on (P)(1)(c) for pnvlleged mformat1on.




                                                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                                                        CASE NO. 2:16-cv-00495
                                                                                                                         APPENDIX - Page 4930
 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 70 of 200 PAGEID #: 4965


ATTORNEY___________M_e~ly~n_d_a_ r                     ~_
                                                        k-_R_e_ic_h__________    CASE NO.                             C R1 983-12-061 4

                                          ITEMIZED FEE STATEMENT CONTINUATION SHEET
                                         IN-COURT                                                                           IN-COURT




                           -' UJ        0:::                                                                                0:::
                                       UJI-                                                                      -'Ul       WI-
                           ~C)         :r:o:::                                                                   ::f(9
               OUT-OF-     o:::z                                                                                 o::: z     :r:O:::
                                       1-::J                                       DATE OF        OUT-OF-                   1-::J
               COURT       1-;-ii:     00                                          SERVIC E       COURT
                                                                                                                 ~-- -
                                                                                                                  ,0:::     00
  DATE OF                  UJ <(        _, u.          IN-COURT      DAILY                                       UJ <(      _, u.         IN-COURT     DAILY
  SERVICE       TOTA L     O:::UJ       _,               TOTAL       TOTAL        (continued)      TOTAL         O:::UJ     _,              TOTAL
                           C.. I        <( ~                                                                     c..:r:     <Cz                        TOTAL
  4/10/08           2.5        0 .0             0 .0          0 .0        2 .5     7/11/08                1.0        0.0           0 .0         0.0        1.0
  4/11 /08          1.5        00               0 .0          0.0         1.5      7/22/08                0.1        0 .0          0.0          0.0        0 .1
  4/15/08           1.5        0 .0             0.0           0.0         1.5      7/23/08                0 .1       0.0           0.0          0.0        0.1
  4/16/08           0 .1       0.0              0.0           0.0         0.1      7/28/08                1.0        0.0           0 .0         0 .0       1.0
  4/21 /08          0 .2       0.0              0.0           0 .0        0.2      7/30/08                0.1        0.0           0.0          0.0        0 .1
  4/23/08           3 .6       0 .0             0.0           0 .0        3.6      7/31/08                0.1        0 .0          0.0          0 .0       0.1
  4/24/08           0.2        0 .0             0 .0          0.0         0.2       8/7/08                0.1        0.0           0.0          0 .0       0.1
  4/25/08           0.5       0 .0              0 .0          0.0        0 .5       8/8/08                0.1        0.0           0.0          0 .0       0.1
   5/5/08           0.2       0 .0             0.0            0.0        0.2       8/12/08               0.1         0.0           0 .0         0 .0       0. 1
   517108           0.2       0.0              0.0            0.0        0.2       8/18/08               0.5         0.0           0 .0         0.0        0 .5
  ~/8 /08           1.5       0.0              0.0            0.0        1.5       8/22/08              ~4.6         0 .0          0 .0         0.0        4 .6
  5/9/08            0.3       0.0              0.0           0.0         0.3       8/25/08               3.0         0 .0          0 .0         0.0        3 .0
  5/12/08           0.2       0.0              0.0           0 .0        0.2       8 /26/08              5.8         0.0           0 .0         0.0        5.8
  5/15/08          4 .5       0 .0             0 .0          0 .0        4 .5      8/27/08               7.9        0 .0           3 .0         3.0       10 .9

  5/1 6/08         3.5        0 .0             0.0           0.0         3.5       8/28/08               6.8        0 .0           1.8         1.8         8 .6
  5/1 8/08         0 .2       0 .0             0.0           0.0         0.2       9/4/08                0.1        0.0            0.0         0 .0        0.1

  5/23/08          2 .5       0 .0             0.0           0.0         2 .5      9/8/08                1.5        0 .0           0.0         0 .0        1.5

  5/26/08          1.5        0.0              0.0           0.0         1.5       9/16/08               0 .5       0.0            0.0         0 .0        0.5

  5/27/08          2 .0       0.0              0.0           0.0         2.0       9/22/08               0 .5       0.0            0 .0        0 .0        0 .5

  5/28/08          2 .2       0 .0             0.0           0 .0        2 .2      9/24/08               0.2        0.0            0.0         0 .0        0.2

  5/29/08          1.5        0.0              0.0           0 .0        1.5       9/25/08               6 .5       0.0            0 .0        0 .0        6 .5

  5/30/08          4 .5       0.0              0 .0          0 .0        4.5       9/27/08               0.2        0 .0           0.0         0 .0        0 .2

  6/3/08           0.2        0 .0             0 .0          0.0         0.2       10/3/08               0.5        0.0            0 .0        0.0         0 .5
  6/6/08           3.7       0 .0              0.0           0.0         3.7       10/7/08               0.3        0 .0           0 .0        0.0         0 .3

  6/9/08           1.5       0.0               0.0           0.0         1.5       10/8/08               0.2        0 .0           0 .0        0.0         0 .2

 6/11/08           0. 1      0.0               0.0           0 .0        0.1      10/10/08               2.0        0.0            0 .0        0.0         2 .0

 6/12/08           2.2       0.0               1.5           1.5         3 .7     10/14/08               0.1        0.0            0.0         0.0         0.1

 6/13/08           2 .0      0.0               0.0           0.0         2.0      10/15/08               0.6        0.0            0.0         0.0         0 .6

 6/16/08           0 .1      0 .0              0.0           0.0         0 .1     10/16/08               0.1        0.0            0.0         0 .0        0.1

 6/17/08           1 .0      0 .0              0 .0          0 .0        1.0      10/22/08               2.0        0 .0           0.0         0.0         2 .0

 6/18/08           0 .1      0 .0              0.0           0.0         0.1      10/31 /08              1.5        0.0            0.0         0 .0       1.5

  7/9/08           0.5       0 .0              0 .0          0.0         0 .5    Continued on a separate sheet
OPD-1027R (1/00)                     Continue at top of n ext column.               Time is to be reported in tenth of an hour (6 minute) increm ents.




                                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                                              CASE NO. 2:16-cv-00495
                                                                                                               APPENDIX - Page 4931
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ATIORNEY                        Melynda C'                    ··-Reich                  CASE NO.                                CR1983- 12-06 14
              ------------~~~                                  --------------
                                                  ITEMIZED FEE STATEMENT CONTINUATION SHEET
                                                 IN-COURT                                                                              IN-COURT



                              -l(FJ             0::                                                                                 0::
                              ~C>               WI-                                                                    _J(f)
                                                                                                                       ~C>
                                                                                                                                    WI-
                                                :r:O::                                                                              :r:o::
               OUT-OF-
               COURT
                              ....o::.a::-z     1-:::l
                                                00
                                                                                          DATE OF
                                                                                          SERVICE
                                                                                                         OUT-OF-
                                                                                                         COURT
                                                                                                                       o::z
                                                                                                                       '7iY
                                                                                                                                    1- :::l
                                                                                                                                    00
  DATE OF                     W<(               _J (.)        IN-COURT     DAILY                                       W<(          _J(.)
                                                                                                                                                 IN-COURT    DAILY
  SERVICE       TOTAL         o:: w             _J'
                                                                TOTAL      TOTAL         (continued)      TOTAL        o::w         -l'            TOTAL     TOTAL
                              a.     I          <(~                                                                    a.   I       <(z
  11/3/08              10.2          0.0               0 .0          0.0         10.2     4/18/09               2.5         0.0           0.0          0.0       2.5

  11/6/08               0.5          0.0               0.0           0.0         0.5      4/20/09               4.5         0 .0          0.0          0.0       4.5

  11nt08                2.5          0.0               0.0           0.0          2.5     4/21/09               5.5         0 .0          1.5          1.5       7.0

  11/10/08              0.2          0.0               0.0           0.0         0.2      4/22/09                1.0        0.0           0.0          0.0       1.0

  11/19/08              1.5          0.0               0.0          0.0           1.5     4/23/09                1.5        0.0           0 .0         0.0       1.5

  11 /20/08            0.5           0.0               0.0          0.0          0.5      4/24/09               0.5         0.0           0.0          0.0       0.5

  11 /24/08            2.5           0.0               2.0          2.0          4.5      4/27/09               1.5         0.0           0.0          0.0       1.5

 12/10/08              1.5          0.0                0.0          0.0          1.5      4/28/09               0.2         0.0           0.0          0.0       0.2

 12/11/08              1.5          0 .0              0.0           0.0          1.5      4/29/09               7.0         0.0           0.0          0.0       7.0

 12/ 15/08             0.1          0.0               0.0           0.0          0. 1     4/30/09               4 .0        0.0           0.0          0.0       4.0

 12/28/08          ~
                       0. 1         0.0               0.0           0.0          0.1       5/1/09               0.5         0.0    ~
                                                                                                                                          0.0          0.0       0.5

   1/2/09              1.0          0 .0              0.0           0.0          1.0       5/3/09               3.0         0.0           0.0          0.0       3.0

  2/25/09              0.2          0.0               0.0           0.0          0.2       5/5/09               6.5         0.0           0.0          0.0       6.5

  2/26/09              0.2          0 .0              0.0           0.0          0.2       5/6/09               6.0         0.0           0 .0         0.0       6.0

  3/2/09               0.2          0.0               0 .0          0.0          0.2      517/09                5.8         0.0           0.0          0.0       5.8

  3/5/09               0.1         0.0                0.0           0.0          0.1      5/8/09                6.5         1.0           0.0          1.0       7.5

  3/16/09              1.0         0.0                0.0           0.0          1.0      5/9/09                6.5         0.0           0.0          0.0       6.5

  3/18/09              0 .2        0.0                0.0           0.0          0.2      5/ 10/09              4 .5        0.0           0.0         0.0        4.5

  3/19/09              1.0         0.0                0.0           0.0          1.0      5/11 /09              4 .5        1.0           0.0          1.0       5.5

  3/23/09              1.5         0.0                0.0           0.0          1.5      5/12/09               5.5         0.0           0.0         0.0        5.5

  3/24/09              1.0         0.0                0.0           0.0          1.0      5/13/09               3.5         0.0           1.0          1.0       4.5

  3/25/09              0.3         0.0                0.0           0.0          0.3      5/18/09               0.5         0.0           0.0         0.0        0.5

  3/26/09              1.5         0 .0               0 .0          0.0          1.5      5/28/09               0.1         0.0           0.0         0.0        0.1

 3/27/09               0.2         0 .0               0.0           0.0          0 .2     6/9/09                2.5         0.0           0 .0        0.0        2.5

  4/1 /09              0.3         0 .0               0.0           0.0          0 .3     6/10/09               1.5         0.0           0 .0        0.0        1.5

  4/6/09               1.0         0 .0               0.0           0.0          1.0      6/24/09               0.1         0.0           0.0         0.0        0.1

  417/09               2 .0        0 .0               0.0           0.0          2.0      7/22/09               0.1         0.0           0.0         0.0        0.1

  4/8/09               3.0         1.6                0.0           1.6          4 .6     7/23/09               1.0         0.0           0 .0        0.0        1.0

 4/1 4/09              0.5         0.0                0.0           0.0          0.5      7/24/09               0.1         0.0           0.0         0.0       0.1

 4/15/09               0.5        0.0                 0.0           0.0          0.5      7/28/09               0.3         0.0           0.0         0.0        0.3

 4/16/09               0.2         0.0                0.0           0.0          0.2      8/4/09                0.2         0.0           0.0         0.0       0.2

 4/17/09               4.0        0.0                 0 .0          0.0          4.0    Continued on a separate sheet
OPD-1027R (1/00)                              Continue at top of n ext column.             Time is to be reported in tenth of an hour (6 minute) increments.




                                                                                                                VON CLARK DAVIS v. WARDEN
                                                                                                                     CASE NO. 2:16-cv-00495
                                                                                                                      APPENDIX - Page 4932
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ATTORNEY                    Melynda (                  :-Reich                   CASE NO.                                CR1983-12-0614
            ------------~---                           --------------
                                           ITEMIZED FEE STATEMENT CONTINUATION SHEET
                                           IN-COURT                                                                         IN-COURT




                           ...J(f)        a::                                                                  ...J (/)     0::
                           ::SCJ          WI-                                                                  ::); (!)     WI-
                           o::z           :r:O::                                                                            :r:O::
               OUT-OF-     ~---
                                          1-:::>                                   DATE OF       OUT-OF-       o::z         1- :::>
               COURT        , a::         00                                       SERVICE       COURT         1-;- ii:     00
  DATE OF                  w~             _,(.)        IN-COURT     DAILY                                      W <(         _, (.)    IN-COURT   DAILY
  SERVICE       TOTAL      o:: w          ...J'          TOTAL      TOTAL         (continued)     TOTA L       O::W         ...J'       TOTAL
                           a..   I        <(~                                                                  a..   I      <( z                 TOT AL

   815109           1.6          0 .0           0 .0         0.0          1.6

   8/7/09           1.5          0.0            0.0          0.0          1.5

  8/17/09           0 .5         0 .0           0.0          0.0          0.5
  8/20/09           0.9          0.0            0.0          0 .0         0.9

  8/25/09           7.5          0.0            0.0          0 .0         7.5

  8/26/09           0.3          0 .0           0 .0         0.0          0.3

  8/28/09           0.5          0 .0           0 .0         0.0          0.5

  8/31/09           4.5          0.0            0 .0         0 .0         4 .5

  9/1/09            0 .5         0 .0           0.0          0.0          0 .5

  913109            2 .7         0 .8           0.0          0.8          3.5
                                                                                                                                          ,
  915109            7 .5         o:u            0.0          0.0          7 .5

  916109            7 .5         0 .0           0.0         0.0           7.5

  917109            8.0          0.0            0 .0        0 .0          8 .0

  9/8/09           11.0          0.0            3 .5        3.5        14.5

  919109           10.5          0 .0           7.0          7.0       17.5

  9/10/09           5 .5         0 .0           8 .2        8. 2       13.7

 10/12/09           0 .2         0 .0           0 .0        0.0           0.2




                                                                                 GRAND
                                                                                 TOTAL             362.7        6.9         31 .8        38.7          401.4
OPD-1027R (1100)                        Continue at top of next column.            Time is to be reported in tenth of an hour (6 minute) increments.




                                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                                             CASE NO. 2:16-cv-00495
                                                                                                              APPENDIX - Page 4933
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 73 of 200 PAGEID #: 4968




     EXPENSES- Continued

     ATTORNEY/GAL:         Melynda Cook-Reich

     CASE NO.: CR1983-12-0614
              State of Ohio v. Von Clark Davis

     TYPE   PAYEE                                                         AMOUNT

        6   Gough Lamb-Clothes for Defendant                               $12 .76

                                                     GRAND TOTAL           $76.25




                                                         VON CLARK DAVIS v. WARDEN
                                                              CASE NO. 2:16-cv-00495
                                                               APPENDIX - Page 4934
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 74 of 200 PAGEID #: 4969




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             MIDDLETOWN, OH 45944
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                                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                                  APPENDIX - Page 4935
                              Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 75 of 200 PAGEID #: 4970

                                                VOG-002083 I- I                                  YCN Vital Records                                    5/8/2009       (ciJ 3:00 om
                                                                      Credit Card Authorization Code: 0302 19 / AVS Response: Y - Exact Match 5
                                                     Certificate Type: DEATH                                                        Copies:
                                                Name on Certificate: MILTON B FLOWERS                                               Carrier: UPS NEXT DAY AIR
                                                      Spouse's Name:                                          Daytime I Delivery Telephone: (61 4)466-5394 I (800)686-1573
                                                           Event Date: 1/01/1995               Sex: M                          Relationship: PUB DEFENDER
                                                Place of Death - City:                                                Request Fee this Item:  S 12.00
                                                               County:                                         Other Agency Fees th is Item:   $ 0.00
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                                                                                                                     VCN Fee Carrier Fee Request Fee Agency Fees Total Fee
                                                                                                                      $ 6.75        $ 14.00       s     12.00    s     0.00    s    32.75

                                               Ship To: MELYNDA COOK-REICH ATTY AT LAW
                                                        1501 FIRST AVE
                                                         MIDDLETOWN, OH 45044
VON CLARK DAVIS v. WARDEN
     CASE NO. 2:16-cv-00495
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VON CLARK DAVIS v. WARDEN
     CASE NO. 2:16-cv-00495
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                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                            CASE NO. 2:16-cv-00495
                                                                                                             APPENDIX - Page 4938
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 78 of 200 PAGEID #: 4973




                         IN THE COURT OF COMMON PLEAS
                              BUTLER COUNTY, OHIO                           ·r
                                                                            ,\ .-. R
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                                                                                       .:.. :..:.;u

                                                                      ClNuY CA~?ENTE R
                                                                      CLERK O F COURTS
   STATE OF OHIO,

               Plaintiff,                      CASE No. CR 1982 12-0614

    -vs-

  VON CLARK DAVIS                              Judge Nastoff

               Defendant



                                  JOURNAL ENTRY -

              On motion of Von Clark Davis a nd for good cau se s h own , it is

  hereby ORDERED that the motion for a ppoint m ent of counsel is GRANTED.

  The Court ORDERS Assistant Sta te Public Defe nder Ra nda ll L. Po r ter and

  Attorney Melynda Cook-Reich a re here by a ppointed for purpose s o f a ppeal .




                                                                VON CLARK DAVIS v. WARDEN
                                                                     CASE NO. 2:16-cv-00495
                                                                      APPENDIX - Page 4939
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 79 of 200 PAGEID #: 4974



                 VII. MONT+tL.Y LIABlUTIESIOTHER EXPENSES                                                   VIII. GRANDTOTALS
: 1ype of uabiliiY                               I         Amount                 I
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                                                                                      lndigency Form, you will be assessed a ·non-refundable
    Loans                                                  ~                          $25.00 application fee unless waived or reduced oy the
    Taxes Owed                                                           I            court. If assessed, the iee is to be paid to the clerk of courts
                                                                         I
    Otller                                                                            within seven (7) days of submitting this form to the court, the
                                                                                      public defender, your appointed counsel or any other party
    .E. LIAB IL ITIES .& OTHER EXPENSE                               0                who will make a determination regarding your indigency.
                                                       IX. AFFIDAVTTDF INDIGENCY

      I, _ _ _ _ _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ (affiant) being duly swam, say:

      1.        I am financially unable.to retain .private counsei without substantial hardship to me or my family.
      2.        I understand that I must inform the public defender or appointed attorney if my financial situation should
                change before the disposition of the case(s) for which representation is being provided.
                                                                         .                         .
      3. I understand that if it is determined by the county, or by the Court, that legal representation sho uld not
         have been provided, I may be required to reimburse the county fqr .t he costs of representation
                provided. Any action filed by the county to collect legal fees hereunder must be brought within two
                years form the last date legal representation was provided.                    ·




                                                                                       Title           '

                                                                    X. JUDGE CERilFICATION

                      I hereby certify that above-noted applicant is unable to fill out and/or sign this financial disclosure/
                 affidavit for the following reason: - - - - - - - - - -- - - - -- -- -- - - - - -

                 1 have determined that the applicant meets the crite ria for receiving court appointed counse l.


                                                                                        Judge's Signature                            Date
    OPD-206R rev. 9/2005




                                                                                                                VON CLARK DAVIS v. WARDEN
                                                                                                                     CASE NO. 2:16-cv-00495
                                                                                                                      APPENDIX - Page 4940
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                                          'FINANCIAL:DISCLOSUREIAFFIO;c>.VJT .:OF:INDIGENCY
                                ($25.00·aoolicationiee·mav be assessed--see·notice on reverse side)


I      v&ft.
    Name/Aponcant


1 Mailing Adaress
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I ().~ - ~<kJoy;,\Q»n ~m,~Q
                                                                                                                                j Message Pnane \Within 48 nours)
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                                                      IL DT+fER'PERSONSLIVING.IN+IOUSEHOlD                                                                                                          ;
1   Name                                  .D.O.B                Retanonshtp      · Name                                          ll.O.B                                  Retatlonsnip
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                                                                                                         A TOTAL 'INCOME'·                    -


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                                                                            Total Income- Allowable Expenses                    =Adjusted Total Income
                                                                            ~i . -- A. TOTAL INCOME. ;:... :~:':' ·:-- : J~.:.:           :S-~:;,~'i.'c            :}P - ---- - ~:__ _·.
                                                                            5J;:~:B::EXPENSES~~§'~J'~~~"'"'":. :c"4~>·:~·-~- ~:~~~e.i::'i-~"f, ~"'
     Medical .& Associated Costs
     Of Caring tor Infirm Family
     Members
                                                                            ~r::~<:tt::~1~s~:8 ~8~!C1~c~~El~; -t~~~~;sa                                                      -,. ·;:- -
l.s. EXPENSES _..
                                                                  VI. ASSET INFORMATION
     Tvoe of Asset                                 Describe I Length of Ownership I Make. Model, Year (where ap_plicable)                              I           Estimated V alue
     Real Estate I Home                    Price:$                  Date Purchased:                          Arnt Owed:$
     Stocks I Bonds I CO's                                                                                                                                                   I '
     Automobiles                                                                                                                                                         I
     Trucks I Boats I Motorcycles                                                                                     -·
                                                                                                                                                                     I            I          ; ··
I Other Valuable Property                                                                                                                                          I I                       /
I Cash on Hand                                                                                                                                .                    I ./. /
     Money Owed t o Applicant                                                                                                                                      '----7
    j Other
                                                                                                                                                                     'J
                                                                                                                                                                        I
     Checking Acct (Bank I Acct #)
    j Savings!MM Acct. (Bank I Accl #)                                                             ,,,   -


                                    --·                                                          I D. TOTAL ASSETS ;•:                            ·-
                                                                                                                                                           -$ : ~ ~,(it):· ·· .            :; ...


                                                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                                                       CASE NO. 2:16-cv-00495
                                                                                                                        APPENDIX - Page 4941
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 01/25/ 2010        13 : 42       53 bLI1 fi3!:Jl                          LAUHt:.NGt:. KUfvlt-'- A I I Y




                                           IN THE COURT OF COMMON PLEAS
                                                BUTLER COUl'fTY, OHIO

       STATE OF OHIO,

                Appellee,                            .     ,-tl:-t~~ ;:;   - Case No. CR 1982 12-0614
                  I
                                           ~\.,ijfBt ~UP."f'bN ·~loTi~                     J     1




      vs.       .       i     ,              .      J~" ~ 6 ~~\U
      VON       CLARK ~AVIS,                             'l CAt ENt ER      Judge Daniel Andrew NastoO'
                                                    C\ND     f QURiS
                Appellant.                          CLERK 0           •
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                                DEFENDANT'S MOTION FOR APPOINTMENT
                            AND MOTION TO ALLOW APPEARANCE PRO HAC VICE


                Defendant-Appellant Von Clark Davis, by and through counsel, requests the Court to

      appoint Laurence Komp (Rule 20 Appell~te Qualified), Alan Freedman (to appear pro hac vice
                                                                 I
                        '                                        :
      and then will be declared Rule 20 Qualifi¥). and John Parker (Rule 20 Trial and Appellate
                              I                                  I                               '
      Qualified), and to represent him on his appeal. Mr. Freedman has been informed by the Rule 20

      Committee that he will be certified once !pointed. Attachment A. This motion is prompted by

      Mr. Davis ~d his family, who reached o t to Mr. Freedman regardi~g re~resenting Mr. Davis on

      appeal. M.r.' Komp confirmed that in a fa e to face meeting with Mr. Davis.
                                                                 i
                Further, the motion seeks formaliZed appointment to allow counsel to receive some

      compensation during their representation of Mr. Davis during this appeal. Mr. Freedman will

      not request compensation for his work on th.e case. Denial of this motion will not cause counsel

      to abandon their client, they still have an ~ttomey client relationship and obligation they will

      fulfilL
                                                                 I
                              .                                  I

                Laurence Komp is Rule 20 Appell~te Qualified, maintai.ns an active Ohio license. and is

      in good standing. Attachment B. Mr. Kobp has extensive appellate capital practice in both state




                                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                                          CASE NO. 2:16-cv-00495
                                                                                                           APPENDIX - Page 4942
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                                                                   L AUR~NC~   KUM~ -   AI IY




                    :                                  I
      and federal ¢ourt in Ohio. See Moore v. }#itchell, 531 F.Supp.2d 845 (S.D. Ohio 2008), Morales

      v.   Mltc~/1, ,S07 ~.3d 916 (6th Or. 2007)+ radshaw v. Stumpf, 545 U.S . 175 (2005), Davisv.
      Coyle, 475 F.3d 761 (6th Cir. 2007), Davf v. Mitchell, 318 F.3d 682 (6th Cir. 2003). He has

      argued in the Twelfth Appellate District       mcapital post~conviction cases (see State V. Loza, 1997
      Ohio App. LEXIS 4574 (Ohio Ct. App., Butler County Oct. 13, 1.997)) and argued to the Ohio

      Supreme Court in a direct appeal of right in a capital case. State v. Scudder, 643 N.E.2d 524

      (Ohio 1994). Th~s Court recognized that ~ttomey Komp had "a long history of representing Mr.
                          '                            I

      Davis," and corrdctly assumed a long-staclding relationship and developed rapport with Mr.
                   .      i                            I                                    .
      Davis. 12/3/07 Pretrial p. 4.
                                         1
                                                       I                                :
               Ala~ Freedman has been informe~ by the Rule 20 Committee that he will declared
      qualified on~e appointed <Yn. a pro hac vic~ basis to rep~sent Mr. Davis. Attachment A. Mr.
                    :     i      I   .                 I
      Freedman hils th~ requisite appellate capifl practice in federal court 'i n Ohio. See Davis v.
                          .      I                     I
      Coyle, 475 F.3d 761 (6th Cir. 2007), Bradshaw v. Stumpf, 545 U .S. 175 (2005). Mr. Freedman

      has extensive capital appellate experience outside of Ohio. See e.g. Corcoran v. Levenhagen,

      2009 US LEXIS 74 79 (2009), Allen v. Buss, 558 F .3d 657 (7th Cir. 2009), Smith v. State, 877

      So. 2d 369 (Miss. 2004), Wright v. Walls, 288 F.3d 937 (7th Cit.· 2002), Roche v. Davis, 291

      F.3d 473 (7th Cir. 2002), People v. Hattety, 109 T11.2d 449 (1985). It is the basis ofthis
                    .                                  I



      experience that the Rule 20 Committee acbepted his qualifications pending tllis Court's

      appoint:nlen~ on ~pro hac vice basis. Alhment A.                  :   .

              Furt~er.,
                   :
                        al> Mr. Ko~p, Mr. Freed~ has a long-standing rehitio~hip with Mr. Davis.
                                .             i                             .
      On the basi~ of t.J:#s experience and this pt~vious relationship, Mr. Freedman should be pennitted

      to be   admi~ed.pr~ hac vice to represent l.I Davis in his capital
                                                                   . appeal.
                                                                                                1




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      1
       In an abundan.ce of caution and because Attorney Komp was not Rule 20 trial qualified. the Court den ied his
      appointment as trial counRe l. 12/3/07 Pretrial p. 12.


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                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                  APPENDIX - Page 4943
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  el /~ b/2~ l e   13:42         b 352e 7735l                        L AURENCE K01,1P- A TTY                  1-'AGI:.   ~4 / 08




                   John Parker is Rule 20 Trial and Appellate Qualified,. maintains an active Ohio license, is

         h1 good standing and maintains his law office in Ohio. Mr. Parker has extensive trial and

         appellate capital fractice in both state   an1 federal court. See State v. Andre Curlee, CR 417798,
         Cuyahoga Coun~ (acquitted of all charg~); State v. Jeffrey Braun,           CR 4~6324, Cuynhoga
         County (defendarlt sentenced to L WOP); k tate v. Aaron Gipson, Erie County Case No 2008 CR

         266 (Case    ~ndi~_g tri.at after Death Spec~cations Dis~ssed by Stat~); State v. Anthony Sowell,                    !        l



         Cuyaho'!"    +wni, ~o.  Case       CR 530885   ~twenty   two   oounts of cap.:U   A~gravated Murder, ca••
                                                                                                                                       !:
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         pendmg); State v. 1 Vernon Brown, 115 O~o St.3d 5.5 (death penalty vacated and remanded for
                                                        I
                       .                                I
         new trial); State v. Charles Ma.;r:well. Cas~ No. 2007-0755 (pending direct appeal in the Supreme

         Court of Ohio); Davis v. Mitchell, 318 F.3d 682 (6th Cir. 2003 ); two pending federal habeas

         petitions in U.S. D .C . N.D. Ohio, Jackson v. Houk, 07 CV 00880 and Brinkley v. Hou.k, 06 CV

         00110. Not only is Mr. Parker qualified, his appointment will satisfy Rule 20, Part II, Sec.
                       . .                              I
         (B)(l).       ;  :     .                       I.                            ;. .: .
                   Mr. Komp and Mr. Freedman pre110usly represented Mr. Da.vJS m hts federal

         proceedings- which culminated in the third sentendng bearing. Mr. Davis desires that the
                       I                                                              I      '
         previous.attbrneY: client relationship be          ommenced. .for the purposes ofthis appeal. .
                       '     I
                       I     '

         Appellant ~d A~pell~t's' family contact d his previo'us counsel, cotinse~ did not solicit this

         representation. Mr. Freedman seeks appo· ntment but will not request payment.

                   WHEREFORE, Mr. Davis respectfully requests the Court to put on an entry appointing

         Attorneys Freedrnao, Komp and Parker as his attorneys for the direct appeal to the Tweflth

         Appellate District.




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                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                CASE NO. 2:16-cv-00495
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                                                                Respectfully submitted.



                                                                Is/ Laurence E. Komp
                                                                Laurence E. Komp (0060142)
                                                                Attorney at Law
                                                                P.O. Box 1785
                                                                Manchester, Missouri 63011
                                                                636-207-7330 (Voice)
                                                                636-207-735 1 (Facsimile)
                                                                Iekomp@swbell.et

                                                                 COUNSEL FOR VON CLARK D AVIS

                                                  CERTIFiCATE OF SERVICE

                    Tcerrlfy a copy of the foregoing ~FENDANT'S MOTION ~OR1 APPOINTMENT
        AND        MO~ON TO ALLOW APPEA~CE PRO HAC VICE~ mailed regular U .S. Mail to
                    :   i     I                         I
        Daniel Eichel    and Michael A. Oster, .Tt. A~sistant Butler County Prosecuting Attorneys at the
                        · ·         ·                I                                              0
        Governmen~ S~ices Center, 315 High Street, Hamilton, Ohio            45011 on this the   -A day of
        January, 2010 .                     !                                           .
                                                            /s/ Laurence E. Komp
                                                            Laurence E. Komp
                                                            COUNSEL FOR VON CLARK DAVIS




                                                            4




                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                           CASE NO. 2:16-cv-00495
                                                                                            APPENDIX - Page 4945
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                                                          OFPICE OF ATTO:RNEY SERVICES
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   OUI!r JllStTCB                                                                                                                              Dll!BCTCil
   ll!OMAI J. :MO'ml.                                                                                                            !h;.TSJ\1'1 8, CHRISTOfF

   ]l.lmcs
   J'At.'t. 11. PJ~Ell~Q                                                                                                         Tal.WHO~ 814.887.93~
   liii'XI."YN LUNtiJIItG S'DI.A170N                                                                                              l'ACIIMit'll d14.31!7.!1~9
   ~t1111!1!111 O'C::ONNOn                                                                                               .._,.,,,llprRDCCoart.ahlo.!JGV
   TE!Uil:NCI O'Domft!U.
   fuoml Atol~ 1..\NZINQmt
   RQJtl\1' R.. CUP!'                                             December 14, 2009



              Alan M. Freedman
              Midwest Cmtcr for Justice, LTD
              831 Main Street
              Evanston, It 60202


              Re:         Application for Certification fur Appointment as Counsel for Indigent Defendants in
                          Capita.!. Cases

              Dear Mr. Freedman:

                      The llule 20 Commission haa reviewed your application requesting Rule 20 appellate
              certification in order 't(l allow you to represent defcndant-appellBllt Von Clark .Davis in Butler
              App. No. CA 209~10-263.

                     The Commission needs additional il1fb:rmAtion, Lmtil which it oannot approve your
              application. Your application will be approved, however, upon ycur submittlttg a copy of the
              judicial order(s) which demomtrate:

                    1. You have heen appointed to represent MJ:. Davis pro hac vice in this caae. See Rule 20
                          Part Il, Sec. B(2)(a),

                    l , The name of your appointed co-co\lll8el, $0 that tbe Commission can verify that co-
                        CO\UlSel ia an attorney who is Rule 20 certified and who also maintains a law o.ffioc in the
                          State of Ohio. See Rule 20, Part n, Sec. (B)(l).

              The copy of the judicial order(s) need not he certified. Please feet be to fax them to me at 614-
              3S7-51329, or mail them to me oleotrottica.Uy, tanJiny.white@ec.ohio.gov.




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                                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                                         CASE NO. 2:16-cv-00495
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                     b.:!bLtl 1 1 .:!~1




              Upon satisfaction of the above, and consistent with your pro hac vice status, you will be
      certified for this case only. Future applications fer certification will be considered on a case-by~
      case basts.
             If you have any questions, pleMe do oot hesitate to contact me at 614.387.9330.




      /tw




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                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                   CASE NO. 2:16-cv-00495
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                                                         OffiCE OF ATTORNEY SERVICES
                                                65 SOUTH FRON1' STREET, CotuM8US, OH 43215·3~31
CHIEF JUSTICE                                                                                                                             DIRECTOR
T'HOMI\S J. MOYER                                                                                                        SU!ili\N B. CHRISTOFF


jUSTICES
f'AOl. E. PF~lfm                                                                                                        TIH.I\Pl:ION1l614.387.9330

l!VF.L YN LU:>llJ8ERC: STRA'ITON
                                                                                                                         FACSIMIT.J! 614.387 .9329

MA UREI!N O'CONNOR                                                                                                    lmlY~~tm!S!lli!.~QA~
. TBkllf.NCEO'OONNl!l.l
JUD.ITH ANN LAN?.INGllR                                        January 19, 2010
ROBERT!<. CUPr




           Laurence .E. Komp
           P.O. Box 1785
           Manchester, MO 63011



               RE: Application for Certification for Appointment as Counsel for Indigent Defendants in
                   Capital Cases

           Dea1· Mr.. Komp:

                 111e Committee on the Appointment of Co1.1nsel for Indigent Defcndlltlts in C..'lpital Cases ("Rule
           20 Committee") considered your application for certification a.'l Appellate Counsel.

                  The Rule 20 Committee has certified you to accept appointments in capital cases as
           Appellate Counsel.

                   You may use this letter as verification o f your certification. Your certification is also ret1ected on
           the online "Statewide List of Rule 20 Certified Attorneys" at www.sconet.state.oh.us/AtJ:.Y.:
           Svcs/Rule20/R20 Attome,Y.Sesrch.asJ2.

                    Rule 20 continuing education standard..q require all certified att.omey~ to obtain 12 hours of
           specialized training in the defense of capital cases every two years to maintain their certification. An
           attorney's certification shall he revoked for failure to complete the specialized training requirement.

                  .Tfyou have any questions regarding Rule 20 , please contact me at                  6 1 4~387-9330   or email me at
           tanvny.white@sc.ohio.gov.




                                                                      \' b   jl




                                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                                       APPENDIX - Page 4948
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  01/ 25/ 2010     13: 42             5352077351                                         LAURENCE KOMP- ATTV                                             PAGE   01/118




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P.O. Box 1785
Manchester, MO 63011
(636) 207-7330
Fax Number (636) 207-7351
Email - lekomp@swbell.net         :                 ·
f AX TRA NS/V\ITIAL F ORM

                  To:   C~rk of Court, Butler'County Common Pllas                            From: Larry Komp
                  Name'.          I                                                          Date Sent 1/26/10
                  cc: :           i                                                                                                                                      i:
                  Phone:      ,
                  Fax: 51 3-88! ·3966
                                                                  l                          Number of Pages: 8



         Clerk of Court,                                          !
       Attached please find a motion for extension of time. The required rule information is as
follows:
       (1) The name of the Court - Butler County Common Pleas;
       {2) The captio n of the case - State of Ohio
       {3) The case number - Case No. CR ·1 982 12-0614
       (4) The assigned judge- Judge Da niel Andrew Nastoff;
       (5) The name, address, telephone number, fax number, Supreme Court registration number
and e-mail address of the attorney submitting the facsimile filing - Laurence Komp, P.O. Box 1785,
""a~chest~r, MO., 6301 1, (636)207-7~ho, (fax) (636)207-7351 , Ohio Bar 006014 2,
lekomp@swbell:net                              1
       (6) A description of the document b~ing filed - Defendant'~ Motion for Appointment and :
Motion to Allow !'PP~aranca :Pro Hac Vic~                                                           I
       (7) The date of transmission - 1/26/1 ~                                                    ·                                                                  i
       (8) The transmitting fax number - (636) 207-7351                                           ·1                                                                     ::
       (9) The ·n u~ber: of pages transmitted, jincluding the cover page - Eight (8).             ··
                                                                  i
If I can be of further assistance, do not hesit~te to contact me.


CONFIDENTIALITY NO TICE: THIS FACSlMll..E IS A CONFIDENTIA L COMMUNICATION FROM LAURENCE E. KOMP
ATTORNEY A T LAW AND MAY BE SUBJECT TO A TIORNEY -CLIENT PRIVILEGE. The information contained in this
communication, an.d any attachments thereto, is privileged and confidential and intend ed solely for use by the addressee(s). Any other
use. disseroi.natioo, or copying of this facsimile communication is ~trictly prohibited and is a tortious interference with our confidential
business relationships. Tf this was erroneously sent to you, plea.9e notify us immediately ar (636) 207-7330 and pennanently delete the
orig inal or any prioted copi e~ of this communication.



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                                                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                                                            CASE NO. 2:16-cv-00495
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  ,----- ·                                        -                                                                                                "4"
                                  REQU EST FOR COURT PAID EXPERTS AND/OR EXPENSES                                                                    ~~/.\
                                                                                ... n
                                                                            . ~.:.. :.J
    In t he       Common EJeas                                                          Court of             Butler County                                     , Ohi o.
                                                       ,,
                                                            I f.! !    ?7 I"'1I ' ?: N)
    Plaintiff:      State of Ohio                                                                                 CR1983 - 12-0614
                                                                                                       Case No.
                                                                                                  ,,
                                                        I              ;   .'           I

                                                            · 1•      :~:. L ., 1-·.    }   '!.        Attorney(s) for the Defendant/Party Represented:
    v.
              Von Clark Davis
                                                       · r~ ,. c:- em ~n :-
                                                                                                            Me lynda Cook
    Defendant/Party Represented

    In re:       / bJit( Vi( Ot/ J.r.--;;D        €'ri/'tJ,Ct                                               Randall Porter


                                                                                   CHARGES
              OFFENSE/CHARGE/MATTER                                                                          ORC/CITY CODE              DEGREE             DISPOSIT ION
    1.)   Agg. Murder                                                                                       2903.01                 F                    Trial-G
    2.)
    3.)
    ·ust only the three most serious charges beginning with the one ofgreatest severity and continuing in descending orrfer.
                                                                           JUDGMENT ENTRY


          The Court finds that the following experts and/or expenses were ordered for use in the case of an indigent
    person. that all rules and standards of the Ohio Public Defender Commission and State Public Defender have been
    met, and that an Affidavit of lndigency/Financial Disclosure Form for the above referenced person has been sent to the
    Office of the Ohio Public Defender, or is attached to this document.

             IT IS THEREFORE ORDERED that the expert fees and/or expenses attached are hereby approved in the
                                  c; Z · ()()         It ;, furthec onJeced ~ cert;foed/
    amount of $       17, 8
    Aud;toc foe payment                                                                                                                                     lA
                                                                                                                                            e Court to the County



               Nastoff
    Judge's Name (type or print)
                                                                                                              ~
                                                                                                       J~e's Sigrf;lture
                                                                                                                                                  1     /s· '/()
                                                                                                                                                              Date
                                        COUNTY AUDITO~.CE~ATION
         The County Auditor in executing this certificate atte=-ro me accuracy of the figures contained herein. A
    subsequent audit by the Ohio Public Defender Commission and/or Auditor of State that reveals unallowable or
    excessive costs may result in future adjustments against reimbursement or repayment of audit exceptions to the Ohio
    Public Defender.

    PAYEE                                                                   TAXID                          WARRANT NO.       WARRANT DATE                AMOUNT
   Alliance Physicians                           Inc            311175717                                                                             4 1R1 A.1
  Dr. Robert Smith                                              212 u              l935
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    (If necessary, continue on separate sheet.)
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                                                                                                                                    TOTAL        -• 7
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    County Number
                                                                                                       County Auditor's Signature
  OPD-209 (1/00)




                                                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                                                              CASE NO. 2:16-cv-00495
                                                                                                                               APPENDIX - Page 4950
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 90 of 200 PAGEID #: 4985




       -·For life:
   The Wallace-Kettering                                                                  October 27,2008
   Neuroscience Institute
    Kettering Health Network--

                Mr. Randall Porter, J.D.
                8 E. Long Street
                Suite 1100
                Cohunbus, Ohio 43215

                Re:     State of Ohio v. Von Clark Davis,
                        Invoice for professional services

                Mr. Porter:

               At the request of defense counsel and though court appointment, I conducted a
               neuropsychological evaluation of Mr. Von Clark Davis on 10/16-17/2008. A summary of
               charges to date pertaining to this service appears below.


                Date             Item                                                  Time (hr.)    Charge
                9- 1-2008        Record Review                                            1.5       $405.00
                9-2-2008         Record Review                                            1.5       $405.00
                10-16-2008       Travel to/from Butler County Jail                        1.5       $405.00
                10-16-2008       Mileage (76 miles@ .42 cents/mile)                                 $31.92
                10-16-2008       Clinical Interview, Neuropsychological Evaluation        5.5       $1485.00
                10-17-2008       Travel to/from Butler County Jail                        1.5       $405.00
                10-17-2008       Mileage (76 miles@ .42 cents/mile)                                 $31 .92
                10-17-2008       Clinical Interview, Neuropsychological Evaluation        3.0       $810.00
                10-17-2008       Scoring of Protocols/Interpretation                      1.0       $270.00
                10-23-2008       Conference Call                                           .5       $135.00
                                                                                                    $4383.84




  3533 Southern Boulevard
  Suite 5200
  Kettering, Ohio 45429
  937·395-8002
  www.w kni.org




                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                          CASE NO. 2:16-cv-00495
                                                                                           APPENDIX - Page 4951
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 91 of 200 PAGEID #: 4986




           The balance can be remitted to "Alliance Physicians, Inc." and sent to the attention of Jan
           Hartley, The Wallace-Kettering Neuroscience Institute, 3533 Southern Boulevard, Suite
           5200, Kettering, Ohio, 45429,

           Sincerely,


           ~~A~~~~lc.i
           Nicholas A. Doninger, Ph.D., ABPP-CN



           Cc: Dorian Hall




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                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 4952
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 92 of 200 PAGEID #: 4987


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                                                                  APR 0:3,2008                         * Filed Under Sea'i *
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                                              IN THE COURT OF COMMON PLEAS
                                                                                                                                       II
                                                   BUTLER COUNTY, OHIO                                                                 I
                                                                                                                                       i
                      STATE OF OIDO,
                                                                                                                                       I
                             Plaintiff,                                               Case No. CR 1983-12-0614                         l
                      vs.                                                                                                              I
                      VON CLARK DAVIS                                                 Judge Daniel Andrew Nastoff
                                                                                                                                       I
                             Defendant.
                                                                                                                                       I
                                                                                                                                       II
                                                                                                                                       i
                                                    ENTRY UNDER SEAL                                                                   I

                        ENTRY GRANTING DEFENDANT'S MOTION AND MEMORANDUM FOR
                            THE APPROPRIATION OF FUNDS FORA NEUROPSYCHOLOGIST


                                   The Court having received a Motion through Defendant's Counsels for the                             I
                                                                                                                                       Ir·
                     Appropriation of Funds for Mental Health specialist, specifically Dr. Nicholas A.

                     Doninger, Ph; D., a Clinical Neuropsychologist, and after having held an Ex Parte

                     Hearing on such motion on March 18, 2008, the Court hereby finds that the Defense has

                     made a prima facie showing for the necessity for such expert and finds that such expert

                     is reasonable and necessary for the investigation and preparation to the Defendant for

                     the Mitigation Trial in this case. Therefore, for Good Cause Shown, the Court hereby

                     GRANTS said motion.                                                   .   £};!.
                                                                                   vt_'fo
                            WHEREFORE, the Court grants the Defendant $ 8.100.00 for expert services for
epper, Pagan,
ook, Ltd.            Dr. Doninger in this matter to be billed at an hourly rate of $270 for out of court time.
larncys ar Law
01 rltal Avenue
ddletown. OH 45044
>ne: 513.424.1823
X: Sl3.424.3135




                                                                                               VON CLARK DAVIS v. WARDEN
                                                                                                    CASE NO. 2:16-cv-00495
                                                                                                     APPENDIX - Page 4953
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 93 of 200 PAGEID #: 4988




                       The Court further finds that in the event testimony is deemed needed, that the Defense

                       may request additional funds for such servi,ces as needed.




                       Entry prepared by Melynda Cook-Reich




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tepper, Pagan,
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.ttomeys at Law
SOl FlnlAIICIIUO
liddletown. OH 4'044
 lOQO: 513.424 .1823
 <\X: 513.424.3135



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                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                         CASE NO. 2:16-cv-00495
                                                                                          APPENDIX - Page 4954
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 94 of 200 PAGEID #: 4989




       Robert L. Smith, Ph.D.
       Clinical Psychologist I Addiction Specialist
                                                                                               INVOICE NO. 001840

               To:                    Randall Porter
                                      Office of the Ohio Public Defender
                                      250 E. Broad St., Suite 1400
                                      Columbus, Ohio 43215

               From:                  Dr. Robert L. Smith

               Date:                  March 26, 2009

               RE:                    Von Clark Davis

              Amount Due:             $2,375.00
                                      Activity

              03/10/2009             Review of Records                                                    1.0
              03/20/2009             Phone Conference with Attorneys                                      1.0
              03/23/2009             Travel to Ohio State Penitentiary                                    1.5
                                     Diagnostic Interview- Von Clark Davis                                4.0
                                     Substance Abuse Screens                                              0.5
                                     Travel to Westlake, Ohio                                             1.5



              9.5 Hours @ $250.00 = $2,375.00




              Please Make Payment To:                  Dr. Robert L. Smith                                              r-
                                                       31470 St. Andrews
                                                       Westlake , Ohio 44145




                         /?



                                 20525 Center Ridge Road , Suite 370 Rocky River, Ohio 44116
                                   (440) 333.3706 Fax (440) 892 .151 3 RLS61976@aol.com




                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                               CASE NO. 2:16-cv-00495
                                                                                                APPENDIX - Page 4955
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 95 of 200 PAGEID #: 4990




       Robert L. Smith, Ph.D.
       Clinical Psychol,ogist I Addiction Specialist
                                                                                               INVOICE NO . 001852

              To:                     Randall Porter
                                      Office of the Ohio Public Defender
                                      250 E. Broad St., Suite 1400
                                      Columbus, Ohio 43215

              From:                  Dr. Robert L. Smith

              Date:                  April 20, 2009

              RE:                    Von Clark Davis

              Amount Due:            $1,750.00
                                     Activity

              04/07/2009             Travel to Ohio State Penitentiary                                     1.5
                                     Diagnostic Interview- Von Clark Davis                                 4.0
                                     Travel to Westlake, Ohio                                              1.5



             7 Hours@ $250.00        =$1 ,750.00

                                                                                                                       I

             Please Make Payment To:                   Dr. Robert L. Smith
                                                       31470 St. Andrews
                                                                                                                       I
                                                                                                                       1-

                                                       Westlake, Ohio 44145

                                                                                                                       r


                                 20525 Center Ridge Road. Suite 370 Rocky River, Ohio 441 16
                                   (440) J33.3706 F..x (440) 892.1513 RLS61976@aol.com




                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                              CASE NO. 2:16-cv-00495
                                                                                               APPENDIX - Page 4956
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 96 of 200 PAGEID #: 4991




         ---
         Robert L. Smith, Ph.D.
         Clinical Psychologist I Addiction Specialist
                                                                                                Invoice No. 5598     II
                                                             Invoice                                                 i

              To:                     Randall Porter
                                      Office of the Ohio Public Defender
                                                                                                                     I
                                      250 E. Broad St., Suite 1400
                                                                                                                     I!
                                      Columbus, Ohio 4321 5

               From:                  Dr. Robert L. Smith

               Date:                  May 28, 2009                                                                   II
               RE:                    Von Clark Davis

               Amount Due:            $7,084.23
                                      Activity                                                                       I
                                                                                                            4.0      f
               04/28/2009             Review of Records
                                      Review of Records                                                     4.0
               05/01/2009
                                      Travel to Hamilton, Ohio                                              4.0
               05/02/2009
                                      Interview of Patrick Rot undo                                         1.0
               05/03/2009
                                      Interview of Elliot Davis                                             1.0
                                      Interview of Charles Tipton                                           2.5
                                      Interview of Alluster Tipton                                          1.0
                                      Interview of Carol Smith                                              1.0
                                      Interview of Victor Davis                                             1.0
                                      Meeting with Attorneys                                                3.0
               05/04/2009
                                      Travel to Cleveland, Ohio                                             4.0
                                      Power Point Presentation                                              1.0
               05/10/2009


               27.5 Hours@ $250.00 = $6,875.00
               Holiday Inn= $209.23
               Total= $7,084.23




               Please Make Payment To:                   Dr. Robert L. Smith
                                                         31470 St. Andrews
                                                         Westlake, Ohio 4414 5




                                  20525 Center Ridge Road, Suite 370 Rocky River, Ohio 441 16
                                    (440) 333.3706 Fax (440) 892 .1513 RLS61976@aol.com




                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                            CASE NO. 2:16-cv-00495
                                                                                             APPENDIX - Page 4957
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 97 of 200 PAGEID #: 4992




      'Robert L. Smith, Ph.D.
       Clinical Psychologist I Addiction Specialist
                                                                                              INVOICE NO. 074916

              To:                    Randal Porter
                                     Office of the Ohio Public Defender
                                     250 E. Broad Street Suite 1400
                                     Columbus, Ohio 43215

              From:                  Dr. Robert L. Smith
                                     Tax ID XXX-XX-XXXX

              Date:                  September 15, 2009

              RE:                    Von Clark Davis

             Amount Due:             $4,237.24
                                     Activity

             09/03/2009              Phone Conference with Dorian Hall                                   0.5
             09/04/2009              Review & Finalization of PowerPoint Presentation                    1.0
             09/05/2009              Review of Documents                                                 1.5
             09/07/2009              Review of Documents                                                 0.5
             09/09/2009              Travel to Hamilton, Ohio                                            4.0
                                     Meeting with Attorneys                                              1.0
             09/10/2009              Court Time and Testimony                                            4.0
                                     Travel to Westlake, Ohio                                            4.0


             16.5 Hours@ 250.00 = $4,125.00
             Courtyard Marriott= $112.24
             Total= $4,237.24

                                                                                                                        f
                                                                                                                        t
             Please Make Payment To:                        Dr. Robert L. Smith
                                                            31470 St. Andrews
                                                            Westlake, Ohio 44145




                                          ..      .. · ..
                                                  ·




                                20525 Center Ridge Road, Suite 370 Rocky River, Ohio 4411 6
                                  (440) 3:,3.3706 Fax (440) 692.1513 RLS61976@aol.com




                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                               CASE NO. 2:16-cv-00495
                                                                                                APPENDIX - Page 4958
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 98 of 200 PAGEID #: 4993




               .,...,
          COURTYARD.                             Courtyard by Marriott             1 Riverfront Plaza
                                                 Hamilton                          Hamill on. Oh 45011
            ,\\arnott                                                              T 513.896.6200




        09Sep09                 Room Charge                                                 99.99
        09Sep09                 Occupancy Sales Tax                                          6.00
        09Sep09                 Sales Tax Other Room Tax                                     6.25
        10Sep09                 MasterCard                                                               112.24
                                  Card#: MC)()()()()()()()0704/XXXX
                                  Amount: 112. 24 Auth: 78105Z Signature on File
                                  This card was electronically swipad on 09Sep09
                                                                           Balance:          0.00




        Marriott Rewards Account# XXXXX7432. Your Marriott Rewards points/miles earned on your room rate w ill be
        credited to your account. For account activity: 801-468-4000 or MarriottRewards.com.
                                                                                                                                I
        Get all your hotel bills by email by updating your Marriott Rewards Preferences. Or, ask the Front Desk to email your
        bill for this stay. See "Internet Privacy Statement" on Marriott.com.


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                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                   APPENDIX - Page 4959
      Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 99 of 200 PAGEID #: 4994




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                                                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                                                  APPENDIX - Page 4960
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 100 of 200 PAGEID #: 4995



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 Wat£r I Sewer ITrash                                         i                        $25.0 0 APPLICATION r=:E NOTICE
  Credit Caros
                                                       I \ II                 By submitting this Financial Disclosure Form/Affidavit of
                                                                              lndigency Form. you will be assessed a non-refundable
  Loans
                                                          "----1      I       $25.00 apolicat1on fee unless waived or reduced by the
 Taxes Owed                                                           I
                                                                      I       court. If assessed, the i ee is to be pa1d to the cler1<. of courts
  Other
                                                                              within seven (7) days of submitting this form to the court. the
                                                                              public defender, your appointed counsel or any other party
 .E. LIABILITlES & OTHER EXPENSE                                  0           who will make a determination regarding your indigency.
                                                              :JX.~l=FJDAvrTtJF INDIGENCY                                                             i


     I, _ __ _ __ _ _ __ __ __ _ _ _ __ _ __ _ _(affiant) being duly sworn, say:

     1.       I am finandally unable t o retain .private.counsei without substantial hardship to me or my family.
     2 . I unders'. and that I must inform the public defender o r appointed attorney if my financial situation should
         change before the disposition of the case(s) for which representation is being p rovided.
     3.       I understand that if it is determined by the county, or by the Court, that legal representation should not
              have been provided, I may be required t o reimburse the county fo r the costs of represe ntation
              provided. Any actio n filed by the county·to collect legal fees hereunder must be brought within two
              years form the last date legal representation was provided.                     ·
                                         .                                      .
     4.       I understand that I am subject to criminal chargeS for providing false financ ial in formation in connection
              with the above application for legal representation pursu ant to Ohio Revised Code Sections 120.05
              and 2921 . 13.                                                                              ·
     5.       I hereby~···""'"""~~-e information I have provided on this fi ancial dis osure f orm is true to the best
              of my   llie      . <\                      :                             n       ')         .    .,                    .
                      c~             *;         .     .                                IJVV                l   UA/ v(.\          J 2.. - ~   '7
                      -..~          !! :        .      NDA c oOK               Affiant's Signature                              Date
                    ~.:.~•         o~/         r--\t:LY ·.   l e cl OhiO
                                                                .
              Notary FJ!'d~ej~'id1olakd!Jiy~~\~Ji~Jll~~nister oath:                         .        .  . .-...-
              Subscribed and diji¥<EworM~~i~~9111et'J~ordtng to law. by the above named ap-:h~ant th1 s ~day of
              y~ ~at tia~ t""              ,                                  , County of ~tQr.__.;
              and State of ...:
                            ~  :;.__ __ _ _


              Sign ure of p   on adm1mstenng oath                              Title             '




                    I hereby certify that above-noted applicant is unable to fill out and/or sign thi s fin ancial disclosu re/
              affidavit for the following reason: - - - - - -- - - - - - -- - - - -- - -- - - -- - -

              I have determined that the applicant meets the cnteria for receivin g court appointe d counsel.


                                                                               Judge's Signature                                 Date
 OP0-206R rev. 9/2005




                                                                                                               VON CLARK DAVIS v. WARDEN
                                                                                                                    CASE NO. 2:16-cv-00495
                                                                                                                     APPENDIX - Page 4961
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 101 of 200 PAGEID #: 4996




                              IN THE COURT OF COMMON PLEAS
                                   BUfLER COUNTY, OHIO

           STATE OF OHIO ,

                 Plaintiff,                             Case No. CR 1983-12-0614

           vs.


           VON CLARK DAVIS                              Judge Daniel Andrew Nastoff

                 Defendant.


                                  ENTRY UNDER SEAL

            ENTRY GRANTING DEFENDANT'S MOTION AND MEMORANDUM FOR
                   THE APPROPRIATION OF FUNDS FOR A PSYCHOLOGIST




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                                                             VON CLARK DAVIS v. WARDEN
                                                                  CASE NO. 2:16-cv-00495
                                                                   APPENDIX - Page 4962
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 102 of 200 PAGEID #: 4997

                                                      LAURENCE KOMP- ATTY                         PAGE          02/ 02
02/09/2010   09:31      6362077351




                               IN THE COURT OF COMMON PLEAS                           '
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                                                                                              FEP. 11 Pi1 l : 03
                                    BUTLER COUNTY, OfUO
                                                                                                         \...   I I   ~- f \

         STATE OF omo,                                                                ~,!JfLU\       C0Ui1T Y
                                                                                      ,. FPI\     nr:- rn       nns
                 AppeU.ee,                                 Case No. CR 198j 12-0614

         vs.

         VON CLARK DAVIS,                                  Judge Daniel Anclrew Rastoff

                 Appellant.


                                                ORDER


                 The Court being fully advised hereby GRANTS Defen.dant/Appellant's Motion

         for Appointment of Counsel and Motion to Allow Appearance Pro Hac Vice. Laurence

         Komp and John Parker, both Rule 20 Appellate Qualified, are appointed to represent Mr.

         Davis on appeal. Alan Freedman is also appointed and permjtted to appear pro hac vice

         i.n th1s matter.




                                                                         VON CLARK DAVIS v. WARDEN
                                                                              CASE NO. 2:16-cv-00495
                                                                               APPENDIX - Page 4963
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 103 of 200 PAGEID #: 4998


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        STATE OF OHIO,                                                                      CASE NO. CR 1983 12 0614


                Plaintiff,                                                                  Judge Andrew Nastoff

        -vs.-
                                                                                            ENTRY

        VON CLARK DAVIS,

                Defendant.



                The Court hereby orders that the entry granting Defendant's motion for the

        appropriation of funds for a psychologist shall be re-filed under seal. The entry was originally

        filed on April 3, 2008. A copy of this order shall be affixed to the front of the sealed envelope

        enclosing the entry.

                SO ORDERED.




                                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                                       CASE NO. 2:16-cv-00495
                                                                                                        APPENDIX - Page 4964
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 104 of 200 PAGEID #: 4999




          STATE OF OHIO,                                                CASE NO. CR 1983 12 0614


                  Plaintiff~                                            Judge Andrew Nastoff

          -vs.-
                                                                        ENTRY

          VON CLARK DAVIS,

                  Defendant.



                  The Court hereby orders that the entry granting Defendant's motion for the

          appropriation of funds for a neuro-psychologist shall be re-filed under seal. The entry was

          originally filed on April3, 2008. A copy of this order shall be affixed to the front of the

          sealed envelope enclosing the entry.

                  SO ORDERED.




                                                                             VON CLARK DAVIS v. WARDEN
                                                                                  CASE NO. 2:16-cv-00495
                                                                                   APPENDIX - Page 4965
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 105 of 200 PAGEID #: 5000




                                     STATE OF OHIO                              ~J CASE NO. CR1983-12-0614
                                                                           C"!• I .
                                                                               11
                                                                                       r·,
                                                      Plaintiff            '        ·sTATE oF oHio
                                                                                     COUNTY OF BUTLER
                                     vs.                           ,-'
                                                                                I    COURT OF COMMON PLEAS
                                                                                    .. ;-c

                                     VON CLARK DAVIS                                PRECIPE FOR DEATH WARRANT IN
                                                                                    STATE CASE
                                                      Defendant



                                     To th e Clerk:

                                        Issue fo r: ISSUING DEATH WARRANT

                                            Cindy Carpenter              Butler County Clerk of Cou rt
                                                                         315 High Street, 5 1h floor
                                                                         Hamilton, Ohio 45011

                                                     Issue Death Warrant on the above mentioned case

                                     Required on behalf of the Prosecution .

                                     ROBIN PIPER
                                     PROSECUTING ATTORNEY
                                     BUTLER COUNTY, OHIO

                                     MAO
                                     June 23,20 10




      OFFICE OF
PROSECUTING ATTOR NEY
 OUTLER COUNTY, OH IO

     ROB IN PIPER
PROSECUTING Al lOR NEY

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                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                  CASE NO. 2:16-cv-00495
                                                                                                   APPENDIX - Page 4966
                          Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 106 of 200 PAGEID #: 5001

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                                                                                                                                                                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                                                                                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                                                                                                                                                                       APPENDIX - Page 4967
      71b0 3,01 ,&q& 87b7 q2,,                                                                               1111111111111111111'
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                                                                                                      3. Service Type CERTIFIED MAIL

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                                                                                                      1. Article Addressed to:
                                                                                                           ANDREW NASTOFF Judge




                                                                                                                                                                         r~d
                                                                                                !          GOVERNMENT SERVICES CENTER




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                                                                                                           315 HIGh STREET 3RD FLOOR
                                                                                              J            HAMILTON, OH 45011
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                                                                                                     1. Article Addressed to:
 AKA CLAR K DAVIS

                                                                                                                                                                                                            l
              T W                                                                                          BUTLER COUNTY PROSECUTORS 0

  ATTORNE~El\.T
              ~
                                                                                                           315 HIGH ST, 11TH FLOOR
                   -
          NC HESTE '
                     JUL 0
  PO BOX ~7 8 ML 6301~1
                                                                                                           ATTN JASON PH1~A01~                                              JUt ,?-6 l9lOJ
                                                                                                           HAMILTON, OH

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 l"Jll.      -                   ND

                               CLERK
           CR 198      0614                                                                                                                                                '1. t:.   ~·;ru   ·   Ql:ii.SC    ·:~f1C      tAJ


PS Form ~11, January 2005       Do~ Re~m     Receipt
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                              Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 107 of 200 PAGEID #: 5002




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                                                                                                                                                                                                                                                    CASE NO. 2:16-cv-00495
                                                                                                                                                                                                                                                     APPENDIX - Page 4968
UNITED STATES POSTAL SERVICE                                                                             First Class Mail    UNITED STATES POSTAL SERVICE
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                       I.I •• I.I.I.II •••••• IJ ••• II.II •• II •••• II •• II •••••• II.I.I •••• lll                                     I.J •• J.J.I.II •••••• II ••• II.II •• II •••• ll •• li •••••• JI.I.I •••• III
                       CINDY CARPENTER                                                                                                    CINDY CARPENTER
                       BUTLER COUNTY CLERK OF COURTS                                                                                      BUTLER COUNTY CLERK OF COURTS
                       GOVERNMENT SERVICES CENTER .                                                                                       GOVERNMENT SERVICES CENTER
                       315 HIGH ST STE 550                                                                                                315 HIGH ST STE 550
                        HAMILTON OH 45011-6060                                                                                            HAMILTON OH 4501.1-6060




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UNITED STATES POSTAL SERVICE
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PRINT YOUR NAME, ADDRESS AND Z!P -.-...-... ... .-i ifr:                          f... :.-:;_. . ,.
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                        J.I •• I.J.I.II •••••• JI ••• II.II •• II •••• II •• II •••••• II.I.I •••• JII                                    J.I •• J.I.I.II ...... II ••• II.II •• II •••• II •• II •••••• II.I.I •••• III
                        CINDY CARPENTER                                                                                                   CINDY CARPENTER
                        BUTLER COUNTY CLERK OF COURTS                                                                                     BUTLER COUNTY CLERK OF COURTS
                        GOVERNMENT SERVICES CENTER                                                                                        GOVERNMENT SERVICES CENTER
                        315 HIGH ST STE 550                                                                                               315 HIGH ST STE 550
                        HAMILTON OH 45011-6060                                                                                            HAMILTON OH 45011-6060
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 108 of 200 PAGEID #: 5003




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                                                COUFd"'cfr!-~MON PLEAS
                                      2010 Jt]_UJSER               COUNTY. OHIO
                                                                 AH 1/:
        STATE OF OHIO                  _;!(-;_-_:            .                ~E   NO . CR1983- 12-0614
                                       •.                  ,:·,PEVTt·
                                      C,<...: ·....    .        ··u-~
                                                           • ·.:::    r   y
                        Plaintiff                                  il         UDGE ANDREW NASTOFF, PRESIDING
                                                       ·· :. - ouRr           L!DGE CHARLES PATER
                                                                              UDGE KEITH M . SPAETH

        vs.                                                                   NTRY ORDERING WRIT FOR EXECUTION
                                                                              F DEATH PENAL TV
        VON CLARK DAVIS

                       Defendant


                 On September 2 1, 2009. Von Clark Davis. was scntem:ed to Death as ORIJI::RLD in
        Count One of the Judgment of Convicti on Entry. pursuant to R.C.2929 .02(A} and 290:1-04. As
        such. it is ORDER ED that pursuant to R.C. 2949.21-.22. a Wril fin·1he Execuliyn o[!he Jealh
        penalrv shall issue_. dire<.:ted to the Sheriff. requiring that Von Clark Davis be <.:om·eycd ll> the
        custody of the Ohio Department or Rehabi litation and Correc tion and that Von Clark Da\ is bl'
        assigned to the appropriate institution and kept until the e:-.ccutiun of his sentcJJCl'. The l.kath
        sentence shall be executed by lethal injection in accordanc~: with the pro,·isions or R.C. 2949.22.
        within the walls of the state correctional institution designated by the Director of the
        Rehabilitation and Correction as the location for executions. and within an enclosure tube
        prepared fo r such purpose that shall exclude pub! ic vie•v. under the din:ction or the Ward.:n of
        such institution or. in his absence. a deputy warden. on the Nm-emhc r 9. 20 I 0. or date otherwis<:
        Jesignated by a court in the course of an~ appellate or post-eon,·iction pruceedings.

        APPROVED AS TO FORM:                                                  ENTER


        ROBIN N . PIPER
        PROSECUTING ATTORNEY
        BUTLER COUNTY,




                                                                              SPAETH , J.




                                                                                                                            I
                                                                                                                            I




                                                                                                                  ~
                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                   CASE NO. 2:16-cv-00495
                                                                                                    APPENDIX - Page 4969
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 109 of 200 PAGEID #: 5004




                            DEATH~NT
                                              2010JUl 2 r AHIO: 51
          THE STATE OF OHIO                   :INUY C A f?PU~ fER COMMON PLEAS COURT
                                                BUTLER COUN TY BUTLER COUNTY, OHIO
                          Vs.                  CLERK OF COURTS   . 315 HlGH STREET
                                                                      HAMIL TON, OHIO 45011
          VON CLARK DAVIS                                            CASE NO.: CR 1983 12 0614

                           TO THE SHERIFF OF BUTLER COUNTY, OHIO
                          705 HANOVER STREET, HAMILTON, OHIO 45011

          Whereas, the records of proceedings in the Common Pleas Court of Butler County, Ohio,
          reflect that this prisoner was sentenced to be executed and said punishment ordered to be
          inflicted within the walls ofthe Southern Ohio Correctional Facility.

          The Sheriff of Butler County, Ohio, is hereby commanded that within thirty days from
          receipt of this Death Warrant to convey said prisoner, in a private and secure manner, to
          the Southern Ohio Correctional Facility at Lucasville, Ohio, to be received by the
          Superintendent, and kept until the day designated for his execution.

           TO THE SUPERINTENDENT OR ASSOCIATE SUPERINTENDENT OF THE
                     SOUTHERN OHIO CORRECTIONAL FACILITY

          You are hereby commanded to take custody and to cause the condemned prisoner to be
          executed at the time and place named in this warrant.

          You are further commanded to make return to the C lerk of Courts, Butler County, Ohio,
          to report the manner of this execution in compliance with this waiTant issued by the
          Common Pleas Court, Butler County, Ohio.

                 PRISONER NAME:                        VON CLARK DAVIS
                 DATE OF SENTENCE:                     J UNE 4,1984
                 EXECUTION DATE:                       NOVEMBER 9, 2010
                 SHERIFF'S CONVEY:                     NO LATER THAN JULY 4, 1984


                                                       Given under my hand and the Seal of the
                                                       Court of Common Pleas, Butler County,
                                                       Ohio, Tuesday, July 20,2010.




                                                                           VON CLARK DAVIS v. WARDEN
                                                                                CASE NO. 2:16-cv-00495
                                                                                 APPENDIX - Page 4970
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 110 of 200 PAGEID #: 5005




             CINDY CARPENTER                                                        :   ~.~~I_U<OFCOURTS




                                                                                                 ~-It<)·
          Date;     July 20, 20 I 0                                   Case No.: CR 1983             12 ot>f4··
                                               STATE OF OHIO VS VON CLARK DAVIS


                       SHERIFF'S RETURN OF CONVEY
                    UPON ISSUANCE OF DEATH WARRANT
             C 0 M M 0 N PLEAS C 0 U R T, BUTLER C 0 UN T Y, 0 HI 0

          CONDEMNED PRISONER NAME: VON CLARK DAVIS

                                                                                                                               .           ~
              I.    Clerk's Receipt or Entry: The Clerk of Courts of Butler County Common Pleas Court has t'&~~e ~
                    Judgment Conviction Entry ordering the condemned prisoner to be conveyed to the Southenme ~rred~Bn
                    Facility and executed at the time and place named in this Death Warrant.              :::..ooot ~ 5.1
                                                                                                                ::xr- ,..
                                                                                                               rea~~"~
                                                                                                                .., >
                    Sentencing Entry and Issuance of Death Warrant verified by: =-~~~~~~~..J~k..,.~""~"-'w1
                                                                               Clerk of Courts o  rr> :X
                                                                                                                   c::         :z          ·as
              2.   Sberlff's Receipt: The Butler County Sheriff, has received on this day the certified copy ofiQ ~ent~
                   Conviction Entry and Death Warrant to Convey the Prisoner to the Southern Ohio CorrectiorGA'cilli;=                      "!'!
                                                                                                                     ,. .. ,                c:o
                                                                                                                     c::-,     ,-            t-
                                                                        .j    J1   ~A . ..,IJ .c' 5a             S~•~ ;;~~ Hf!=
                   Certification ofRe eipt:        Lr>LD4!2f44JPA / U·                                   L)           ~·~g.,                 N
                                                                                                                      ~~~
                                                  Deputy Sheriff
                                                                                                                      .. ,_.                 ~


             3.    Certification of Convey by Sheriff: The Southern Ohio Correction Facility has taken custod~--;!;~
                   Prisoner and received the certified copy of the Judgment Conviction Entry and Death Warrant t~eo~~                          W
                                                                                                                        C/)        -··
                                                                                                                                   ("0::       ,.....
                                                                                                                                                  ..
                                                                             Date: _ _ _~---
                              Deputy Sheriff

                   ~!tid/ ,&s~                                               Date:· Q
                                                                                     f'      tf · C1 0/~
                                                                                           ..,      '1


                             SuptFiR&BRiiellt • (!/! f#d

             4.    Filing or Executed Convey Order and Cost by SberlfT: The Clerk of Courts of Butler County Common
                   Pleas Court has received on this day the properly executed return of this document and shall record the
                   Sheriff's costs for service and return of$43.30 upon the docket.

                   Sheriff return of Service               3.00
                   Mileage                               40.30                                                Clerk 'a Time s.... p Here
                   Total                                $43.30


                              RETURN AND FILE WITH THE CLERK OF COURT'S OFFICE




                                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                                       CASE NO. 2:16-cv-00495
                                                                                                        APPENDIX - Page 4971
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 111 of 200 PAGEID #: 5006




          SHERIFF'S COPY: (SERVED BY MONTY MAYER)                                 C000216863
          BUTLER COUNTY SHERIFF
          705 HANOVER STREET
          HAMIL TON, OH 45011



          Date:   July 21, 2010                           Case No.: CR 1983 12 0614
                                    STATE OF OHIO VS VON CLARK DAVIS


                          PERSONAL SERVICE BY SHERIFF
              C 0 U R T 0 F C 0 M M 0 N PLEAS, BUTLER C 0 UN T Y, 0 HI 0

          To the Butler County Sheriff: You are directed to serve the attached copy of a document of the
          Butler County Court of Common Pleas.

          Please serve upon the following party:

                  Name:           SOUTHERN OHIO CORRECTIONAL FACILITY
                                  LUCASVILLE, OH 45699




          CINDY CARPENTER
          Butler County Clerk of Courts




          By: Jody Whisman Miller
          Deputy Clerk




          GOVERNMENT SERVICES CENTER        e 315 HIGH STREET e SUITE 550 e HAMILTON, OHIO 45011-6016
                                      BUTLER COUNTY CLERK OF COURTS
                                              www. butlercountvclerk. org




                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
                                                                                     APPENDIX - Page 4972
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                     BUTLER COUNTY SHERIFF'S OFFICE
                         RETURN OF PERSONAL SERVICE
                 COURT OF COMMON PLEAS, BUTLER C 0 UNTY, OHIO


          STATE OF OHIO
                                                         CASE NUMBER: CR 1983 12 0614

          vs.
                                                                 DATE ISSUED: July 21, 2010
          VON CLARK DAVIS



          PARTY INFORMATION:
          Name: SOUTHERN OHIO CORRECTIONAL FACILITY
                LUCASVILLE, OH 45699


          SHERIFF'S INSTRUCTIONS: This document is required to be personally served upon the party
                                  named above.

          DOCUMENTED ATTEMPTS AT SERVICE:                        PERSONAL SERVICE:
               Date: _ _ _ _ _ _ _ _ _ _ __                      Signature: _ _ _ _ _ _ _ _ _ __
               Date: _ _ _ _ _ _ _ _ _ _ __
               Date: _ _ _ _ _ _ _ _ _ _ __

          PERFECTED SERVICE:                                     ALTERNATE SUBJECT SERVED:
               Date: _ _ _ _ __    Time: _ _ __                  Signature: _ _ _ _ _ _ _ _ _ __
               Deputy: _ _ _ _ _ _ _ _ _ __                      Relationship: _ _ _ _ _ _ _ _ __
               Badge Number: _ _ _ _ _ _ _ __


          FAILURE OF SERVICE:
                Reason for failure: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



          SHERIFF'S FEES:
                                                                            CIVIL DIVISION
                Mileage:-::-::------,----------
                Retum of Service: _ _ _ _ _ _ __                        DATA ENTRY OF FEES
                TOTAL FEES: _ _ _ _ _ _ _ __                          Initial: _ _ _ __
                                                                      Date:




                           File this document with Butler County Clerk of Courts




                                                                              VON CLARK DAVIS v. WARDEN
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                                                                                    APPENDIX - Page 4973
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                 Article Number




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                 CLERKS OFFICE            BUTLER          COUNTY. OHIO
                 65 SOUTH FRONT ST  8TH FLOOR
                 COLUMBUS, OH 43215



                                                  CINDY CARPENTER
                     CR 1983 12 0614
                                                  CLERK OF COURT~


               PS Form 3811, January 2005                      Receipt



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                                                                               VON CLARK DAVIS v. WARDEN
                                                                                    CASE NO. 2:16-cv-00495
                                                                                     APPENDIX - Page 4974
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 114 of 200 PAGEID #: 5009
              Article Number




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                                                                                 i



             :\KA CLARK DAVIS
             !\TTORNEY AT LAW                  JUL 2 7 ?010                     !'
              20 BOX 1785
             MANCHESTER,       MI   63011     CINDY CARPENTER
                                              CLERK OF COURTS

                 CR 1983 12 0614


               Form 3811, January 2005      Domestic   Receipt




                                                                 VON CLARK DAVIS v. WARDEN
                                                                      CASE NO. 2:16-cv-00495
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                         5352077351                         LAURENCE KDMP- ATTY                         PAGE   02/03
  09/23/2010   07:38



VJ                                 IN THE COURT OF COMMON PLEAS
                                        BUTLER COUNTY~ OIDO

        State of Ohio,
                                                      : Case No: CR198J..l.2-0614
               Plainti.ff-Appellee,

               vs.                                            Judge Andrew Nastoff

       Von Clark Davis,

               Defendants-Appellant.



                       APPELLANT'S MOTION FOR A STAY OF EXECUTION


               Von Clark Davis, by and through counsel. requests the Court for a stay of executi.on for

       the pendency of Appellant~s direct review. Capital defendants are .. entitled to have that review

       before payjng the ultimate penalty. The right of review is otherwise rendered utterly

       meaningless." McDonaldv. Missouri, 464 U.S. 1306-07 (1984) (Biackmun, J., Circuit Justice)

       (..It makes no sense to have the execution set on a date within the time specified for that review

       ... and before the review is completed.").

               After Appellant filed his merit brief with the Twelfth Appellate District, Appellant's

       execution was set for November 9, 2010. Appellant possesses an appeal of right to the Twelfth

       Appellate District as well as the Ohio Supreme Court. See Ohio Rev. Code§ 2929.05(A).

       Therefore, Appellant requests that this Court grant a stay of execution until the completion of his

       direct appeals as of right. Even though the execution date issued well after the Notice of Appeal

       and after briefing by the parties, Appellant is required to present this request to this Court

       pursuant to Twelfth Appellate Dist. Loc. R 8.




                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                       CASE NO. 2:16-cv-00495
                                                                                        APPENDIX - Page 4976
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                                                   LAURENCE KOMP- ATTY                 PAGE   03/03
 09/23/2010   07:38   6362077351




                                                      au     ce E. Komp (0060 '1-2)
                                                     Attorney at Law
                                                     P.O. Box 1785
                                                     Manchester, Missouri 63011
                                                     636·207 -7330 (Voice)
                                                     636-207-7351 (Facsimile)
                                                     lekomp@swbeH.net

                                                     John p_ Parker (0041243)
                                                     Attorney at Law
                                                     988 East 185th Street
                                                     Cleveland, Ohio 44119
                                                     216-881-0900

                                                     ~and-


                                                     ALAN M. FREEDMAN (PHV)
                                                     MIDWEST CENTER FOR WSTICE, LTD.
                                                     P.O. Box 6528
                                                     Evanston, filinois 6020 l
                                                     Phone: (847) 492-1563
                                                     Fax: (847) 492-1861

                                                     COUNSEL FOR VON CLARK DAVIS

                                   CERTIFICATE OF SERVICE

               I certify a copy oftbe foregoing APPELLANT'S MOTION FOR A STAY OF
       EXECUTION was mailed regular U.S. Mail to Daniel Eichel and Michael A Oster, Jr_
       Assistant Butler County Prosecuting Attorneys;. the Government Services , 315 High
       Street, Hamilton, Ohio 45011, on this the j(day        ·..   2010.




                                                                          VON CLARK DAVIS v. WARDEN
                                                                               CASE NO. 2:16-cv-00495
                                                                                APPENDIX - Page 4977
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 UtuYeV\.ce 5. KDVIA.:p
 AttOYV\.tkj Cit LlitW
 P.O. Box 1785
 Manchester, MO 63011
 (636) 207.7330
 Fax Number (636) 207·7351
 Email "lekomp@swbell.net
 FAX TRANSMITTAL FORM

                   To: Clerk Of Court, Butler County Court of Common Pleas From: Larry Komp
                   Name.:                                                  Date Sent 9/2311 0
                   CC:
                   Phone:                                                  Number ot Pages:3
                   Fax: 513-887-3966


          Clerk of Court,

       Attached please find a motion for extension of time to be filed in Appellate Case No. CA2009-
 10-263. The information required by rule is as follows:
       (1) Name of Court~ Butler County, Court of Common Pleas
       (2) Case Caption - State v. Davis
       (3) Case Number- CR1983 ..12...0614
       (4) Assigned Judge .. Judge Andrew Nastoff
       (5) Name, Address, phone number, fax number, Supreme Court registration number, and email
 address of attorney submitting fax filing - Laurence E. Komp, Attorney at Law, P.O. Box 1785,
 Manchester, Missouri 63011, 636 ..207·7330 (Voice), 636-207-7351 (Facsimile), Ohio Bar
 0060142, lekomP@swbell.net
       (6) Description of document - Appellant's Motion for Stay of Execution.
       (7) Date of transmission- 9/23/10
       (8) Transmitting fax number - 636-207..7351
       (9) Total Number of pages (including cover sheet) - 3

 If I can be of further assistance, do not hesitate to contact me.

                                                                 Sincerely,


 CONFIDENTIALITY NOTICE: TliiS FACSJMILE IS A CONFIDENTIAL COMMUNICATION FROM LAURENCE E. KOMP
 ATTORNEY AT LAW AND .MAY BE SUBJECT TO ATTORNEY-CLIENT PRIVILEGE. The information contained in this
 communication, and any attachments thereto, is privileged and eonfidemial and intended solely for use by the addres!lee(s). Any other
 use, dissemination, or copying of this facsimile communication is strictly prohibited and is a tonious interference with our confidential
 business relationships . .Iftbis was erroneously sent to you, please notifY us immediately at (636) 207-7330 and permanently delete the
 original or any printed copies of this communication.




                                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                                        CASE NO. 2:16-cv-00495
                                                                                                         APPENDIX - Page 4978
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                                .) \;\.)~~)~. \~~              COURT OF COMMON PLEAS
                                   \}· -                        BUTLER COUNTY, OHIO

                       STATE OF OHIO                                     *   Case Number: CR 1983 12 0614
                                                                         *
                                          Plaintiff,                     *   Judge Andrew Nastoff
                                                                         *
                       vs.                                               *   DECISION AND ENTRY
                                                                         *   DENYING DEFENDANT'S
                       VON CLARK DAVIS                                   *   MOTION FOR A STAY OF
                                                                         *   EXECUTION
                                                                         *
                                          Defendant.                     *
                                                                         *
                                                                *******************
                              This matter is before the Court on Defendant's motion for a stay of execution for the

                       pendency of his direct review. After due consideration, Defendant's motion is not well taken

                       and is DENIED.

                              SO ORDERED.




                       cc: Michael A. Oster, Jr., Assistant Prosecuting Attorney
                           Laurence E. Komp, Attorney for the Defendant


Judge Andrew Nastoff
 Common Pleas Court
 Butler County, Ohio




                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 4979
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                                 IN THJ! C~~ COMMON PLEAS
                                      BUTLER COUNTY, OHIO
                                    20 II OCT 2 I PX 12: 47
      STATE OF OHIO,                                             Case No. CR-1983-12-0614
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                                     BUTL r.~-· ..,,:?."/,Hi
             Plaintiff-RespondenlCLEF?i<l.CF c. ~.~u·.:.IYS Judge Nastoff
                                              '-'":' KJ
                     v.

      VON CLARK DAVIS,                                           CAPITAL CASE

             Defendant-Petitioner.


                 DEFENDANT-PETITIONER'S MOTION FOR LEAVE OF COURT
                              TO CONDUCT DISCOVERY


             Defendant-Petitioner Von Clark Davis, through counsel, moves this Court for leave to

      conduct discovery. Davis is concurrently filing a post-conviction petition, and intends to amend

      the petition to include all such potential claims for which he discovers a sufficient basis.

             For the reasons set forth in the attached memorandum, and to ensure Davis' rights to due

      process and a full and fair hearing on his meritorious claims, this Court should allow Davis to

      conduct the necessary discovery.

                                                                 Respectfully svb~itted,

                                                                     ~reA~
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                                                                 Erik P. Henry (0085155)
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                                      MEMORANDUM IN SUPPORT

          I.      INTRODUCTION

               On October 21, 2011, Petitioner Von Clark Davis files his post-conviction petition

      containing nine Grounds for Relief supported by fourteen exhibits. Davis has presented, through

      supporting affidavits and other documentary evidence, substantive grounds for relief in his

      petition. Because he has presented substantive grounds for relief, R.C. 2953.21(E) requires that

      this Court "proceed to a prompt hearing on the issues." See also State v. Milanovich (1975), 42

      Ohio St.2d 26, 50. In Ohio, "the courts assume that the sole purpose of discovery is to assist trial

      preparation." State ex rei. WH/0-TV-7 v. Lowe (1997), 77 Ohio St.3d 350, 354. Thus, because

      Davis' petition alleges substantive grounds for relief that entitle him to a hearing, he should be

      granted discovery to assist in preparing for the hearing. By granting this discovery motion, the

      Court will ensure that Davis is afforded due process, that he is not denied a full and fair hearing

      on his meritorious claims, and that the interests of justice are served.

         II.      DISCOVERY SOUGHT

               Discovery is required at this time to uncover the following relevant and material evidence

      that supports Davis' grounds for relief:

               A. Order that Davis' counsel be allowed to conduct depositions of Davis' trial defense
                  counsel, Melynda W. Cook-Reich and Randall L. Porter. (Claims 1-8)

               B. Order that Davis' counsel be allowed to conduct depositions of Davis' mitigation
                  specialists/investigators John Lee, Jessica Love and Angie Wiley. (Claims 1-5, 7)

               C. Order that Davis' counsel be permitted to conduct depositions of original trial counsel
                  Michael Shanks and John Garretson. (Claim 8)

               D. Order that Davis' counsel be permitted to conduct a deposition of Cynthia Mausser.
                  (Claim 3)

               E. Order that Davis' counsel be permitted to conduct a deposition of Dr. Bob Smith.
                  (Claim 4)



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                Davis requests that this Court establish a scheduling setting forth the deadlines by which

      the above discovery is to be completed. Davis suggests that depositions proceed within sixty

      days of this Court granting this motion.

         III.        ARGUMENT

                A.     This Court Should Allow Petitioner Davis to Conduct the Discovery Sought.

                The Ohio post-conviction statute is silent on the issue of discovery. Instead, the focus of

      R.C. 2953.21 is on the threshold burden that a petitioner must satisfy to be entitled to an

      evidentiary hearing. In the State of Ohio, a petitioner in a post-conviction proceeding has the

      initial burden of submitting evidence demonstrating to the trial court that a hearing is warranted

      on the constitutional violations alleged in the petition. State v. Kapper (1983), 5 Ohio St.3d 36;

      State v. Cole (1982), 2 Ohio St.3d 112, State v. Pankey (1981), 68 Ohio St.2d 58; State v.

      Jackson (1980), 64 Ohio St.2d 107.

                This documentation must consist of evidence dehors the record. State v. Milanovich

      (1975), 42 Ohio St.2d 46; State v. Mishelek (1975), 42 Ohio St. 140. Such evidence is usually in

      the form of affidavits or documents. The petitioner must submit these exhibits with the petition

      or face summary dismissal. Milanovich, 42 Ohio St.2d 46; R.C. 2953.21(D).

                The State, consistent with the Fourteenth Amendment's Due Process Clause, cannot

      place this initial evidentiary burden on a petitioner and then deny him a meaningful opportunity

      to meet that burden. To deny Davis the opportunity to meet his burden eviscerates his right to

      pursue post-conviction remedies. Davis has made a diligent effort to demonstrate why he needs

      such evidence and how he has been prejudiced by not receiving this material before his trial.

      However, Davis' Fourteenth Amendment due process rights will be effectively curtailed if he is

      now prohibited from conducting post-conviction discovery.




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              The majority of Davis' claims relate to the ineffectiveness of his trial counsel.         In

      reviewing these claims, this Court must "conduct an objective review of [counsel's]

      performance, measured for 'reasonableness under prevailing professional norms,' includes a

      context-dependent consideration of the challenged conduct as seen 'from counsel's perspective

      at the time.'" Wiggins v. Smith (2003), 539 U.S. 510, 523 (quoting Strickland v. Washington

      (1984), 466 U.S. 668, 688) (emphasis added); Connor v. McBride, 375 F.3d 643, 656 (7th Cir.

      2006) ("evaluated from counsel's perspective at that time"). The best source of evidence related

      to this time and context-dependent inquiry is the defense "team," and the members of the defense

      team at the time of trial. Defense counsel and the investigators/mitigation specialists would be in

      the best position to state why they did or did not do the things claimed in the post-conviction

      petition.

              Recently, Magistrate Judge Kemp from the United States District Court, Southern

      District of Ohio, recognized this assertion in granting depositions of trial counsel in a federal

      habeas case. See Opinion and Order at 10-11, Marvin G. Johnson v. David Bobby, No. 2:08-cv-

      55 (S.D. Ohio Sept. 30, 201 0) ("It is usually the case that information about what strategy

      defense attorneys formulated and what investigation was conducted to arrive at and implement

      that strategy is uniquely in possession of those defense attorneys and that is usually sufficient to

      establish good cause to depose trial counsel about their actions and omissions .... [D]epositions

      of Petitioner's trial attorneys are the best, if not the only, source of information about counsel's

      investigation, impressions, preparation, and strategic decisions.").    Indeed, the depositions of

      trial counsel will allow this Court to determine whether there exists a tactical reason for any

      omission or action, and, if so, whether the tactical basis offered by trial counsel was reasonable.




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             Davis should be allowed the opportunity to conduct the discovery he seeks because (1)

      post-conviction proceedings are civil in nature, and (2) northing in R.C. 2953.21 specifically

      addresses discovery in such a way as to take precedence over the civil rules governing discovery.

      Davis has submitted affidavits and documents demonstrating his grounds for relief; therefore,

      discovery should be granted.

             B.         Federal Standards Require Liberal Discovery

             In addressing the Habeas Rule 6 standard of "good cause" for discovery, the United

      States Supreme Court held that "[w]here specific allegations before the court show reason to

      believe that the petitioner may, if the facts are fully developed, be able to demonstrate that he

      is ... entitled to relief, it is the duty of the courts to provide the necessary facilities and

      procedures for an adequate inquiry." Bracy v. Gramley (1997), 520 U.S. 899, 908-09 (quoting

      Harris v. Nelson (1969), 394 U.S. 286, 300). The Court recognized that Bracy's claim was "only

      a theory at this point," but the Court also made clear that whether the petitioner ultimately

      prevails on the claim for which he requests discovery is not relevant to whether discovery should

      be granted. !d.

             Unlike Mr. Bracy, however, Petitioner Davis has offered evidence in support ofhis post-

      conviction claims-he is not positing a theory before this Court. In a case such as this, where the

      petitioner has already presented evidence in support of his claims-hence, the claims are not

      merely speculative-the trial court's granting of discovery is even more deserving. McDaniel v.

      United States District Court for the District ofNevada (9th Cir. 1997), 127 F.3d 886.

             Moreover, the United States Supreme Court has said that "[m]utual knowledge of all the

      relevant facts gathered by both parties is essential to proper litigation." Hickman v. Taylor

      (1947), 329 U.S. 495, 507. According to the Ohio Supreme Court, "[t]he purpose of the liberal




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      discovery policy contemplated by the Ohio Rules of Civil Procedure is the narrowing and

      sharpening of the issues to be litigated." State ex rei. Daggett v. Gessaman (1973), 34 Ohio

      St.2d 55, 56. 1 It was in that spirit that Civ. R. 26(B) was promulgated. The rule provides for a

      liberal discovery policy:

              Parties may obtain discovery regarding any matter, not privileged, which is
              relevant to the subject matter involved in the pending action, whether it relates to
              the claim or defense of the party seeking discovery or to the claim or defense of
              any other party, including the existence, description, nature, custody, condition
              and location of any books, documents, electronically stored information, or other
              tangible things and the identity and location of persons having knowledge of any
              discoverable matter. It is not ground for objection that the information sought will
              be inadmissible at the trial if the information sought appears reasonably calculated
              to lead to the discovery of admissible evidence.

      Civ. R. 26(B)(l). By permitting discovery, this Court will allow Davis to fairly present and exhaust

      the constitutional challenges to his judgment and death sentence in the state courts. This step is

      necessary should these claims be raised in federal court. Furthermore, the discovery sought is limited

      to the necessary information.     Thus, it will conserve judicial resources by focusing the issues

      presented in his post-conviction petition.

              C.      Petitioner Is Entitled to Conduct Discovery Because He Has Presented
                      Evidence and Materials Establishing Substantive Grounds for Relief.

              The evidentiary materials and affidavits submitted by Petitioner Davis with his petition

      are sufficient to establish, prima facie, substantive grounds for relief on his claims. Relevant

      documents and affidavits in support of the grounds for relief were submitted with his petition and

      are before this Court.

             Having met the threshold burden, the post-conviction statute affords Davis the immediate

      right to an evidentiary hearing on these grounds. R.C. 2953.2I(E); see also Milanovich, 42 Ohio



             Post-conviction actions are civil proceedings. Milanovich, 42 Ohio St.2d at 49. As such,
      the Ohio Rules of Civil Procedure apply. !d. at 52; State v. Nichols (1984), II Ohio St.3d 40,
      42-43.


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     St.2d at 51 (If the petition "states a substantive ground for relief and ... relies upon matters

     outside the record, the court should thus proceed to a prompt evidentiary hearing.").

               For this statutorily-mandated hearing to be useful, this Court should permit Davis to

     conduct the discovery he seeks. The necessary discovery sought will allow him to develop the

     relevant issues for the hearing, focus the proceedings, and conserve judicial resources. It will

     also give Davis the opportunity to more fully develop the facts establishing that he is entitled to

     relief.    The due process and fundamental fairness rights guaranteed by the United States

     Constitution's Fourteenth Amendment, and similar provisions in the Ohio Constitution, will be

     served, as will the purpose of Ohio's post-conviction statute.

               D.     Even If This Court Is Not Prepared to Grant a Hearing, Due Process and
                      Fundamental Fairness Require That This Court Permit Discovery.

               Davis has presented sufficient documents and evidentiary materials entitling him to a full

     evidentiary hearing and the discovery necessary to prepare for that hearing. But if this Court is

     not prepared to grant a hearing at this time, it should nonetheless permit Davis to conduct the

     necessary discovery sought so that he can gather additional evidence to support his claims and

     fully demonstrate that he is entitled to a hearing. Allowing discovery before granting Davis an

     evidentiary hearing conserves judicial resources, furthers the goals ofthe post-conviction statute,

     and ensures due process.

               The post-conviction statute places the burden on the petitioner to present documents and

     other evidentiary materials "containing sufficient operative facts to demonstrate [his] claim."

     State v. Smith (1986), 30 Ohio App.3d 138, 140. To meet this burden, Davis must have access to

     evidentiary materials that are in the hands of persons not likely to grant him access, e.g., the

     State. Refusing to permit Davis to conduct necessary discovery may effectively foreclose him

     from ever meeting the threshold burden placed on him by the statute. This result would deprive



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      Davis of his rights under the post-conviction statute and violate his due process rights under both

     the Ohio and federal constitutions.

               The need for liberal discovery in capital cases is especially acute because it helps to

     ensure the reliability in the proceedings and outcome-a particularly important concern where a

     death sentence is involved. The United States Supreme Court has repeatedly emphasized the

     need to ensure a heightened reliability of the outcome where a person's life is at stake. See, e.g.,

     Beck v. Alabama (1980), 447 U.S. 625, 637; Lockett v. Ohio (1978), 438 U.S. 586, 604;

      Woodson v. North Carolina (1976), 428 U.S. 280.

         IV.      CONCLUSION

               Petitioner Von Clark Davis has produced sufficient evidence dehors the record in the

     form of affidavits and other documents to support the grounds for relief contained in his

     Petitioner for Post-Conviction Relief.     Granting him discovery will ensure due process and

     fundamental fairness, conserve judicial resources, and serve the interests of justice.

               Therefore, Davis respectfully requests that this Court grant this Motion for Discovery.

     He further requests that this Court allow him leave to amend his petition to include additional

     constitutional claims identified after discovery is conducted.




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                                    CERTIFICATE OF SERVICE

             I hereby certify that a true copy of the foregoing Motion for Leave of Court to Conduct

     Discovery was forwarded by first-class, postage prepaid U.S. Mail to Michael T. Gmoser, Butler

     County Prosecuting Attorney, 315 High Street, 11th Floor, Hamilton, Ohio 45011, on this 21st

     day of October, 2011.



                                                        Kort Gatterdam


     050-384-296974




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      STATE OF OHIO,                     Mi\i:Y l:·· :... ~,J,::jjl:L No. CR-1983-12-0614
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             Plaintiff-Respondent,                           Judge Nastoff

                    v.

      VON CLARK DAVIS,                                       CAPITAL CASE

             Defendant-Petitioner.


                        DEFENDANT-PETITIONER'S MOTION FOR RECUSAL


             Defendant-Petitioner Von Clark Davis, through counsel, moves this Court to recuse itself

      from this case.    Reasons in support of this motion are more fully stated in the attached

      memorandum in support.

                                                             Respectfully submitted,


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                                         MEMORANDUM IN SUPPORT

                  On December 19, 2007, to comply with granting of a conditional writ of habeas corpus in

      Davis v. Coyle (6th Cir. 2007), 475 F.3d 761, this Court granted Defendant-Petitioner Von Clark

      Davis a new sentencing hearing. A resentencing hearing was conducted before this Court from

      September 8, 2009 through September 10, 2009. At the conclusion of the resentencing hearing,

      on September 10, 2009, this Court along with two other judges resentenced Davis to death. The

      sentencing opinion was filed on September 21, 2009.

                  On September 9, 2009, Davis' sister, Carol Smith, testified on Davis' behalf. Ms. Smith

      revealed that she has a son by the name of Lahray Thompson, and that Mr. Thompson had been

      convicted of aggravated murder in a capital case. (Tr. Vol. II, p.126). Following Ms. Smith's

      testimony, this Court disclosed that he prosecuted Mr. Thompson and argued to the jury that he

      should receive the death sentence. (Tr. Vol. II, p.131 ). In the concurrently filed Post-Conviction

      Petition, one of the grounds for relief is that Davis' trial counsel provided ineffective assistance

      for not seeking recusal of this Court. (See Sixth Ground for Relief).

                  "It is well settled that a criminal trial before a biased judge is fundamentally unfair and

      denies a defendant due process of law." State v. LaMar, 95 Ohio St.3d 181, 2002-0hio-2128,

      ~   34 (citing Rose v. Clark (1986), 478 U.S. 570, 577; Tumey v. Ohio (1927), 273 U.S. 510, 534).

      According to the Ohio Supreme Court, the removal of a judge is necessary "to avoid even an

      appearance of bias, prejudice, or impropriety, and to ensure the parties, their counsel, and the

      public the unquestioned neutrality of an impartial judge." In re Disqualification of Floyd, 101

      Ohio St.3d 1215, 2003-0hio-7354,         ~   10; see also State ex ref. Turner v. Marshall (1931), 123

      Ohio St. 586, 587 ("[I]t is of vital importance that the litigant believe that he will have a fair

      trial.").




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             Canon 3 of the Ohio Code of Judicial Conduct states generally that "a judge shall

      perform the duties of judicial office impartially and diligently." Furthermore, "[a] judge shall

      disqualify himself or herself in a proceeding in which the judge's impartiality might reasonably

      be questioned." Canon 3(E)(1).

             The post-conviction petition being filed concurrently with this motion contains a claim

      regarding whether defense counsel should have sought the recusal of this Court prior to

      conducting the penalty phase. The reasons why defense counsel were ineffective in not seeking

      recusal are set forth in the Sixth Ground for Relief of the post-conviction petition. (Sixth Ground

      and relevant attachments included herein). It would be unfair to have this Court now rule on

      whether that ground or any other grounds in the post-conviction petition should require a new

      penalty phase given the nature of the Sixth Ground.

             For these reasons, this Court's removal from this case is necessary "to avoid even an

      appearance of bias, prejudice, or impropriety, and to ensure the parties, their counsel, and the

      public the unquestioned neutrality of an impartial judge." In re Disqualification of Floyd, 101

      Ohio St.3d 1215, 2003-0hio-7354,     ~   10. Therefore, Davis, through counsel, respectfully asks

      this Court to recuse itself from this matter and ask the Chief Justice to appoint a new judge to

      rule upon the concurrently filed post-conviction petition.




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                                                            Respectfully submitted,



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                                                            COUNSEL FOR DEFENDANT-PETITIONER

                                       CERTIFICATE OF SERVICE

              I hereby certify that a true copy of the foregoing Motion for Recusal was forwarded by

      first-class, postage prepaid U.S. Mail to Michael T. Gmoser, Butler County Prosecuting

      Attorney, 3I5 High Street, II th Floor, Hamilton, Ohio 450 II, on this 2I st day of October, 20 II.


                                                                 0; ,JJL
                                                            Kart Gatterdam


      050-384-296792




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      SIXTH GROUND FOR RELIEF

          93.    Davis hereby incorporates by reference all previous paragraphs as if fully rewritten
      herein.

          94.     Davis' sentence is void and/or voidable because defense counsel provided ineffective
      assistance at the penalty phase and as a result, Davis was sentenced to death. Counsel knew that
      Judge Andrew Nastoff served as a prosecutor in the death penalty case of Davis' nephew, Lahray
      Thompson, and advocated for Mr. Thompson's death, yet counsel failed to seek the removal of
      Judge Nastoff. Counsel did not provide objectively reasonable assistance and Petitioner was
      prejudiced as a result of this failure. Strickland v. Washington (1984), 466 U.S. 668. Davis was
      denied his right to effective assistance of counsel as guaranteed by the Fifth, Sixth, Eight, and
      Fourteenth Amendments to the United States Constitution and Article I,§§ 1, 2, 5, 9, 10, 16, and
      20 of the Ohio Constitution.

           95.   "It is well settled that a criminal trial before a biased judge is fundamentally unfair
      and denies a defendant due process of law." State v. LaMar, 95 Ohio St.3d 181, 2002-0hio-
      2128, ~ 34 (citing Rose v. Clark (1986), 478 U.S. 570, 577; Tumey v. Ohio (1927), 273 U.S. 510,
      534). According to the Ohio Supreme Court, the removal of a judge is necessary "to avoid even
      an appearance of bias, prejudice, or impropriety, and to ensure the parties, their counsel, and the
      public the unquestioned neutrality of an impartial judge." In re Disqualification of Floyd, 101
      Ohio St.3d 1215, 2003-0hio-7354, ~ 10; see also State ex rel. Turner v. Marshall (1931), 123
      Ohio St. 586, 587 ("[I]t is of vital importance that the litigant believe that he will have a fair
      trial.").

          96.   During the mitigation hearing, Davis' sister, Carol Smith, testified on Davis' behalf.
      Ms. Smith revealed that she has a son by the name of Lahray Thompson, and that Mr. Thompson
      had been convicted of aggravated murder in a capital case. (Tr. Vol. II, p.l26)

          97.     Following Ms. Smith's testimony, Judge Nastoff disclosed that he was a member of
      the prosecution team against Mr. Thompson and had argued to the jury that he should receive the
      death sentence. (Tr. Vol. II, p.131 ). Indeed, the motions filed pretrial in Mr. Thompson's case
      confirm that Judge Nastoff was actively seeking the death penalty against Mr. Thompson. Ex.
      M, Prosecution Memorandums in Opposition filed in State v. Lahray Thompson. The transcript
      from Mr. Thompson's trial confirms that Judge Nastoff argued that Mr. Thompson was eligible
      for the death penalty. Ex. N, State v. Lahray Thompson Trial Tr. 1188-92. The transcript
      further reveals that he called Mr. Thompson a liar. !d. 1205-07.

         98.    Davis' counsel stated that the defense already knew Judge Nastoff was involved in
     the prosecution, but made the decision not to seek his recusal. (Tr. Vol. II, p.l32). Counsel
     knew that Judge Nastoff had previously sought the death penalty against a member of Davis'
     family, yet did not seek to remove Judge Nastoff from the case. As a prosecutor in Mr.
     Thompson's case, Judge Nastoff obtained knowledge of Mr. Thompson's family, which included
     Davis and some of his witnesses. Further, Judge Nastoff had already argued in favor of
     sentencing Davis' nephew to death, and believed that Mr. Thompson was a liar. Thus, to avoid
     even the appearance of bias, prejudice, or impropriety, and to ensure the unquestioned neutrality
     of an impartial judge to the parties, their counsel, and the public, Judge Nastoff should not have

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       been deciding Davis' fate and instead should have been removed from the case.               Ex. D,
       Affidavit of Diane Menashe.

           99.    Mr. Davis's attorneys never discussed the conflict issue with Mr. Davis. Ex. B,
      Affidavit of Von Clark Davis. Had they done so, Mr. Davis would have requested that Judge
      Nasthoff recuse himself. Mr. Davis did not find out about the issue until after his sister testified
      at the penalty phase hearing.

           100. Davis supports this ground with evidence dehors the record that contains sufficient
      operative facts to demonstrate a lack of competent counsel and prejudice that resulted from that
      ineffectiveness. State v. Jackson (1980), 64 Ohio St.2d 107, 111. Davis must be granted a new
      trial or, at a minimum, discovery and an evidentiary hearing on this ground for relief.

      Supporting Exhibits: B, Affidavit of Von Clark Davis; D, Affidavit of Diane Menashe; M,
      Prosecution Memorandums in Opposition filed in State v. Lahray Thompson; N, State v. Lahray
      Thompson Trial Transcript.

      Legal Authority in Support of Ground for Relief: Fifth, Sixth, Eighth and Fourteenth
      Amendments to the United States Constitution; Article I, §§ 1, 2, 5, 9, 10, 16, and 20 of the Ohio
      Constitution; Strickland v. Washington (1984), 466 U.S. 668; Rose v. Clark (1986), 478 U.S.
      570; Tumey v. Ohio (1927), 273 U.S. 510; In re Disqualification of Floyd, 101 Ohio St.3d 1215,
      2003-0hio-7354; State v. LaMar, 95 Ohio St.3d 181, 2002-0hio-2128; State v. Jackson (1980),
      64 Ohio St.2d 107; State ex rei. Turner v. Marshall (1931), 123 Ohio St. 586.




                                                     21



                                                                              VON CLARK DAVIS v. WARDEN
                                                                                   CASE NO. 2:16-cv-00495
                                                                                    APPENDIX - Page 4994
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                                 IN THE COURT OF C01\1MON PLEAS
                                      BUTLER COUNTY, OffiO


       STATE OF OHIO,                                      Case No. CR-1983-12-0614

             Plaintiff-Respondent,                        Judge Nastoff

                     v.

       VON CLARK DAVIS,                                   CAPITAL CASE

             Defendant-Petitioner.




                                 AFFIDAVIT OF VON CLARK DAVIS


       COUNTY OF MAHONING )
                          )                SS:
       STATE OF OHIO      )

         I, Von Clark Davis, being first duly cautioned do state the following:

          1. I am oYer 18 years of age, am of sound mind, and am competent to testify regarding the
             matters discussed in this affidavit.

         2. I am the Defendant in the above-captioned case. My attorneys for my September, 2009
            penalty phase hearing were Randall Porter and Melynda Cook-Reich.

         3. I discussed with my attorneys all my certificates, job evaluations, good conduct as well as
            guards and case managers that have seen me in prison since 1984. Other than the
            institutional summary introduced through Scott Nowak, my attorneys did not present any
            evidence at the penalty phase hearing of my job reviews, achievements or good conduct
            while in prison.

         4. My attorneys never asked me for names of guards, case managers (other than Mr.
            Nowak) or other prison personnel to interview about possibly testifying for me. I could
            have provided them a number of names, particularly of guards at OSP (Ohio State
            Penitentiary) where I have been for the last 4 years as well as the two institutions I had
            previously been housed, Mansfield Correctional Institution and the Southern Ohio
            Correctional Institution. I believe they have seen me a sufficient amount of time to be
            able to attest that, among other things: I follow the rules, I do not act out, I am a hard
            worker and I have been helpful to them in a number of ways over the years.

                                                 EXHIBIT

                                                    B

                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
                                                                                  APPENDIX - Page 4995
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          5. I recall my attorneys mentioning at the sentencing hearing that they were going to have
             John Lee testify about some interviews he did of the following family members: Charles
             Flowers, Milton Flowers, Fannie Whiteside, and Elizabeth Crawford. I was upset that
             my attorneys did not call Mr. Lee to testify or attempt to admit the write-ups from Mr.
             Lee and others of these family members who were deceased or who had dementia at the
             time of my September, 2009 hearing. I thought these interviews provided important
             family insight that was not contained in other people's testimony. I also believed that
             their information was necessary as substantive evidence, not just for Dr. Smith's social
             history.

          6. My attorneys mentioned to me that they were going to call someone from the Parole
             Board to say that I would never be paroled. I told both my attorneys and the mitigation
             specialist from the Office of the Public Defender that I did not like this idea at all. I
             thought this person would be putting a nail in my coffin. Mr. Porter said this information
             would help. He and I argued about it because I did not agr~e.

          7. My attorneys said to me that I was never getting out of prison. I wanted some hope of
             getting out. They sent the mitigation specialist up to talk to me about possibly taking a
             life without parole deal but I rejected that. I had no idea that life without parole was not a
             sentencing option in my case.

          8. My attorneys did not discuss at all with me their decision not to seek the recusal of Judge
             Nastoff. I did not know until my sentencing hearing in September, 2009 that Judge
             Nastoff was one of the prosecutors who went to trial and sought the death penalty against
             my nephew, Lahray Thompson. I was too shocked to say anything to my attorneys at that
             point but had I been asked earlier, I would have asked my attorneys to seek Judge
             Nastoff' s recusal.

          9. Prior to my first trial in this case, back in 1984, I had attorneys Michael Shanks and John
             Garretson. I was unaware of aU the consequences of my jury waiver back in 1984. I was
             not told by my trial attorneys that once I waived a jury, I could never have a jury in my
             case even if I was convicted and the case was reversed on appeal. I was also under the
             impression that the jury waiver applied to this panel of judges only and for this trial only,
             not to any new panel of judges or even one different judge that might hear the case later if
             my case was reversed on appeal. I was not informed that if death penalty law changed, I
             would not get the benefit of those changes because I had waived my right to a jury trial.
             All of these things would have affected my decision to waive jury and I would not have
             waived jury had I known these things back in 1984.




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                                                                              VON CLARK DAVIS v. WARDEN
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                                                                                    APPENDIX - Page 4996
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          FURTHER AFFIANT SA YETH NAUGHT.




                                                   "'\t.i.
          Sworn to and subscribed before me this 11_ day of October, 2011.


                                                             ~&a.~
                                                             ·Notary Publi~




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                                                                              VON CLARK DAVIS v. WARDEN
                                                                                   CASE NO. 2:16-cv-00495
                                                                                    APPENDIX - Page 4997
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                                IN THE COURT OF COMMON PLEAS
                                     BUTLER COUNTY, OIDO


       STATE OF OIDO,                                     Case No. CR-1983-12-0614

             Plaintiff-Respondent,                        Judge Nastoff

                    v.

      VON CLARK DAVIS,                                    CAPITAL CASE

             Defendant-Petitioner.




                                AFFIDAVIT OF DIANE M. MENASHE


      COUNTY OF FRANKLIN           )
                                   )       SS:
      STATE OF OHIO                )

         I, Diane Menashe, being first duly cautioned do state the following:

         1. I am over 18 years of age, am of sound mind, and am competent to testify regarding the
            matters discussed in this affidavit.

         2. I am attorney, licensed to practice law in the State of Ohio since 1998. I worked in the
            Office of the Ohio Public Defender from 1997 to 2001. From 2001 to present, I have
            been in private practice in my own office, Diane M. Menashe Co., L.P.A.

         3. My practice is exclusively focused on criminal defense in state and federal court. I have
            litigated numerous cases in state and federal court.

         4. I am certified by the State of Ohio as lead counsel in capital cases pursuant to Rule 20 of
            the Ohio Rules of Superintendence and have handled and tried numerous capital cases. I
            have also handled two federal capital cases that went to jury, United States v. Lawrence
            and United States v. Henderson, both in the Southern District of Ohio, Eastern Division.

         5. I was retained by Attorney Kort Gatterdam to provide my opinion on the sentencing
            phase trial beginning September 8, 2009, in State of Ohio v. Von Clark Davis.

         6. As part of my duties, I reviewed: the September 8, 2009- September 10, 2009 penalty
            phase transcript; Supreme Court of Ohio opinions; Court of Appeals opinions; Sixth
            Circuit Court of Appeals opinion ordering.a new penalty phase hearing; mitigation write-

                                                 EXHIBIT

                                                    D

                                                                            VON CLARK DAVIS v. WARDEN
                                                                                 CASE NO. 2:16-cv-00495
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             ups; affidavits of Cynthia Mausser, Dr. Bob Smith, Kort Gatterdam, and Von Clark
             Davis; transcript of proffer of defense witnesses for August 1989 penalty phase hearing,
             p. 1-5; prior penalty phase opinions; prison records attached to post-conviction petition;
             penalty phase exhibits B-I.

          7. I am fully conversant with the Sixth Amendment test for ineffective assistance of counsel
             enunciated in Strickland v. Washington (1984), 466 U.S. 668, and its progeny. Based
             upon my experience and upon the prevailing constitutional standards, it is my
             professional opinion that trial counsel's performance was deficient in several areas and
             those deficiencies prejudiced the penalty phase of Von Clark Davis's case.

         8. First Ground for Relief- I am familiar with the Sixth Circuit's Opinion in Davis v. Coyle
            (6th Cir. 2007), 475 FJd 761. In that case, the Sixth Circuit granted Davis habeas relief
            because during Davis' second penalty phase hearing, the three-judge panel erroneously
            excluded testimony regarding Davis' exemplary behavior on death row between his first
            and second sentencing hearings. !d. at 770. Regarding the evidence, the Sixth Circuit
            stated:

                    Such testimony would have established that Davis was classified as an
                    "A" prisoner, indicating that he had no discipline or conduct problems;
                    that he was the clerk on death row for the unit manager and helped
                    conduct tours of death row; and that he had created no problems for other
                    inmates or for security personnel and had no conduct write-ups. Davis
                    worked directly for Oscar McGraw, the unit manager for death row, who
                    complimented Davis's positive attitude and pleasant personality. Herb
                    Wendler, Davis's case manager, observed that Davis was cooperative and
                    courteous, that he had been given much more freedom than other inmates
                    on death row, and that he had been placed in various positions of trust
                    within the unit.

            !d. at 773. The Sixth Circuit determined that based on the record in the case, this
            evidence was "without doubt ... highly relevant to the single aggravating factor relied
            upon by the state-that future dangerousness should keep Davis on death row." !d.

         9. It is my understanding the defense counsel handling Davis' 2009 penalty phase hearing
            never attempted to contact Sgt. Gordy Pullman, Oscar McGraw, Herb Wendler or any
            other witnesses who may have had information as to Davis' model behavior while on
            death row. I find this to be deficient performance. The anticipated testimony of Oscar
            McGraw and Herb Wendler was the basis for the Sixth Circuit's reversal of Davis' 1989
            death sentence. There is no legitimate reason for defense counsel's failure to even
            attempt to locate these or any other witnesses which may have had information regarding
            Davis's good behavior while incarcerated on death row. If defense counsel was
            concerned with ODRC' s policy regarding employee interviews, they could very easily
            have subpoenaed the witnesses to the penalty phase hearing and interviewed (or had their
            mitigation specialist interview) the witnesses when they appeared for court.



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                                                                           VON CLARK DAVIS v. WARDEN
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          10. The failure to conduct this investigation is objectively unreasonable and constitutes
              ineffective assistance of counsel pursuant to the two prong test in Strickland v.
              Washington.

          11. Second Ground for Relief - I read the penalty phase testimony of caseworker Scott
              Nowak. It is my understanding that Mr. Davis had a number of certificates, and other
              information about his accomplishments while in prison, work history while in prison,
              lack of institutional write-ups and security level reductions. It is my opinion that these
              documents should have been marked as exhibits and introduced at the penalty phase
              hearing. Demonstrative evidence of Davis' accomplishments and his behavior while in
              prison would have been important tangible evidence for the trier of fact. The evidence
              was admissible, available and relevant to whether Davis should be sentenced to death.
              Submitting a two page summary through Mr. Nowak was incomplete and unpersuasive,
              particularly when other evidence existed.

          12. The failure to present this evidence is objectively unreasonable and constitutes ineffective
              assistance of counsel pursuant to the two prong test in Strickland v. Washington.

          13. Third Ground for Relief - I believe defense counsel has a duty to determine, before
              placing a witness on the stand, whether that witness could potentially harm the defense
              case and if so, whether that is a risk worth taking. I read the testimony and affidavit of
              Cynthia Mausser. Given what Ms. Mausser stated in her affidavit and in her testimony at
              the penalty phase hearing, I would not have called her as a witness. I believe her
              testimony harmed Mr. Davis's case. Although defense counsel in their opening statement
              promised otherwise, Ms. Mauser could not say that Davis would never be paroled. To
              the contrary, she testified that Davis was apt to be paroled and because he had twice been
              convicted of murder, the streets would not be safe if/when he were ever released.

         14. As the Chair of the Board, I find it hard to believe Ms. Mausser would have guaranteed
             defense counsel during an interview that Mr. Davis would never be paroled. Rather, it
             stands to reason that Ms. Mausser's affidavit about what she told defense counsel when
             interviewed about the possibility of Davis' parole is accurate. No single Parole Board
             Member constitutes a majority so even if she had an opinion on parole, it would not
             necessarily be shared by others on the Board.

         15. The presentation of Cynthia Mausser's testimony is objectively unreasonable and
             constitutes ineffective assistance of counsel pursuant to the two prong test in Strickland v.
             Washington.

         16. Fourth Ground for Relief- Dr. Smith was asked to provide testimony on Davis's psycho-
             social history and what, if any, psychological disorders he suffered from at the time ofthe
             incident. In my opinion, the key question in this penalty phase was whether Mr. Davis
             would be a danger to anyone in the community if he was paroled. Defense counsel
             obviously did not prepare Dr. Smith to testify on this issue because he offered no
             testimony in this regard. Moreover, his testimony had the opposite effect; he opined that
             the nature of borderline personality disorder is that an inmate does well in a structured
             setting like prison but not when they have no clear cut structure like a person out in the

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                                                                             VON CLARK DAVIS v. WARDEN
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             community. Given Mr. Davis's prior history, I believe this testimony was harmful and
             contributed to the panel giving Mr. Davis death.

          17. In addition, defense counsel should have gained information from the prior two panels of
              judges that heard similar testimony and rejected the psychological testimony. In fact, the
              second panel actually used the psychological testimony to assist them in making their
              decision that the death penalty was the appropriate sentence. Defense counsel should
              either have not presented the testimony of Dr. Smith or focused on the future
              dangerousness issue as addressed by Dr. Smith's affidavit.

         18. The presentation of Dr. Bob Smith's testimony is objectively unreasonable and
             constitutes ineffective assistance of counsel pursuant to the two prong test in Strickland v.
             Washington.

         19. Fifth Ground for Relief - Defense counsel had an exhibit notebook with Exhibits A-L,
             presumably which they intended to introduce into evidence at the penalty phase hearing.
             However, they only submitted Exhibits J, K, and L. Of the documents not submitted was
             an affidavit and the mitigation write-ups from four witnesses who were either deceased or
             were no longer competent to testify. These witnesses had relevant and important
             historical information to provide about Davis. Although defense counsel initially
             indicated to the Court that they intended to present the affidavit and mitigation write-ups
             through the testimony of their mitigation specialist, John Lee, they did not. For reasons
             unknown, the defense did not call Mr. Lee. Furthermore, they later withdrew their
             request to have the exhibits introduced.

         20. The defendant is to be given great latitude in presenting mitigating factors in a capital
             sentencing hearing. See R.C. 2929.04(C); State v. Landrum (1990), 53 Ohio St.3d 107,
              115. Moreover, in this case the affiants were unavailable, so under a more lax standard
             of evidentiary rules the documents were apt to be admissible. Further, the fact that the
             case was being tried to a three judge panel makes it more likely than not that the affidavit
             and the mitigation the write-ups would have been admitted into evidence and given the
             appropriate weight. I believe that the evidence was admissible as substantive evidence
             and defense counsel should have introduced or at least attempted to introduce this
             testimony. Moreover, I believe the evidence was relevant and important to the defense
             case.

         21. The failure to present John Lee's testimony and/or the mitigation write-ups and affidavit
             is objectively unreasonable and constitutes ineffective assistance of counsel pursuant to
             the two prong test in Strickland v. Washington.

         22. Sixth Ground for Relief- At the end of Carol Smith's testimony, Judge Nastoff indicated
             that he prosecuted, and argued for the death penalty, against Ms. Smith's son, Lahray
             Thompson. Carol Smith is the sister of the Defendant, making Lahray Thompson the
             Defendant's nephew. Defense counsel indicated that he made the decision long ago not
             to challenge the judge's connection to Ms. Smith as grounds for recusal.




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                                                                             VON CLARK DAVIS v. WARDEN
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         23. I have reviewed Mr. Davis's affidavit where he states that his attorney never discussed
             the recusal issue with him. I find this to be problematic. Moreover, I fmd it deficient
             performance not to seek recusal of Judge Nastoff based on his affiliation to Ms. Smith.
             Judge Nastoff sought the death penalty against Mr. Davis's nephew. During that
             prosecution he heard and cross examined some of the very same mitigation evidence that
             Davis presented in his case. It would be difficult, if not impossible, to put aside Judge
             Nastoff's prior opinions about the veracity and strength of the mitigation.

         24. Further, as a practical matter, Judge Nastoffwas a former prosecutor who litigated capital
             cases. Strategically he was not likely to favor the defense presentation given his prior
             employment.

         25. The failure to seek Judge Nasthoffs recusal is objectively unreasonable and constitutes
             ineffective assistance of counsel pursuant to the two prong test in Strickland v.
             Washington.

         26. In addition to the aforementioned examples of ineffectiveness, I observed several other
             deficiencies in defense counsel's representation.

         27. The first witness to testify was Francis Weiland from England. Ms. Weiland had
             important information about Mr. Davis's remorse and how he has rehabilitated himself
             over time. She had a letter from Mr. Davis addressing his remorse but was prevented
             from introducing it into evidence because defense counsel did not provide a copy of the
             letter to the prosecution as required by the Rules of Evidence.

         28. I also found Mr. Davis's unsworn statement to be rehearsed and unconvincing. Despite
             the Sixth Circuit's reason for reversal in the case of Davis v. Coyle (6th Cir. 2007), 475
             F.3d 761, defense counsel did not ask Davis about his institutional adjustment or
             achievements. Davis' testimony as to this issue was even more critical in the absence of
             any ODRC employees being called as witnesses by the defense. Mr. Davis should have
             been asked to testify about his exemplary behavior in prison, his certificates, work
             history, etc.

         29. All of my opinions are based on my experience, my review of the records in this case and
             my knowledge of the standard for ineffective assistance of trial counsel under Strickland
             v. Washington. For the reasons stated above, both individually and cumulatively, Von
             Clark Davis was deprived of the effective assistance of trial counsel under the Ohio and
             United States Constitutions.




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                                                                           VON CLARK DAVIS v. WARDEN
                                                                                CASE NO. 2:16-cv-00495
                                                                                 APPENDIX - Page 5002
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          FURTHER AFFIANT SAYETH NAUGHT.

                                                        ~DIANE M. MENASHE



          Sworn to and subscribed before me this 21st day of October, 2011.




                                                         Notary Public




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                                                                          VON CLARK DAVIS v. WARDEN
                                                                               CASE NO. 2:16-cv-00495
                                                                                APPENDIX - Page 5003
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                                  STATE OF OHIO                                                                       CASE NO. CR95-12-1111
                                                                                                                      STATE OFO~~~(o- ~.s--
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                                                   Plaintiff fll..ffJ                                                                                     "
                                                                                                                      COUNTY OF BUTLER
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                                                                                                                      (Moser. J.)
                                                                                               .... J


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                                                                                                        u   ~~-,ce!·.~··:~~;MEMORANDUM IN OPPOSITION TO
                                                   Defendant                   ··.\·'·i. ;,';':. . ~...,              DEFENDANT'S MOTION TO ALLOW
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                             'I                                                                                       DEFENSE TO ARGUE LAST
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                             )!           Now comes John F. Ho 1comb. Prosecuting Attorney. and in opposition to the
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                             !I defendant's motion to allow the defense to argue last in penalty-phase closing
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                             !jarguments. filed herein on April 4. 1996. says that the defendant's motion is not
                             I.
                             I!
                             !fwell taken.          This motion is "backed by neither law nor effective argument." see
                             I,
                             I.

                             il State v Evans (1991). 63 Ohio St. 3d 231. 251. 586 N. E. 2d 1042. 1059.
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                             II           It is clear that the State bears a very high burden of proof in a criminal
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                             \:case-- proof beyond a reasonable doubt.                                                Accordingly. it was held in State v
                             1!
                             \jJenkins (1984). 15 Ohio St.3d 164. 214-215. 473 N.E.2d 264. 307-308. that the
                             :I
                             !/prosecutor should argue first and last in the penalty-phase final arguments.
                             I
                             II
                             ~since the State bears the burden of proof in the penalty phase of a capital trial
                             I·
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                             iiCto prove that the aggravating circumstances outweigh the mitigating factors by
                             II
                             !\proof beyond a reasonable doubt). See also State v Rogers (1985). 17 Ohio St.3d
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                    l\174. 182-183. 478 N.E.2d 984, 993. State v Hicks (1989). 43 Ohio St. 3d 72. 80.
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    JOHN F. HOL.COMB         rl
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                                                                                                                                      CASE NO. 2:16-cv-00495
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                                      WHEREFORE, the     defe~&&n~~ m&!io~ s~~ld be overruled.
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                                  I                      .... ,.·,~ :·        . ,.,               JOHN F. HOLCOMB (0001499)

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                             II                   . (:\_;:.R\Z                                   DANIEL J. GATTlMEYER (0031305')-
                             !I                                                                  ASSISTANT PROSECUTING ATTORNEY
                                                                                                 BUTLER C UNTY, OHIO
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                             'I                                                                  ASSISTANT PROS TING ATTORNEY
                                                                                                 BUTLER COUNTY, OHIO
                             II
                             I                                                                   216 Society Bank Building
                             II                                                                  Hamilton. Ohio 45012-0515
                             II
                             II                                                                  Telephone (513) 887-3474
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                                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                                       APPENDIX - Page 5005
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                                    STATE OF OHIO                                                         CASE NO.    CR95-12-llll
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                                                Plaintiff                      !~!Us~  STATE OF OHIO
                                                                                       COUNTY OF BUTLER
                                         vs.                's
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                                                                                       (Moser, J.)
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                             ,LAHRAY THOMPSON                    \ , ·   • ,   .. 1 r


                                                                                  ·: · . ·. MEMORANDUM IN OPPOSITION TO
                                               Defendant                                        DEFENDANT'S "VOIR DIRE MEMORANDUM"
                                                                                . . • r, ,., ,, RE PROPER STANDARD FOR DEATH·
                                                                               ··    . : , c. QUALIFICATION EXCUSAL




                                         Now comes John F. Holcomb. Prosecuting Attorney. and in opposition to the

                            /defendant· s "voir dire memorandum" regarding the proper standard for death-

                            l:qua l ifi cation. filed herein on April 4. 1996. says that the defendant· s
                            ![

                            :broposition of law is incorrect.
                                I
                                1        Death-qualification of jurors was upheld as proper in State v Jenhns

                            J(C1984). 15 Ohio St.3d 164, 473 N.E.2d 264. at paragraph two of the syllabus. The

                                Fhio Supreme Court in State v. Rogers (1985). 17 Ohio St.3d 174. 478 N.E.2d 984.

                            :,.vacated on other grounds (1985). 474 U.S. 1002. following the standard enunciated
                            ,,in Wainwright v Witt (1985), 469 U.S. 412. 420. established as a matter of Ohio

                            //law that a prospective juror in a capital case is subject to challenge for cause
                            !


                            'rased on his views in opposition to capita 1 punishment if "those views would
                            /\prevent or substantially impair the performance of his duties as juror in
                            li
                            ~,,;_•_accordance with his instructions and his oath." Rogers. id .. at paragraph three
       OFFICE OF
 PROSECUTING ATTORNEY           '                                                                                                            d
  BUTLERcouNTY.OHIO         [of the syllabus.       See also State v Beuke (1988). 38 Ohio St.3d 29.38. 526 N.E.2
    JOHN F. HOLCOMB         ;i
 PRosEcuTINGATTORNEY        1'274. 284. and State v Greer (1988). 39 Ohio St.3d 236. 248. 530 N.E.2d 382. 397.
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  HAMILTON, OHIO 45012




                                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                                            CASE NO. 2:16-cv-00495
                                                                                                                             APPENDIX - Page 5006
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                                     I
                                              The Court has several times reaffiJI~;L1'_ts -q·6id1hg in Rogers, rejecting
                                     I
                                                                                          · .,   ~~~      '.       cu,~-;            .s
                                     I
                                     Ithe    very argument made by defendant herein that the Ohio statute. R.C.
                                     I


                                i/2945.25CC). demands a different. "stricter" standard for death qualification in
                                1




                                ,,Ohio. as opposed to the federal        constit~tional         standard. See. e.g,. State v Roe

                                t<1989). 41 Ohio St.3d 18. 21. 535 N.E.2d 1351. 1357, and most recently, State v.
                                 I


                                irrazier           (1995). 72 Ohio St.3d 323. 329. 652 N.E.2d 1000, 1007. The Rogers line

                                ~of cases clearly establish that the standard under the Federal Constitution and
                                !
                                !the Ohio statute are identical.              It has also been held that a juror who is

                                llexc l uda bl e under the Wa i nwr i qht v Witt or ISQqers standard i s "uns uit ab l e" to be
                                ![


                                [/a juror under R.C. 2945.24(0). see Stat.e v Greer. 39 Ohio St.3d at 248. 530

                                liN. E. 2d at 397: State v {leuke. 38 Ohio St. 3d at 38. 526 N. E. 2d at 284: and SUte.

                                ijv        Buell    (1988). 22 Ohio St.3d 124, 139. 489 N.E.2d 795, 808.

                                ;/            The attached death qual i fi cation question as asked by this Court in s..t.dl.f.
                                L
                                ii
                                IW         Benge   (1993). Butler C.P. No. CR93-02-0116. (excerpt from Trial Transcript pp.

                                /j52-54). affirmed in s.t.Q.te v Benge (Dec. 5. 1994). Butler App. No. CA93-06-116.
                                ,,
                                t        unreported. is a proper form for applying the Wajnwright v Wjtt I                                                                              ~
                                1:1
                                ,I
                                ijstandard.
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       OFFICE OF
PROSECUTING ATTORNEY
                                ·I
                                III·
  BUTLER COUNTY, OHIO


    JOHN F. HOLCOMB
 PROSECUTING ATTORNEY           I!

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  HAMILTON. OHIO 45012          \!
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                                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                                          APPENDIX - Page 5007
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 147 of 200 PAGEID #: 5042




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                                                                  '('"               nuo               ~~-'~:i,~~'~:-. :. ;_:_-._
                                          WHEREFORE. the defendant.:s pc@Q_Sfd Pfin~rj~dr'death-qualification should

                                    be rejected. and the attached q~s~i_'Dh1rrg·~~~-~rdard. or similar wording. should
                                                                     ~.~~.t:·~·-.   (;(- C-:·!r·;J7"'
                                    be utili zed in the voir dire of this case.' ' · .)

                                                                                    Respectfully submitted.

                                                                                    JOHN F. HOLCOMB (0001499)
                                                                                    PROSECUTING ATTORNEY
                                                                                    BUTLER COUNTY. OHIO



                                                                                    DANIEL J. GATT RMEYER (0031305)
                                                                                    ASSISTANT PROS CUTING ATTORNEY
                                                                                    BUTLER COUNTY, OHIO

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                           II

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                           II                                                       ASSISTANT PROSEC NG ATTORNEY
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                                                                                    Hamilton. Ohio 45012-0515
                           ·I                                                       Telephone (513) 887-3474
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                                                                         PROOF OF SERVICE
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                           I.
                           :;

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                           I,
                           \!This is to certify that a copy of the foregoing Memorandum was sent to Ronald C.
                           ~~organ. 110 N. Third St. Hamilton. Ohio 45011. and Lynn Cunningha      616 Dayton
                           ,f,t.. Hamilton. Ohio 45011 by U.S. regular mail this .d:.L_ day of ~=---t--
       OFF'ICE OF          /:1996,
 PROSECUTING ATTORNEY          I
  BUTLER COUNTY, OHIO      :


    JOHN F. HOLCOMB        ~~
 PROSECUTING ATTORNEY      i,
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      P.O. BOX !515            I'

  HAMILTON, OHIO 45012
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                                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                                          APPENDIX - Page 5008
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 148 of 200 PAGEID #: 5043




                                ISTATE   OF OHIO
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                                                                                              CASE NO.        CR95·12·1111
                                                                                                           L: Frq b ·os- oo C( 1.1
                                                                                              STATE OF OHIO
                                                                                              COUNTY OF BUTLER
                                         vs.                                                  COURT OF COMMON PLEAS
                                                                                              (Moser. J.)
                                                                                    : - ' •._,\.)(   1.•

                                                                              _. ;.\IDI:__':~:~~~:~~~lO
                                ILAHRAY THOMPSON
                                 1
                                1/                     r l.'-'.:..:~.-.t1'\ cct\\'~'- ':'                   MEMORANDUM IN QPPOSITION TO DEFENDANT'S
                                I              Defendant - t)\..\ • ·.. •              n ,. \<?:lj'O MOTIONS TO LIMIT PROSECUTOR'S
                                Ill                                        ' \)\_ '- ~ :               .. c.~YIDENCE AND ARGUMENT IN

                                I ,
                                                                        -~I ,~··,
                                                                               ,..
                                                                                    ;_\ \', ~-~ :::~I\ IJ '-'t8E PENALTY PHASE
                                11                                    t. _sPJZ
                                il
                                li
                             II          Now comes John F. Holcomb. Prosecuting Attorney. and in opposition to the
                             il
                            I'I
                                lidefenda nt ·s motions as fo 11 ows:
                            I!
                            II["MQTION TO LIMIT PROSECUTOR. s ARGUMENT TO THE AGGRAVATING CIRCUMSTANCES PROVEN
                             I AT THE FIRST PHASE OF THE TRIAL AND TO LIMIT THE PROSECUTOR'S PRESENTATION OF
                            ij EVIDENCE AND ARGUMENT TO PROPER REBUTTAL OF THE DEFENSE PRESENTATION,"
                                 I
                                il.

                            il"MOTION TO LIMIT SWE'S EVIDENCE TO REBUUAL" and
                            Jl
                            11
                            I!
                            li"MQTION TO ALTER DEFINITION OF MITIGATING CIRCUMSTANCES TO REMOVE REFERENCE TO
                            11REDUCING THE DEGREE OF BLAME AND TO SO LIMIT PROSECUTOR IN HIS ARGUMENT"
                            d
                            I!
                            J[fil ed herein on April 4. 1996. and
                            I
                            I
                            I            Defendant's motions seek to severely restrict and limit the prosecutor's
                            II
                            I
                            i!penalty-phase argument. However. the Ohio Supreme Court has clearly outlined the
                            J/
                            ilrange of permissible argument for a prosecutor in the "mitigation" or "penalty"
                            'I
                            II
        oFFICE oF           t
                                 1
                                  or sentencing" phase of a capital trial. see State v Gurrm (1995). 73 Ohio St.3d
 PROSECUTING ATTORNEY       11
  BUTLER COUNTY. OHIO       '1J


    JOHN F HOLCOMB          j~l3. 653      N. E. 2d 253. where the Court held in its syllabus:
 PROSECUTING ATTORNEY       II
                            il
                            il              Subject to applicable Rules of Evidence. and pursuant to R.C.
216 SOCIETY BANK BUILDING
       P.O. BOX. 515
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                                      2929.03(0)(1) and (2). counsel for the state at the penalty stage of a
  HAMILTON, OHIO 45012      l1
                            I;
                            II
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                                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                                CASE NO. 2:16-cv-00495
                                                                                                                 APPENDIX - Page 5009
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 149 of 200 PAGEID #: 5044




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                                        capital trial may introduce and comme~~~ ~n (1) any evidence raised at
                                        trial that is relevant to the aggravatin"g circumstances specified in the
                                        indictment of which the derendi:UiJ: ~~s r-'f9u~d 12J:~ilty. (2) any other
                                        testimony or evidence relevant to the nature and circumstances of the
                                        aggravating circumstances speci~ied: tn~-_.t~e ~~ i nd1t;tment _'Qf · which the
                                        defendant was found guilty. C3!= eviden~*~i-oo:rtne ~x~~tence of any
                                        statutorily defined or other mitigating Tactors ,fi.r~y.\@SSerted by the
                                        defendant. (4) the presentence invest i gat il<hli- ~~.porf'. where one is
                                 I      requested by the defendant. and (5) the mentp l ..~~~wq;t·.QUt:;;t'leport. where
                                        one is requested by the defendant. Furthet-i~-~~se l for the state may
                            11
                                        comment upon the defendant's unsworn statement. if any. (R.C. 2929.03[0].
                            :I
                                        construed; State v DePew [1988]. 38 Ohio St.3d 275. 528 N.E.2d 542.
                            II          affirmed and followed.)
                             I

                            1!
                            J!            Thus. the Court has rejected the argument presented in defendant's motions

                            ~that         the prosecutor must restrict his          penal~-phase r~arks       to a rote.
                            ~~·professorial·         outline of the aggravating circumstances specified in the

                            llindictment and proven in the guilt phase of trial.             Neither the Eighth />Jnendment

                            If       nor cases decided by the Ohio or United States Supreme Courts preclude the
                            1
                             I
                                 jprosecutor from argument in the penalty phase concerning the nature and
                            J,

                            !/circumstances of the murder itself. see State v Gurrm. 73 Ohio St.3d at 416-418.
                            li653 N.E.2d at 259-264. Indeed. the statute itself. R.C. 2929.03. requires the
                            !I
                            i1sentencing authority (jury and judge, or three-judge panel) to consider the

                            ilnature and circumstances of the offense. see Guum. id. at 418-420. citing               ~
                            llv        Jenkins (1984), 15 Ohio St.3d 164, 174. 473 N.E.2d 264. 277-278. State v
                            I·,I
                            II
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        OFTICE OF                fteffea (1987). 31 Ohio St.3d 111. 116-117. 509 N.E.2d 383. 390. and State v
 PROSECUTING ATTORNEY
  BUTLER COUNTY, OHIO       l.

                            iLStumof (1987). 32 Ohio St. 3d 95. 99. 512 N. E. 2d 598. 604.           The Court also noted
                                 1


    JOHN F. HOLCOMB

 PROSECUTING ATTORNEY       II
                            l/that "it is only by considering the nature and circumstances of the offense. as
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                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                   CASE NO. 2:16-cv-00495
                                                                                                    APPENDIX - Page 5010
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                                     well as the statutory aggravating circurris!ti.an~es. th~~~W;;:·poss1b9~; 'to prevent

                             \a rigid and mechanistic                 sente~c:Q~gl;~i:h6m~. ·P.~.l~d. at 420. citing                                  State v
                         I
                             '                                                    -    ','   .• ·.·   .   I'   ,.   tl
                                     Jfftff. (1987). 32 Ohio St.3d 147,j53.'.~12'Kt2ci962.
                                                                      ~.~L~.·· !·, \'. •. . 1../'.':·•. : ,)
                                                                                                             969: and in G.1JIIm it was

                                 1   a1so noted that "some crimes are by their very nature so ·horrendous· or

                         , 'harrowing' that it would be difficult to imagine factors that might be
                         I


                         /mitigating, "GJJmn.               id ..   citing   State v. Morales                       (1987). 32 Ohio St.3d 252. 262.

                         11513 N.E.2d 267. 277. and S.teffen. supra at 128. 509 N.E.2d at 398. The Court in
                         iI
                                 GUmm reasoned that in              DePew   it was held that a prosecutor in the penalty stage

                                 /of a capital case may introduce. and comment upon. any evidence raised at trial

                         I~ that is           relevant to the aggravating circumstances. which allows the prosecutor

                         'to reintroduce much if not all of the evidence heard in the guilt phase: and in

                             1many cases it has been held that once lawfully inserted into the sentencing
                             !
                         jconsiderations. admissible evidence is subject to fair comment by both parties.

                         /lsee. e.g ..            State v     Greer     (1988). 39 Ohio St.3d 236. 253. 530 N.E.2d 382. 402.
                         I
                         i/and           State v    Lorraine        (1993). 66 Ohio St.3d 414, 420. 613 N.E.2d 212. 218. The

                         /'Court in GiJmn cautioned prosecutors (and trial courts in their instructions and
                         i
                         ·,
                         ~sentencing               opinions) to avoid imprecise designation of the "nature and
                         ,,

                         /fci rcumstances of the offense" as "aggravating circumstances" to be "weighed
                         \iagainst" the mitigating factors.                     cf. State v                    Davis     (1988). 38 Ohio St.3d 361.

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      OFFICE OF          ~~
PROSECUTING ATTORNEY     I:
 BUTLER COUNTY, OHIO     1/

  JOHN F. HOLCOMB        I'
PROSECUTING moRNEY           J367 -368. 528 N. E. 2d 925. 931-932.                    However. so long as the prosecutor does not
                         i!
21ssoc~~ :~;~.~UILOING J/confuse "aggravating circumstances .. with the nature and circumstances of the
 HAMIL.TON, OHIO 45012   II
                         I;
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                                                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                                                              CASE NO. 2:16-cv-00495
                                                                                                                               APPENDIX - Page 5011
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                                                                                             L\LJL.. 2 ( 1SSQ
                               [aggravated murder. he is perf.erc.tl.l',YJithin the proper~JJo~rd?":?fJip~l, argument to
                                                                  u   J   t.i U:...   2~
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                                                                                                                                          '   :.:·; ·• ;_ .·   -~:. ·.I
                                  comment on the nature and ci rcum9t?rw.e? , Q~ the aggravated murder which are
                                                                          I . ", . ::       . .             . "
                              I                                                              . .        . ' '- If

                          Ire levant to the sentencing con£;i:d~~atf6n~'.'::_: ii: s

                                        Gum:ll also holds that it is permissible to comment on the defendant's
                          1




                                  unsworn statement. see syllabus in           Gumm: see also                        State v Maoes                      (1985). 19 Ohio

                              iSt.3d 108. 115-116. 484 N.E.2d 140. 147 ("If a defendant chooses to make an

                           !unsworn oral statement to the jury, the prosecution should be allowed to argue
                          I
                          I! that     the defendant· s statement has less credibility because it is not given under
                          I,
                          \ioath.       *** [T]he state should be able to dispute the weight of that statement
                          II···.").
                          ~             Defendant's suggestion that the prosecutor may not comment on relevant
                          I
                          !\aspects of the murder victim· s character which have been admitted in evidence in

                          l~ither the guilt or penalty phase of trial is an argument that has been rejected
                          I·
                          [/by unanimous decisions of the Ohio Supreme Court in                                         State v Loza                    0994). 71 Ohio
                          'I
                          I·
                          i1St.3d 61. 82. 641 N.E.2d 1082. 1105, and                                   State        v   Eautenbercv                   (1995). 72 Ohio
                          jl
                          irt.3d 435. 438-440. 650 N.E.2d 878. 881-882. The Court in                                                 Eautenbeccv                          noted the
                          iJfact that the cases on which defendant· s argument relies.                                                        Booth                  v    Macvland
                          lj
                          11(1987). 482 U.S. 496. and South Carolina v Gathers (1989). 490 U.S. 805. were
                          I';j
                          ~~verruled in Pavne v Tennessee (1991). 501 U.S. 808. which held that the Eighth
                          i
                          i~endment        erects no   pee se   bar to the admission of victim-impact evidence. Thus.
                          II
      OFFICE OF           II'
PROSECUTING ATTORNEY      :
 BliTLER COUNTY, OHIO     jl

   JOHN F. HOLCOMB
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PROSECUTING ATTORNEY      J!
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                                    Fautenberrv   the Ohio Supreme Court held that "evidence which depicts                                                                both   the
  HAMILTON, OHIO 45012.   1~
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                                                                                                                           VON CLARK DAVIS v. WARDEN
                                                                                                                                CASE NO. 2:16-cv-00495
                                                                                                                                 APPENDIX - Page 5012
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                                   circumstances surrounding the commi ssi 011 ~f the      cri:~-J f~'d;,:1~1~b:;Ut~( tmp~-h of the
                                                                              ~J   JUL 2Y           P~-;-.,
                                   murder on the victim's family may be admis~i~le dur'ihg bothlthe guilt and the
                                                                                   I. I . , , : : :~ ,' {): 'J
                                   sentencing phases." Id. (Emphasis per the c06~f,in-;faut«n~.~rv.) The Court cited

                                   State v Loza as an example where evidence relating to victim-impact (e.g .. the
                                   fact that one of the victims was pregnant. that the killings represented "many

                                   years" of potential life expectancy) was admissible in the guilt phase of trial

                             'as facts surrounding the offense. and thus co~ents ~the prosecutor in the
                             [sentencing phase relating to such victim-impact evidence was permissible. The

                             /:Court in Eautenberrv carefully pointed out that expressions of a witness's

                            1opinion as to the appropriate sentence. e.g .. that the victim's family desires
                              '
                             Ji    that defendant be sentenced to death (as allowed by statute in most non-capital

                             i!cases pursuant to R.C. 2943.041) are not admissible in a capital case.

                             i/Eautenberrv. 72 Ohio St.3d at 439. 650 N.E.2d at 882: accord. State v Huertas
                             11    (1990). 51 Ohio St. 3d 22. 553 N. E. 2d 1058. syllabus.                       However. the Court in

                             rlfautenberry specifically allowed testimony from the victim's family members and
                             jlemployer concerning the impact of the victim's death on his survivors.

                             [lEautenberrv. id. at 438-439. 650 N.E.2d at 881-882.
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  BUTLER COUNTY. OHIO
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  HAMILTON, OHIO 45012       ~~
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                                                                                                      VON CLARK DAVIS v. WARDEN
                                                                                                           CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 153 of 200 PAGEID #: 5048




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                                                              WHEREFORE. the defendant's motions should be denied.
                                                                                      Respectfully submitted.
                                                                                      JOHN F. HOLCOMB (0001499)
                                                                                      PROSECUTING ATTORNEY
                                                                                      BUTLER COUNTY, OHIO



                                                                                     DANIEL J. GATT RMEYER (003130 )
                                                                                     ASSISTANT PROSECUTING ATTORNEY
                                                                                     BUTLER COUNTY, OHIO


                                                                                                                0056263)
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                           liThis is to certify that a copy of the foregoing Memorandum was sen~o Ronald C.
                           i1Morgan. 110 N. Third St. Hamilton. Ohio 45011. and Lynn Cunningham. :?16 Dayton
                              t.:.· ·.Hami_:~.'~n_:_,Ohio 45011 by U.S. regular mail this :~J·~.J.--day of _ -<<c-~c-) .
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   JOHN F. HOLCOMB
 PROSECUTING ATTORNEY      ,
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                                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                                               CASE NO. 2:16-cv-00495
                                                                                                                APPENDIX - Page 5014
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                                      STATE OF OHIO                                                                           CASE NO.   CR95-12-llll
                                                                                                                                      c ~ ~b-05· OOCfY
                                                  Plaintiff                                                  STATE OF OHIO
                                                                                                             COUNTY OF BUTLER
                                           vs.            , .;:·
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                                                            c,... Jl:'  . ·-
                                                                        '·-           (_
                                                                                               Pf.l.•
                                                                                               •   I
                                                                                                     . _1 l FfOURT OF COMMON PLEAS
                                                                                                     I
                                                                                                            -cMoser, J.)

                                      LAHRAY THOMPSON     .-,~ct:.r~:.:: ,:F::.~c~_!rl~-:1- ·--·"· ~
                                  I                               C'·.                      · . · : c:1 lCMEMORANDIJM IN oppoSITION TO DEFENDANT'S
                                  /               Defendant                  ,             ,, . r,,,.-.                       MOTION TO PROHIBIT REFERENCES TO THE
                                  I                                      \       ~-        t::. .,       ::,;;o               JURY lllAT A VEROICT AS TO DEATH IS ONLY
                                                                                                         ... ·:. ::~ :. '·'
                                  I
                             II                                    :C                                                         A RECOMMENDATION
                             II
                            II

                             jl            Now comes John F. Hal comb. Prosecuting Attorney. and in opposition to the
                            !I
                            //defendant's motion to prohibit refernces to the jury that a verdict as to death
                            It


                            jli s a nonbinding recommendation. filed on April 4. 1996. says that defendant· s
                            1
                            1~otion is not well taken. Defendant's argument has been rejected numerous times
                            'I
                            I

                            J/by the Ohio Supreme Court.                      In State v Jenkins (1984). 15 Ohio St.3d 164. 473
                            II
                            1
                                !N.E.2d 264. at paragraph six of the syllabus. the Court held.
                            II
                            II                 The jury in the penalty phase of a capital prosecution may be
                            II
                            d            instructed that its recommendation to the court that the death penalty
                           I,'I          be imposed is not binding and that the final decision as to whether the
                           'I            death penalty shall be imposed rests with the court.
                           /I
                           II
                           il              This Court in the trial of another capital case gave the following
                           I!
                           llinstruction. in State v Williams. Butler Common Pleas No. CR90-08-0665:
                           II
                           II
                           •I                   "It is going to be your responsibility*** to decide what sentence
                           :!            to recommend to this Court regarding the charge of aggravated murder with
                           li
                           i!
                           d             Specifications ***.
                           I!
        OFFlCE OF'         !I                 "I have used the word 'recommend' and I want you to make sure that
 PROSECUTING ATTORNEY      ·_11

  BUTLER COUNTY. OHIO      il
                           1            you understand you are not to construe that word to diminish your
   JOHN F. HOLCOMB         :1           responsibility in this matter. It is an awesome task. and the fact that
 PROSECUTING ATTORNEY      I-
                                        the word 'recommend' is used should not be considered by you to lessen
                           l            your task." CTrial Transcript in Williams. Vol. XI. page 200. copy
21650CIETY BANK BUILDING   ii
       P.O. BOX 515        II           attached.)
  HAMILTON, OHIO 45012     il
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                                                                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                                                                              CASE NO. 2:16-cv-00495
                                                                                                                                               APPENDIX - Page 5015
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 155 of 200 PAGEID #: 5050




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                                      The conv1ct1on and death sentence 1n that case were                        a~it-med       w1th ·approval of
                                                                           ;, ~~ ·~. ~ :.,\C: :;
                                      that instruction. see State v Wil u@lnftNov~ :2 1:; '.1993). Butler App. No. CA91-04-
                                    I
                                    J060. unreported, at pages 13-15, affirmed, State v Williams (1995). 73 Ohio

                                    jst.3d 153. 652 N.E.2d_ (the issue was not even raised in the Supreme Court).
                                1
                            II                  A sirnil ar instruction in State v HWs (1992). 62 Ohio St. 3d 357. 375. 582

                             iJN.E.2d 972. 988. that told the jury that "you should recommend the appropriate
                                'II
                                llsentence as though your recommendation will, in fact. be carried out ... and the
                             II
                            ~~hio Supreme Court stated, "we commend the trial judge for his instruction.·
                            !!                  Since Jenkins, while the Court has held that such instruction accurately
                            Jl

                            1lstates Ohio law and does not canst itute reversible error. it has also stated its
                            1l

                            il"preference· that no comment be made on the question of who bears the ultimate
                            1-
                                 I
                            lfrespons i bil i ty for determining the appropriateness of a death sentence.                                     See.
                            I.'I
                            ~~.g., State v Loza (1994), 71 Ohio St.3d 61. 73-74, 641 N.E.2d 1082, 1099: State
                            II
                            i(           Henderson           (1988), 39 Ohio St.3d 24, 30: 528 N.E.2d 1237, 1243; State v
                            l1

                            l~illiams                  (1986), 23 Ohio St.3d 16, 21-22, 490 N.E.2d 906. 912; and State v
                            II
                            ~~teffen (1987), 31 Ohio St.3d 111. 113-114. 509 N.E.2d 383. 387-388.                                              The

                            //instruction given by this Court in the Williams trial is not only an accurate
                            q
                            )statement of Ohio law but also ensures that the jury takes its responsibility
                            II
                            i!very seriously. The State therefore requests that the same instruction be given
        omce: oF            II
 p=~~~~~~~~N~~RH~~v ,~herein, as approved by the Court of Appeals and "commended" by the Supreme Court
    JOHN F. HOLCO!o<B       I·
 PROSECUTING ATTORNEY       1
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216 SOCIETY BANK .BUILDING jl
       P.O. BOX 515        J.1
  HAMIL TON. OHIO 45012     1
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                                                                                                              VON CLARK DAVIS v. WARDEN
                                                                                                                   CASE NO. 2:16-cv-00495
                                                                                                                    APPENDIX - Page 5016
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 156 of 200 PAGEID #: 5051




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                                    WHEREFORE. the defendant's motiP0.:sb.ou~~~'. p~ ,overr6ie8':
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                            I                                       JOHN F. HOLCOMB (0001499)
                            i                                       PROSECUTING ATTORNEY
                            il                                      BUTLER COUNTY, OHIO
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                            II                                      ASSISTANT PROSE ING ATTORNEY
                            \I                                      BUTLER COUNTY, OHIO
                                I
                            )1                                      216 Society Bank Building
                            II
                            'I                                      Hamilton. Ohio 45012-0515
                            lr                                      Telephone (513) 887-3474
                            11
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                            'III                               PROOF OF SERVICE
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                            i~his   is to certify that a copy of the foregoing Memorandum was sent to Ronald C.
                            ~~organ. llO N. Third St. Hamilton. Ohio 4501l. and Lynn Cunningha . 16 Dayton
                            r5t .. Hamil ton. Ohio 4501l by U.S. regular mail this ct..:/__ day of            .
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 PROSECUTING ATTORNEY
  BUTLER COUNTY, OHIO
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    JOHN F. HOLCOMB           I
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 PROSECUTING ATTORNEY
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                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                  APPENDIX - Page 5017
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 157 of 200 PAGEID #: 5052




                                        STATE OF OHIO                                                              CASE NO.       CR95·12·1111
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                                                                                                   lJ                            ~A qb-OS- 00    'ii
                                                    Plaintiff                                    OF OHIO:         ~TATE
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                                                            • c"     ·" ·L 0c u1 P
                                                              ..; 3 JL;           , rn
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                                             vs.                                           COURT OF COMMON PLEAS
                                                                     T. :: · · · ~·:.~·~_q (Moser. J.)
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                                                                      cu:::: . (.;(                C(JI~,,:~:.~'., ·. _;;··.,,
                                                                ~ I   L t.. -                      ·"
                                    ILAHRAY THOMPSON                     p,·:
                                    I
                                                    Defendant
                               lj
                               II

                               !J
                               )I

                               [\            Now comes John F. Holcomb. Prosecuting Attorney. and in opposition to the
                               l
                               [[defendant's requested pre-voir dire jury instructions, filed herein on April 4.
                               II
                               i/1996, says that the defendant's motion is proper in general, in that preliminary
                               1l

                              !lrema rks about the procedures i nvo 1ved in a capita 1 case are appropriate; however.

                               j\the prosecution objects to the defendant· s proposed instructions. and says that
                               II
                              J/the preliminary instructions and remarks as given by this Court in State v 8enae
                              II
                              i/0993). Butler C.P. No. CR93-02-0116, affirmed in State v Benge (Dec. 5, 1994).
                              J!
                              iiButler App. No. CA93-06-116. unreported. are tested, correct instructions on the
                              :I
                              liconcepts which should be addressed in commencement of the voir dire in a capital
                              !I
                             iFase. (Certain minor modifications would be in order inasmuch as there is no
                             I!

                             Jhonger a "special venire· for capital cases after repeal of former R.C. 2945.18
                             II
                             ![and 2945.19.)
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       OFFICE Of'            1
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 PROSECUTING ATTORNEY        I.
  BUTLER COUNTY. OHIO        'I
    JOHN F. HOLCOMB
                             lil1
 PROSECUTING ATTORNEY        I•'

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                                                                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                                                                      CASE NO. 2:16-cv-00495
                                                                                                                                       APPENDIX - Page 5018
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 158 of 200 PAGEID #: 5053




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                                                            ,ss ,J u~-2Y Pn ~ 16               c ~- :.~ . .;;: ··
                                          WHEREFORE. the defendant'.s.xnot:ion.should be granted in part. defendant's
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                                                                r... '     l. , , '/      f··   .-        ,"'\     r. I '. ~-      'T   "




                                    proposed instructions shouldLtYe'~eJ~ct~ct>~~d instructions as given in State v
                                    ~.     or similar preliminary remarks. should be given.
                                                                                                     Respectfully submitted.
                           I!
                               'I
                                                                                                     JOHN F. HOLCOMB (0001499)
                           I.                                                                        PROSECUTING ATTORNEY
                           11                                                                        BUTLER COUNTY, HIO
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                                                                                                     DANIEL J. GATT RMEYER (0031305
                           J!
                                                                                                     ASSISTANT PRO CUTING ATTORNEY
                           I!                                                                        BUTLER COUNTY, OHIO
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                                                                                                     ASSISTANT PROSE ING ATTORNEY
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                                                                                                     BUTLER COUNTY, OHIO
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                                                                                                     216 Society Bank Building
                           ,,                                                                        Hamilton. Ohio 45012-0515
                                                                                                     Telephone (513) 887-3474
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                           ~~his is to certify that a copy of th~ foregoing Memorandum was sent to Ronald C.
                           1 ~organ. 110 N. Third St. Hamilton. Ohio 45011. and Lynn Cunningharw)616 Dayton

        OFF'ICEOF'
 PROSECUTING ATTORNEY
  BUTL.ER COUNTY. OHIO
                           1St .. Hamilton. Ohio 45011 by U.S. regular mail this J-'{ day of
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    JOHN F'. HOLCOMB       I'
 PROSECUTING ATTORNEY      1
                               ;                                                                     DANIEL J. GAm EYER <0031305)
                           !)                                                                        ASSISTANT PROS CUTING ATTORNEY
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       P.O. BOX 515
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  HAMILTON. OHIO 45012     !I
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                                                                                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                                                                                         CASE NO. 2:16-cv-00495
                                                                                                                                                          APPENDIX - Page 5019
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 159 of 200 PAGEID #: 5054




              STATE OF OHIO                                                                CASE NO. CR95·12·1111
                                                                                                    C f\q b- 0 5- OOC(~
                          Plaintiff                                                        STATE OF OHIO
                                                                                           COUNTY OF BUTLER
                   vs.
                              '~) ('J.   :u'lIi - 2 Lf       I)   iT:   1   ~   ..
                                                                                           COURT OF COMMON PLEAS
                                '-'·     U        -          fri            J.~            (Moser. J.)

                                                                                              MEMORANDUM IN RESPONSE TO
                          Defendant-·                                                       . DEFENDANT'S "VOIR DIRE MEMORANDUM"
                                                                                     . ;· '· RE "THE DEFENSE MUST BE ALLOWED
                                                                                              TO EXAMINE PROSPECTIVE JURORS
                                                           J<•                                REGARDING THEIR VIEWS ON CAPITAL
                                                  !   .~                                      PUNISHMENT PRIOR TO THEIR EXCUSAL"




                                                                                                     VON CLARK DAVIS v. WARDEN
                                                                                                          CASE NO. 2:16-cv-00495
                                                                                                           APPENDIX - Page 5020
 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 160 of 200 PAGEID #: 5055




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                                    reversed absent a showing that          th~-t~ial                      cotJFfE§tlGsed its discretion in
                                                                'SG   JU~     2Y Prl l                      1~
                                    restricting the scope of voir dire,.,     .~ee      Heurtas. id .. State v Jenkins 0984).
                                                                      I.   •'••·•   . . . , ....••.•   !

                             !15 Ohio St. 3d 164. 186. 473 Ni-:2d;'26:4. Ci86:; :ahd State v Lundaren (1995), 73
                            I
                             /Ohio St.3d 474. 481. 653 N.E.2d 304. 315. Restrictions on voir dire have

                            !generally been upheld. see Lundaren, id .. and numerous cases cited therein.
                            ,,
                            11            The fact that 1at i tude is all owed counse 1. however. does not mean that a
                            ,,
                            iljuror whose views on capital punishment renders him subject to challenge for
                             .,
                            !!cause because "those views would prevent or substantially impair the performance
                            i.,,l
                            ~f his duties as juror in accordance with his instructions and his oath." see
                                I
                            lrainwriqht v Witt 0985), 469 u.s. 412. 420. can be fully "rehabilitated" by
                            /;
                            !/further
                            I'
                                      examination of defense counse 1. "If a tria 1 court finds that a juror has
                            1/

                            [!expressed unwillingness to fall ow the court· s instructions. the abi 1ity of
                                I
                            ~~efense        counsel to elicit somewhat contradictory views from the juror does not.

                            J~n and of itself. render the trial court's judgment [to exclude the juror for
                            11

                            /:cause] erroneous." State v frazier (1995). 72 Ohio St. 3d 323. 328. 652 N. E. 2d
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                            ri
                            ijOOO. 1007; State v Beuke (1988). 38 Ohio St.3d 29, 38. 526 N.E.2d 274. 284.
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 PROSECUTING ATTORNEY       1.1
  BUTLER COUNTY, OHIO


    JOHN F. HOLCOMB         il
 PROSECUTING ATTORNEY       11
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                                                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                                                             CASE NO. 2:16-cv-00495
                                                                                                                              APPENDIX - Page 5021
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 161 of 200 PAGEID #: 5056




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                                                           I[·""'    Ill'

                                                            --· J   Jut..                              '·-   ·
                            II      WHEREFORE. the defendant. s rmohon: th'a:L his counsel be permitted to make
                            I                                 (; L. c::: .:_ '·. i· cc1__1 :~. T3
                            llreasonable examination of prospective jurors in the discretion of the Court.

                            ~pursuant to R.C.
                            11
                                                2945.27. Crim.R.      ~(C),      and Ohio case law. should be granted.
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                            II
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                            I'                                              Respectfully submitted.
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                                                                            JOHN F. HOLCOMB (0001499)
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                            I'                                              PROSECUTING ATTORNEY
                            1\                                              BUTLER COUNTY, OHIO
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                                                                            216 Society Bank Building
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 PROSECUTING ATTORNEY       I''
  BUTLER COUNTY, OHIO


    JOHN F. HOLCOMB         ~~
 PROSECUTING ATTORNEY       [f
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216 SOCIETY BANK BUILDING   1:
       P.O. BOX 515         \i
  HAMILTON, OHIO 45012
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                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                  APPENDIX - Page 5022
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 162 of 200 PAGEID #: 5057

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                           IJMorgan. 110 N. Third St. H. p_m~_:l~\)~.·~-~_.?.io 1 45011, and Lynn Cunningh"h6 Dayton
                            St .. Hamilton. Ohio 4501lc~:cU~S;;rr~~·~!,:a.fc.:mail this --4 day of                 .
                               jl996.                                 . - ......                                           0
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                          II                                            DANIEL J. GA ERMEYER (00313 )
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                                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                                            CASE NO. 2:16-cv-00495
                                                                                                             APPENDIX - Page 5023
 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 163 of 200 PAGEID #: 5058



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                            lsTATE    OF OHIO                                                  CASE NO.    CR95·12·1111
                             I                                          :-:LED                            c. P...<t~- o s -ool'~
                            ,,                Plaintiff                                        STATE OF OHIO                   \
                                                      ISS JGL ll Pi:1 2 LJ?couNTY                     OF BUTLER
                            II        vs.                                                      COURT OF COMMON PLEAS
                                                             T. I:: .::.         ~·.· .. :.!   (Moser. J.)
                            II
                                                            CLf. R:<.    ·; ;:   C~ ~;:~ TS
                                 LAHRAY THOMPSON
                                                                                                    MEMORANDUM IN RESPONSE TO
                                                                                                    DEFENDANT'S "VOIR DIRE MEMORANDUM"
                                                                                       ~:           RE "VENIRE PERSONS WHO CANNOT FAIRLY
                                                                          \\ ·.:·.. ·:~ . (-.~QNSIDER MITIGATING EVIDENCE AND
                                                                .• 1\           ·c..l. ;;.- "~·. \?-WflO WOULD AUTOMAT! CALLY VOTE FOR
                                                                         ;,\:.. ·,~·\.· •.. DEATH UPON A SHOWING OF GUILT
                                                                                                    MUST BE EXCUSED"




                            j         N~    comes John F.    Holc~b.              Prosecuting     ~torn~.      and in response to the
                            l/defendant's "voir dire memorandum" regarding "venire persons who cannot fairly
                            Iconsider mitigating evidence and who would automatically vote for death upon a
                             showing of guilt must be excused." filed herein on April 4. 1996. says that the
                            jdefendant's initial proposition of law. as stated in the motion's heading. is
                            Icorrect ;n the abstract.         The State would agree with the defendant that it is the
                            ~purpose of voir dire to obtain fair.                     unbiased jurors who will have no difficulty
                            I following     the law applicable in this case. in particular the Ohio statutes
                             involving procedure in capital cases. R.C. 2929.03-2929.04. A person who in voir
                            dire states that he or she cannot fairly consider mitigating evidence and who
                            would automatically vote for death upon a showing of guilt. and thus would be
       OFFICE OF
 PROSECUTING ATTORNEY
                            unable to follow the penalty-phase jury instructions. is "unsuitable" to be a
  BUTLER COUNTY, OHIO


    JOHN F. HOLCOMB         juror. R.C. 2945.24(0).
 PROSECUTING ATTORNEY




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      P.O. BOX 51!5
  HAMILTON, OHIO 45012




                                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                                               CASE NO. 2:16-cv-00495
                                                                                                                APPENDIX - Page 5024
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 164 of 200 PAGEID #: 5059




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                                       This is not to say, however. that the prosecution accepts defendant's

                                formulation that the defense should be allowed to show bias in favor of imposing

                            1the death penalty "circumstantially," by asking prospective jurors whether they
                            I
                            'may feel that certain specific mitigating factors such as "youth." "history,

                                ,character and background," would carry some. little. or no weight in a sentencing

                           rl   decision.   In Stilte   ~   Lundaren 0995). 73 Ohio St. 3d 474. 481. 653 N. E. 2d 304.

                           /1315, the Ohio Supreme Court rejected the defendant's assumption that jurors may

                           jl   be voi r-di red in such a way. finding that a trial court had "exercised

                           jlappropriate discretion in not allowing jurors to be asked if they would consider

                           !specifically named mitigating factors."               The Court in Lundaren reasoned that

                           //      "weighing aggravating circumstances against mitigating factors is a
                           1
                                   complex process. Jurors weigh mitigating factors together. not singly,
                           ~       and do so collectively as a jury in the context of a penalty hearing.
                           :       Reali sti ca lly. jurors cannot be asked to weigh specific factors until
                                   they have heard all the evidence and been fully instructed on the
                                   applicable law. Moreover. 'evidence of an offender's history, character
                                   and background' that is not found to be mitigating 'need be given little
                                   or no weight against the aggravating circumstances.· State v. Stumof
                                   (1987). 32 Ohio St.3d 95. 512 N.E.2d 598. paragraph two of the syllabus."

                                Lundgren. id. at 481. 653 N.E.2d at 315.
                                      The defense motion is also premature. in that it anticipates possible

                                responses of potential jurors that may never arise. The question must be

                                determined with each juror on a case-by-case basis. and not in the abstract:
         OFFICE OF
 PROSECUTING ATTORNEY
  BUTLER couNTY. oHIO           there are many cases where jurors were alleged to be "pro-death" because of
   JOHN F. HOLCOMB
 PROSECUTING ATTORNEY
                                certain statements about consideration of mitigating evidence in the abstract.
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      soc~:~;~~~UILDING     yet they were found to be qualified jurors who would fairly and impartially
  HA!o!ILTON. OHIO 45012




                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                  APPENDIX - Page 5025
   Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 165 of 200 PAGEID #: 5060




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                             j/   consider a11 the evidence and follow the instructions of law. see Lundgren. id.
                             !
                                  "Their inability to conjure abstract mitigating factors does not reflect an
                                  inability to to be fair and impartial jurors." Lundgren. id. at 483. 653 N.E.2d
                                  at 316. See also State v Mack (1995). 73 Ohio St.3d 502. 509-510. 653 N.E.2d
                                  329. 335-336 (trial court did not abuse its discretion by refusing to remove for
                                  cause potential jurors with initial predisposition toward imposition of death
                                  penalty,   but who later stated they would follow trial          instructions).
                              i         WHEREFORE. the defendant's suggestion that his counsel be permitted to ask
                             1\

                             II prospective   jurors if they would consider specifically named mitigating factors
                             i'should be denied. and jurors's qualifications should be determined in accordance
                             !with the foregoing memorandum.
                                                                      Respectfully submitted.
                                                                      JOHN F. HOLCOMB (0001499)
                                                                      PROSECUTING ATTORNEY
                                                                      BUTLER COUNTY, OHIO



                                                                      DANIEL J. GA ERMEYER (0031305)
                                                                      ASSISTANT PROSECUTING ATTORNEY
                                                                      BUTLER COUNTY, OHIO



                                                                      DANIEL A. NAST F (0056263)
      OFFICE OF                                                       ASSISTANT PRO UTING ATTORNEY
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                                                                                       VON CLARK DAVIS v. WARDEN
                                                                                            CASE NO. 2:16-cv-00495
                                                                                             APPENDIX - Page 5026
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                              st .. Hamilton. Ohio 45011 by U.S. regular mail this /f'-A.... day' fJ....    •
                            11996.                                                           ;,
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                            I,I                                  DANIEL J. GA RMEYER (0031305)
                            :I                                   ASSISTANT PROSECUTING ATTORNEY
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                                                                 BUTLER COUNTY, OHIO




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  BUTLER COUNTY, OHIO


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                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                       CASE NO. 2:16-cv-00495
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 Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 167 of 200 PAGEID #: 5062



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                                ISTATE   OF OHIO                        . •      ,-:                               CASE NO.    CR95-12-1111
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                            \                   Plaintiff       T. :.; _:::::.      :::J    ~'-.                   ~~~~o~Fo~~LER
                                          vs.                  CLER.l': 0 r: C.:- '_::;n S COURT OF COMMON PLEAS
                                                                                                        ~~         (Moser. J.)
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                               jl   LAHRAy THOMPSON                   t1;~;\f.·~~\0''\              I


                                                            ~·-tf.·,\~~- ·}J.J •. ~                                ~~~ IN B~eesr*roN          To
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                               /,               Defendant'>--                         _ ,\
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                            il           Now comes John F. Holcomb. Prosecuting Attorney, and in opposition to the
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                           !!defendant's motion to prohibit death qualification of the jury or. in the

                            ~alternative, to seat separate juries for the guilt and penal~ phases of trial,
                            II filed     herein on April 4. 1996. says that the defendant· s arguments are not we 11
                            I
                            J,taken.
                            Jl

                                         Defendant's motion lacks merit on each of its propositions.                                          It is clear
                           :I1:
                           ilthat death-qualification of jurors is constitutionally proper. see State v
                           Jl

                            jiJenkins (1984). 15 Ohio St.3d 164. 473 N.E.2d 264. paragraph two of the syllabus:
                           il
                           1/see also State v Grant (1993). 67 Ohio St.3d 465. 476. 620 N.E.2d 50. 64.
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                                         It is also clear that separate juries cannot be seated for the penalty and

                           Jlgui l t phases of a capita 1 trial in Ohio. where by statute the same trial jury
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                           i whi ch determines guilt         must also make a recommendation of punishment. State v
                           :I
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                               1carter (1995). 72 Ohio St.3d 545. 559-560. 651 N.E.2d 965. 978. citing State v
                           p
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        OFFICE OF
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                           t/EffiiA      (1987), 32 Ohio St.3d 369. 372. 513 N.E.2d 744. 747-748.
  BUTI..ER COUNTY, OHIO
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   JOHN F. HOLCOMB         F
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                                                                                                                                   CASE NO. 2:16-cv-00495
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                                I,,,    WHEREFORE, the defendant's motion should be overruled.
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                                /!                                    Respectfully submitted,
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                                II
                                                                      JOHN F. HOLCOMB (0001499)
                             II                                       PROSECUTING ATTORNEY
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                                                                      BUTLER COUNTY, OHIO
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                                                                     DANIEL J. GATTE EYER (0031305)
                                /I                                   ASSISTANT PROSECUTING ATTORNEY
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                                                                     BUTLER COUNTY, OHIO
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                             II                                      DANIEL A. NASTOF (0056263)
                             li                                      ASSISTANT PROSE , TING ATTORNEY
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 PROSECUTING ATTORNEY       q
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  BUTLER COUNTY, OHIO                                                                        ~
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    JOHN F. HOLCOMB         !\                                       DANIEL J. GAERMEYER (0031305)
 PROSECUTING ATTORNEY       jl                                       ASSISTANT PROSECUTING ATTORNEY
                            II                                       BUTLER COUNTY. OHIO
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                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                         CASE NO. 2:16-cv-00495
                                                                                          APPENDIX - Page 5029
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 169 of 200 PAGEID #: 5064




                             II STATE     OF OHIO                                            CASE NO. CR95·12-llll
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                                  !             Plaintiff
                                                                             'SG JUL     ~ ~ &J~~LER0
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                             II           vs.                              ,,r.,,   ff~Q~~- FP~~!J OF   COMMON PLEAS
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                            II LAHRAy THOMPSON
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                            il                              ·",;"'        -· \ ,:_, i>-.'C(. . .NDUM IN OPPOSITION TO
                            II
                            I.                  Defendant                    \L.Y- "(.(:.\~- -DEFENDANT'S MOTION TO PROHIBIT
                              I                                   \i · ,.-..                  THE USE OF PEREMPmRY CHALLENGES
                            II
                            I.                                 ~·                             TO EXCLUDE JURORS WHO EXPRESS
                            ,r                                                                CONCERNS ABOUT CAPITAL PUNISHMENT
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                                j         Now comes John F. Holcomb. Prosecuting Attorney. and in opposition to the
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                           I)defendant's motion requesting that this Court prohibit the State from excluding,
                           II
                           li through the use of peremptory challenges. any jurors who express concerns about

                           il capital punishment. filed herein on April 4.1996. says that the defendant· s
                           il
                           tl
                           tl       argument is without merit.
                           II
                           i/             "Aside from racial exclusion. prosecutors can exercise a peremptory

                           ilcha ll enge for any reason. without inquiry. and without a court· s contra l . " Sllt..e
                           il
                           iiv         Seiber (1990). 56 Ohio St.3d 4. 13. 564 N.E.2d 408. 419. citing State v
                           It
                           !iEsoarza (1988). 39 Ohio St.3d 8. 13-14. 529 N.E.2d 192. 198 (both cases expressly

                           ilrejecti ng the argument made by defendant herein). The Ohio Supreme Court has
                           il
                           !!rejected defendant· s propositi on repeatedly si nee the [soarza and ~
                           i!
                           :idecisions. see State v Evans (1992). 63 Ohio St.3d 231. 249. 586 N.E.2d 1042.
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        OFFICE OF          1 !1057;      State v Waddv (1992). 63 Ohio St.3d 424. 451 n.ll. 588 N.E.2d 819. 839;
 PROSECUTING ATTORNEY      11

  BUTLER COUNTY, OHIO      il
    JOHNF.HoLco ... e      !;State v Cook (1992). 65 Ohio St.3d 516. 518. 605 N.E.2d 70. 76; State v. Slagle
 PROSECUTING ATTORNEY      J[

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  HAMILTON. OHIO 45012     Jl
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                                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                                             CASE NO. 2:16-cv-00495
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                            J\       (1992). 65 Ohio St. 3d 597. 600. 605 N. E. 2d 916. 922: and State v Wi 77 i ams
                            ,,
                            \1(1995}, 73 Ohio St.3d 153, 168. 652 N.E.2d 721. 734. Federal courts facing this
                                j/   issue have also rejected the defense argument. see. e.g . . Brown v Dixon ( CA 4.

                                /h989). 891 F. 2d 490. 496-498 Ccited by the Ohio Supreme Court in        ~) .     Bolder
                            ,,
                            ljv        Armentrout CW.D.Mo. 1989). 713 F.Supp. 1558. 1576-1577. and Korr/enbrock v.
                            \!
                            JiScroqqy (E.D.Ky. 1988). 680 F.Supp. 867, 911-912.
                            li
                                ;J        The limitation on peremptory challenges as set forth in Batson v Kentucky
                                rl
                           11(1986). 476 U.S. 79. would require that peremptory challenges not be used to
                           I
                           1lexclude
                           r,
                                     a member of a particular minority (racial or ethnic) for discriminatory
                            li
                            ijpurpose.         Other than the limitation established in Batson. however. it is "the

                            liordinary rule that a prosecutor may use his peremptory strikes for any reason at
                             [I

                            /Ia ll." Brown v North Caro 7i na (1986). 479 U.S. 940        (0 ·Connor.   J .. concurring in
                            j!
                           'Jdenial of certiorari).            Thus. aside from Batson. the right of peremptory
                           :,
                           :!challenge is entirely discretionary: a plurality of the United States Supreme
                           ,,
                          ,,r!Court waul d apparently agree that "nothing in Batson suggests that courts may

                           i~xamine         a prosecutor's motives whenever he has excluded peremptorily those whom
                           ji
                           ·I
                           ~he court may not remove for cause." Gray              v Mtssissjopi (1987). 481 U.S. 648.
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                           d
                                (Powell. J .. concurring opinion. in which three other justices concurred: see
                           :r
                           1 ~lso        id .. 481 U.S. at 679-680 (Scalia. J .. dissenting opinion).
        OFFICE OF          I'I
 PROSECUTING ATTORNEY      1.1.·

  BUTLER COUNTY, OHIO      'j

    JOHN F. HOLCOMB        ~
 PROSECUTING ATTORNEY      ~~
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                                                                                                CASE NO. 2:16-cv-00495
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                                   WHEREFORE. the defendant's motion should be overruled.
                           li
                                                                  Respectfully submitted.
                            I'
                            'I                                    JOHN F. HOLCOMB (0001499)
                            II                                    PROSECUTING ATTORNEY
                           II                                     BUTLER COUNTY, OHIO
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                                                                  DANIEL J. GATT RMEYER (0031305)
                           i                                      ASSISTANT PROSECUTING ATTORNEY
                           II                                     BUTLER COUNTY, OHIO
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                           II                                     D I L A. NAST FF 056263)
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                                                                  ASSISTANT PROSEC ING ATTORNEY
                           II                                     BUTLER COUNTY, 0 IO
                           II,,
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 PROSECUTING ATTORNEY
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                                                                 DANIEL J. GA ERMEYER (0031305)
  BUTLER COUNTY. OHIO      i                                     ASSISTANT PROSECUTING ATTORNEY
   JOHN F. HOLCOMB         li                                    BUTLER COUNTY . OH I0
 PROSECUTING ATTORNEY      ~~

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                                                                                  VON CLARK DAVIS v. WARDEN
                                                                                       CASE NO. 2:16-cv-00495
                                                                                        APPENDIX - Page 5032
  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 172 of 200 PAGEID #: 5067




                                  .STATE OF OHIO                                                  CASE NO.    CR95·12·1111

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                                                  Plaintiff Jl'l
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                                                                                                  STATE OF OHIO
                                                                          -                       COUNTY OF BUTLER

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                                          vs.                ";
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                                                                                                  COURT OF COMMON PLEAS
                                                                                                  (Moser. J.)
                             :.·    LAHRAY THOMPSON       f\\I.O    ~\\ ~ C':. JH'T'('
                                                             t;:'.;: ~~~·
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                                                                         ,. \ '\ ·r _,S                 MEMORANDUM IN OPPOSITION TO DEFENDANT'S
                             :.1'                Defendant              ·- -· 1... . _., ,. o C ~T~N TO ~~:IT ANY RE[fRENC~
                                                                             ··'··· \··~ \:::~-~- (. \~ _    E FIRS___ E AS THE :_UILT P_E"
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                             "            Now comes John F. Holcomb. Prosecuting Attorney. and in opposition to the

                            ;J      defendant· s motion to prohibit any reference to the first stage of tria 1 as the
                            l·guilt phase·. filed          herein~ April                 18. 1996. says that the defendant's          m~ion
                            :!
                            ~is        not well taken.

                            'I
                            /.            Defendant's motion is backed by neither law nor effective argument.                           It is

                            ~implausible that re~rence to the first stage of a capital                             trial where the issue
                            //of guilt ve 7 non is determined will influence the jury· s verdict. see State v.
                              i
                            /!Cam,obell (1994). 69 Ohio St.3d 38. 51. 630 N.E.2d 339, 352. The Court and parties
                            ~will re~r to this stage of trial                     as "the guilt phase.· if at all. in a context
                            ilof explaining in voir dire that there will be two separate parts of the trial,
                            ,,
                            1/the first of which determines whether defendant is guilty or not guilty of
                            ·I
                            ,,~aggravated       murder. with or without specifications. or guilty or not guilty of any
                            "
                            ::other offenses charged or any lesser included offenses.

       OFFICE OF            lj'           It would be quite inaccurate to label this stage of the proceedings the
 p=~~~~~~~~N";;~':~y        :
    JOHNF.HOLCOMB           i\"trial phase" or "evidentiary phase" inasmuch as it takes both phases to
 PROSECUTlNG ATTORNEY       :!
                            /!constitute the "trial," and evidence is to be recieved at both phases. The
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                                                                                                             VON CLARK DAVIS v. WARDEN
                                                                                                                  CASE NO. 2:16-cv-00495
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                             !!defense suggestion that this be labeled the "fact-finding" stage. aside from
                                     being unwieldy, is likewise inaccurate as the jury in determining sentence in the
                                     second stage of the proceedings will also determine whether the proffered
                                 .mitigating evidence is "fact."
                                           WHEREFORE. the defendant's motion should be overruled.
                                                                          Respectfully submitted.
                                                                          JOHN F. HOLCOMB (0001499)
                                                                          PROSECUTING ATTORNEY
                                                                          BUTLER COUNTY, OHIO




                                                                          DANIEL A. NASTO F 0056263)
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  BUTLER COUNTY, OHIO        ~~

    JOHN F. HOLCOMB          I
 PROSECUTING ATTORNEY        :i

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                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                               CASE NO. 2:16-cv-00495
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  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 174 of 200 PAGEID #: 5069




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                          !I St ..         Hamilton. Ohio 45011 by U.S. regular mail this jffl....- day pf _/ '(L   .
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                          I        1996.                                                              /      /
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                          !.                                              DANIEL J. GA ERMEYER (0031305)
                          I                                               ASSISTANT PROSECUTING ATIORNEY
                          II                                              BUTLER COUNTY' OHIO

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 PROSECUTING ATTORNEY
  BUTLER COUNTY, OHIO


    JOHN F. HOLCOMB       1   '1



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  HAMILTON. OHIO 45012




                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                               CASE NO. 2:16-cv-00495
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                                ISTATE OF OHIO                                                               :
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                                          vs.                  -1 • ,' .. . ·~ l'..«\~~-,· ~-( 0        OURT OF COMMON PLEAS
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                                                                • 1· ....·rt.~ \':' "'Go\J •
                                                            CLFH~\\~ ,(.. v·.~ .. 1 ~                            .-. ~r;, (Moser, J.)
                                                                            "'                          .·. =\   \.J J    J        ~~
                                                                                               ,.        \                   - c;:.,. I
                                    LAHRAY THOMPSON                                        J   -~ · -                •   f)._tJ ~ :1.. \-
                               I·                                                               ., 9.+{          f~ \M~6RANDUM IN OPPOSITION TO
                                                   Defendant                .....          '\f. .                    DEFENDANT'S MOTION TO PROHIBIT
                                                                                 '   ..
                                                                                                                     DEATH QUALIFICATION UNTIL PROSECUTION
                               :I
                                                                                                                     SHOWS PROBABLE CAUSE THAI CASE
                           II                                                                                        WILL PROCEED TO MITIGATION
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                           '·I'ji
                           I             Now comes John F. Holcomb. Prosecuting Attorney. and in opposition to the
                           'I
                           I·
                           )!defendant's motion to prohibit death qualification of the jury unless and until
                           I
                           j/the prosecution has shown probable cause that the case will proceed to mitigation

                           ~~phase. filed herein on April 4. 1996. says that defendant's argument 1s not well

                               itaken.      While defendant's ploy is to eliminate death-qualification of jurors

                           ~altogether.           it is well-established that death qualification is constitutionally

                           jlproper. see State v Jenkins (1984). 15 Ohio St.3d 164. 473 N.E.2d 264. paragraph
                           il
                           :  two of the syllabus; see also State v Grant (1993). 67 Ohio St.3d 465. 476. 620
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                           I·
                           .IN.E.2d 50, 64.               The United States Supreme Court has refused to accept the
                           !·
                           !!argument that the exclusion of                               "Withersooon-excludables"                           (jurors whose opposition
                           il
                           ~to        capital punishment makes them unable to fairly sit as jurors and apply the
                           'I
                           !I
                           IJl aw) results in an unrepresentative jury on the issue of guilt or increases the
                           ii
        OFFICE OF          /risk of conviction.       Lockhart v McCree (1986). 476 U.S. 816; see also
 PROSECUTING ATTORNEY
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  BUTLER COUNTY, OHJO
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    JOHN F. HOLCOMB        !;Withersooon v             Illinois         (1968). 391 U.S. 510. 517-518. and                                           Bumoer v. North
 PROSECUTING ATTORNEY
                           ·I
                           l··caro]ina          (1968, 391 U.S. 543, 545.
216 SOCIETY BANK BUILDING II
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  HAMILTON, OHIO 45012




                                                                                                                                            VON CLARK DAVIS v. WARDEN
                                                                                                                                                 CASE NO. 2:16-cv-00495
                                                                                                                                                  APPENDIX - Page 5036
    Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 176 of 200 PAGEID #: 5071




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                                 ~          Before enactment of the current death penalty statutes. the proposition

                                  iJthat a voir dire procedure conducted pursuant to Witherspoon would result in a
                                 iIl
                                 lJconviction-prone jury was rejected by the Ohio Supreme Court in State v Carver
                                 II
                                 Ji   (1972). 30 Ohio St.2d 280, 59 0.0.2d 343. 285 N.E.2d 26. where the Court reasoned
                                 Jl
                                 lithat such a procedure would not have imbedded in the minds of the jurors that

                                 ~~defendant was guilty and that they will      merely be determining the penalty. Id.
                                 )irn State v Jenkins. the Court re-examined the issue and specifically held. at
                                 d
                                 \lparagraph two of the syllabus. "to death qualify a jury prior to the guilt phae
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                                 i1of a bifurcated capital prosecution does not deny a capital defendant a trial by
                                 II
                                 jlan impartial jury."
                                 ,,
                             I!            Defendant's only citation in support of his proposition was Griqsbv v
                             II
                             II
                             ::~ (E. D. Ark.          1983). 569 F. Supp. 1273: defendant fails to note. however. that
                             ,,
                             11the result in Griqsbv was nullified by the United States Supreme Court in
                             lj
                             II Lockhart v McCree. supra.
                             ,,
                             :             The defendant engages in the absurd assumption that the State would "secure
                             II
                             ~a         capital   indictment for the sole purpose of enhancing the chances of
                             II
                             il
                             11convi ct ion. " (Sic. Defense Memorandum at page 4. ) This derogates the role of the
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                             ;i
                             !;grand
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                                     jury in determining probable cause for the charges set forth in the
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                             :lindictment.
                             [I
                                           as well as personally insults the prosecutors in this case.           There
           OFFlCE OF
    PROSECUTING ATTORNEY     rl
     BUTLER COUNTY. OHIO     Jlshould rather be a presumption that the grand jurors and prosecutors competently
      JOHN F. HOLCOMB        !/
    PROSECUTING ATTORNEY
                             !1and faithfully performed their legal and ethical duties. contrary to the
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    'ssac~~ :~~~'~WILDING    :!defendant· s assumption that they did not.
     HAMIL TON. OHIO 45012   d
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                                                                                          VON CLARK DAVIS v. WARDEN
                                                                                               CASE NO. 2:16-cv-00495
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  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 177 of 200 PAGEID #: 5072




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                                          Failing in his argument to block death-qualification of the jury, defendant
                            J,

                            /lin the alternative seeks. in effect. a second "preliminary hearing" at which the
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                            ~prosecution should again establish probable cause that the de~ndant is gull~
                            !:of aggravated murder in violation of R.C. 2903.01 with one of more R.C.
                            ~2929.04(A)        specifications. This should be denied, for the reason that no such
                            il
                            ~redundant procedure is provided for in the Ohio statutes or procedural rules
                            I.
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                                    governing capital trials. and the Court cannot create a procedure from the void,
                            Jfsee State v Penix (1987). 32 Ohio St.3d 369, 372-373, 513 N. E.2d 744, 747-748
                            iJcwhere no statutory procedure to reimpanel the trial jury for a resentencing
                            jlheari ng after reversal on appeal, "we may not create such a procedure out of
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                            l!who l e cl oth") .
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                                          WHEREFORE. the defendant's motion should be denied.
                            i!
                            I                                            Respectfully submitted.
                            jl
                                                                        JOHN F. HOLCOMB (0001499)
                                                                        PROSECUTING ATTORNEY
                                                                        BUTLER COUNTY. OHIO



                                                                        DANIEL J. GATT RMEYER (0031305
                                                                        ASSISTANT PROSECUTING ATTORNEY
       OFFICE OF
 F'ROSECUTING ATTORNEY
                                                                        BUTLER COUNTY. OHIO
  BUTLER COUNTY. OHIO


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  HAMILTON. OHIO 45012.     I;
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                                                                                         VON CLARK DAVIS v. WARDEN
                                                                                              CASE NO. 2:16-cv-00495
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  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 178 of 200 PAGEID #: 5073




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                                                                         DANIEL A. NASTOFF.      056263)
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                              [,                                         216 Society Bank Building
                                                                         Hamilton. Ohio 45012-0515
                              II                                         Telephone (513) 887-3474

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                              rl'  This is to certify that a copy of the foregoing Memorandum was sent to Ronald C.
                                   Morgan. 110 N. Third St. Hamilton. Ohio 45011. and Lynn Cunningh.a-m-J;- 6.1? Dayton
                                 ! .. Hamilton. Ohio 45011 by U.S. regular mail this f/1-t--day of': _,..ft._ [If_
                                   St                                                                                  ,
                                 i 1996.                                                              -..;
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                                                                         DANIEL J. GATT RMEYER (0031305)
                                                                         ASSISTANT PROS CUTING ATTORNEY
                                                                         BUTLER COUNTY, OHIO




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 PROSECUTING ATTORNEY        :
  BUTLER COUNTY, OHIO        II
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    JOHN F'. HOLCOMB         .,

 PROSECUTING ATTORNEY
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                                                                                               CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 179 of 200 PAGEID #: 5074




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                                !I STATE OF OHIO                                                  CASE NO.        CR95·12-llll
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                                t!                  Plaintiff                                     STATE OF OHIO                                  \
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                                                                 ' sGJL:. 11             Fi ; 2 eO]INTY  oF suTLER
                                11           vs.                                                  COURT OF COMMON PLEAS
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                                                                       T. :.,\r~:'. :: ... :..:.::(Moser.. J.)
                                tl                                    CLFf~K OF~-
                               :: LAHRAY THOMPSON               f\\.!P._~il !~1mg~~n'<. o\-\\0

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                                                   Defendant
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                                                                                         :        MEMORANDUM IN OPPOSITION TO


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                             j!"
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                            ,,II             Now comes John F. Holcomb. Prosecuting Attorney, and in opposition to the
                             tl
                            'ldefendant's
                            I·
                                          motion to strike aggravating circumstances under R.C. 2929.04CA)(3).
                             tl
                            /!en           filed herein on April 4. 1996. says that the defendant's arguments are not
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                            li well taken .
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                            ,:               Defendant's   argument           is        nothing      more       than       an       attack           on   the
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                            li canst i tuti on al ity of the Ohio death penalty statutes. The Supreme Court of Ohio
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                            1;         has repeatedly rejected such arguments and has he 1d the death pen a1ty statutes
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                           iiconstitutional in many of the more than one hundred capital cases decided by the
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                           ::court. from the detailed analysis in State v Jenkins (1984). 15 Ohio St.3d 164.
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                           ::167-179. 473 N. E. 2d 264. 272-281. and at paragraph one of the syllabus. through
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                                   the more recent summary dispositions of this issue in State v Loza (1994). 71
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                                  St.3d 61. 84. 641 N.E.2d 1082. 1106. and most recently. State v Fautenberrv
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                           !;0995). 72 Ohio St.3d 435. 443. 650 N.E.2d 878. 885. and State v Carter (1995).
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       oFFICEOF
 PROSECUTING ATTORNEY
                           'i72 Ohio St.3d 545. 560-561. 651 N.E.2d- -
                           I'
  BUTLER COUNTY. OHIO      ~~

    JOHNF.HOLCOMB          ;!                Summary disposition of these time-worn arguments is appropriate: this
 PROSECUTING ATTORNEY      '1



                           ~Court. like the Ohio Supreme Court. should not "waste its valuable judicial
216 SOCIETY BANK BUILDING f1
       P.O. BOX 515        jl
  HAMILTON, OHIO 45012




                                                                                                                VON CLARK DAVIS v. WARDEN
                                                                                                                     CASE NO. 2:16-cv-00495
                                                                                                                      APPENDIX - Page 5040
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 180 of 200 PAGEID #: 5075



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                            ilresources discussing what continues as well-settled law," State v. lawson 0992).
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                            j[64 Ohio St.3d 336, 351, 595 N.E.2d 902, 913.   See also State v Hawkins 0993).
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                            ff66 Ohio St.3d 339. 342-343. 612 N.E.2d 1227. 1230; State v Bonnell (1991), 61
                            Jl

                        iiOhio St.3d 179. 181. 573 N.E.2d 1082. 1085; and State v Poindexter (1988). 36
                        II
                            ~Ohio St.3d 1. 3-4. 520 N.E.2d 568. 571.
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                            tl
                        i          WHEREFORE. the defendant's motions should be overruled.
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                        ['                                        Respectfully submitted.
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                        !j                                        JOHN F. HOLCOMB (0001499)
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                        IJ                                        PROSECUTING ATTORNEY
                        II                                        BUTLER COUNTY, OHIO
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                                                                  ASSISTANT PRO UTING ATTORNEY
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PROSECUTING ATTORNEY
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                                                                                 VON CLARK DAVIS v. WARDEN
                                                                                      CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 181 of 200 PAGEID #: 5076



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                            [.:Morgan. 110 N. Third St. Hamilton. Ohio 45011. and Lynn Cunningh.9J     .. 616 Dayton
                            il St .. Hamilton. Ohio 45011 by U.S. regular mail this ..JI:.!_ day of.' ; k'          .
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  HAMILTON. OHIO 4501Z      I!

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                                                                                    VON CLARK DAVIS v. WARDEN
                                                                                         CASE NO. 2:16-cv-00495
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Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 182 of 200 PAGEID #: 5077


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                                 lisTATE        OF OHIO                                                                                   CASE NO.           CR95-12-1111

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                                       \                           . ;:;.J JL·~ - -~                             11                 ' '   COUNTY OF. BUTLER
                                 II             vs.                          T ; ' ' c' '' _:,:                                           COURT OFJCO)MMON PLEAS
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                                           LAHRAY THOMPSON                                                            r~\~~o; , ,    ,o
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                                 III                                                                 ' ~;~~~ '-,:~ \0 "' MEMORANDUM IN OPPOSITION TO
                                  11                     Defendant           ,~~·,\" ~c.v'·/·'                                      . DEFENDANT'S CONSTITUTIONAL
                                 il                                         ''< / .                                     ·~           :.MJ1Jt11~ TO DISMISS
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                                                Now comes John F. Holcomb. Prosecuting Attorney, and in opposition to the
                                 ,,II
                                 lldefendant's constitutional motion to dismiss filed herein on April 18. 1996. says
                                 ,I
                                 ~that         the defendant's arguments are not well taken.
                                lj
                                II              Defendant's argument engages in a general attack on the constitutionality

                                 ~of         the Ohio death penalty statutes.                                                The Supreme Court of Ohio has repeatedly
                                ,,
                                /!rejected such arguments and has held the death penalty statutes constitutional
                                !II.
                                i/      in many of the more than one hundred capital cases decided by the Court. from the

                             ~~detailed               analysis in Stgte v. .koklni 0984). 15 Ohio St.3d 164. 167-179. 473

                             liN.E.2d 264. 272-281. and at paragraph one of the syllabus. through the more

                             I[ recent surrmary di sposi ti ons of this issue in                                                           Stat~ v.          Loza (1994 l. 71 Ohio St. 3d
                             II
                             /!61. 84. 641 N.E.2d 1082. 1106. State v Fautenberry (1995). 72 Ohio St.3d 435.

                            11443.             650 N.E.2d 878. 885. and State v. Carter (1995). 72 Ohio St.3d 545. 560. 651

                            ~N.E.2d 965. 979.
                            il
        OFFICE OF
 PROSECUTING ATTORNEY
                            11                  Summary disposition of these time-worn arguments is appropriate: this
                            I
  BUTLER COUNTY, OHIO


    JOHN F. HOLCOMB         !court. like the Ohio Supreme Court. should not "waste its valuable judicial
 PROSECUTING ATTORNEY


                                       resources discussing what continues as well-settled law," State v. Lawson (1992).
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                                                                                                                                                        VON CLARK DAVIS v. WARDEN
                                                                                                                                                             CASE NO. 2:16-cv-00495
                                                                                                                                                              APPENDIX - Page 5043
Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 183 of 200 PAGEID #: 5078



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                             1164 Ohio St.3d 336. 351. 595 N.E.2d 902, 913.   See also State v. Hawkins 0993).

                              166 Ohio St.3d 339, 342-343. 612 N.E.2d 1227. 1230: State v BQnnell (1991). 61
                             ·IOhi o St. 3d 179. 181. 573 N. E. 2d 1082. 1085: and Stqte v Poindexter (1988). 36
                             ~Ohio St.3d 1.   3-4. 520 N.E.2d 568. 571.
                             I      WHEREFORE. the defendant's motion to dismiss should be overruled.
                                                                    Respectfully submitted,
                                                                    JOHN F. HOLCOMB (0001499)
                                                                    PROSECUTING ATTORNEY
                                                                    BUTLER COUNTY, OHIO


                                                                          ~~~
                                                                    DANIEL J. GATT~EYER (0031305)
                                                                                                     )---
                                                                    ASSISTANT PROSECUTING ATTORNEY
                                                                    BUTLER COUNTY, OHIO



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    JOHN F. HOLCOMB
 PROSECUTING ATTORNEY        I

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  HAMILTON, OHIO 45012




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                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
                                                                                         APPENDIX - Page 5044
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                               St 0, Hamilton. Ohio 45011 by U.S. regular mail this ~day of               L';j'   .
                               1996   0                                                       '----"' /




                                                                        ~~~~ )~
                                                                   DANIEL J. GATT RMEYER (0031305)
                                                                   ASSISTANT PROSECUTING ATTORNEY
                                                                   BUTLER COUNTY, OHIO




          OFFICE OF
 PROSECLnnNGATTORNEY
  BUTLER COUNTY, OHIO


       JOHN F. HOLCOMB
 PROSECUTlNG ATTORNEY




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                                                                                   VON CLARK DAVIS v. WARDEN
                                                                                        CASE NO. 2:16-cv-00495
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  Case: 2:16-cv-00495-SJD-MRM Doc #: 4-39 Filed: 08/08/16 Page: 185 of 200 PAGEID #: 5080



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                                 II STATE OF OHIO                    ' cED                                          CASE NO.    c A~~1!~~: Oi:j 'i'(
                                                Plaintiff.-,,.. ,.,. _ p·•                                          STATE OF OHIO
                                 II                        .:;u JL·L 1-~ ~ i: 2                                  ti .3 COUNTY OF BUTLER

                                 ~               vs.                     T.     :.:.~.: ._ ~: .. :. ~:~             ~~~~!r~FJ~~MMON       PLEAS

                                 ·.        LAHRAY THOMPSON            CLER;z ;.'.•         -~ C:··,·c.;:~~
                                                                                          MEMORANDUM IN RESPONSE TO
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                                                                               #~~,~~~~~o DEFENDANT'S MOTION TO COMPEL
                                 1                     Defendant           \~ ~~:           ;.:S'   1
                                                                                                         •         PROSECUTING ATTORNEY TO
                                 ·                                 f(\\.\~ ,,,-;..··                         ·     p~SCLOSE DEATH PENALTY DATA
                                                                      ;_:;) •                  .    '\             •.', .   I

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                                                 Now comes John F. Holcomb. Prosecuting Attorney, and in response to the
                                           defendant's motion to compel the Prosecuting Attorney to disclose death penalty
                                           data. filed herein on April 18, 1996. says as follows:
                                                 Defendant's motion is based on a faulty premise and is not well taken.
                                       First of all. the trial court does not engage in the type of proportionality
                                       review of the case at bar with other cases as contemplated by R.C. 2929.05(A).
                                      which is strictly an undertaking of the appellate and Supreme Courts. Secondly,
                             i

                             !the idea that any court (trial. appellate. or Supreme Court) will consider cases
                             i
                             lin which the death penalty was not imposed for comparative proportionality review
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                                      purposes. is simply wrong. See State v Fautenberrv (1995). 72 Ohio St.3d 435.
                             ,443. 650 N.E.2d 878. 885, (rejecting the so-called "lucky ten" argument. that
                                      others in the jurisdiction of the court were similarly indicted and/or convicted
                                     of aggravated murder and aggravated robbery but failed to receive the death
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                             !penalty), citing State v .Sowell (1988). 39 Ohio St.3d 322. 335. 530 N.E.2d 1294.
  BUTLER COUNTY, OHIO


   JOHN F. HOLCOMB                1308. State v Steffen (1987). 31 Ohio St.3d 111. 123-124. 509 N.E.2d 383. 394-
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                                     395. and State v Jenkins (1984), 15 Ohio St.3d 164, 209. 473 N.E.2d 264. 304.
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                                                                                                                                VON CLARK DAVIS v. WARDEN
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                                       Moreover. defendant's request for cases in which the death penalty was not
                            : 1mposed. such cases are not utili zed in the appellate and Supreme Court· s
                                 proportionality review under R.C. 2929.05(A). see State v. Steffen. supra. at
                                 paragraph one of the syllabus.
                                       The Prosecuting Attorney therefore responds to the defendant's request with
                                 the following answer: to the knowledge of the Prosecuting Attorney, those cases
                                 in the Twelfth Appellate District in which the death penalty has been imposed and
                                 affirmed by that court are as follows.
                                         State v. Davis (May 27, 1986), Butler App. No. CA84-06-071,
                                                 unreported, remanded for resentencing, (1988), 38 Ohio St. 3d 361,
                                                 sentence affirmed in State v. Davis (Oct. 29, 1990), Butler App. No.
                                                 CA89-09-123, unreported, affirmed, (1992), 63 Ohio St.3d 44;
                                         State v. Depew (June 29, 1987), Butler App. No. CA85-07-075,
                                                 unreported, affirmed, (1988), 38 Ohio St.3d 275;
                                         State v. Watson (Mar. 31, 1989), ButlerApp. No. CA88-01-0'4,
                                                 unreported, death sentence reversed, (1991), 61 Ohio St.3d 1
                                         State v. Lawson (June 4, 1990), Clermont App. No. CA88-05-044,
                                                 unreported, affirmed, (1992), 64 Ohio St.3d 336;
                                         State v. Williams (Nov. 2, 1992), Butler App. No. CA91-04-060,
                                                 unreported, appeal now pending, Case No. 93-007;
                                         State v. Loza (Apr. 19, 1993), ButlerApp. No. CA91-11-198,
                                                 unreported, affirmed, (1994), 71 Ohio St. 3d 61;
                                         State v. Webb (May 24, 1993), Clermont App. No. CA91-08-053,
                                                 unreported, affirmed, (1994), 70 Ohio St.3d 325; and
                                         State v. Benfe (Dec. 5, 1994), Butler App. No. CA93-06-116,
                                                 unreported, appeal now pending, Case No. 95-112.



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                                    Wherefore. except as answered above. the defendant's motion should be
                             denied.

                                                                   Respectfully submitted.
                                                                   JOHN F. HOLCOMB (0001499)
                                                                   PROSECUTING ATTORNEY
                                                                   BUTLER COUNTY, OHIO


                                                                     ~(/~~
                                                                  DANIEL J. GAT1ERMEYER (0031305)
                                                                  ASSISTANT PROSECUTING ATTORNEY
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                            .      tqru_ St .. Hamilton. Ohio 45011 by U.S. regular mail this t · c: day of
                               . - .· l :      . 1996 .




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                                                                  ASSISTANT PROSECUTING ATTORNEY
 PROSECUTING ATTORNEY
  BUTLER COUNTY, OHIO                                             BUTLER COUNTY. OHIO
    JOHN F. HOLCOMB
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                               !j STATE OF OHIO                                                                                     CASE NO.   CR95-12-llll
                               H                                                                , IU:D                                         cA1b -c 5 -co 1<4-
                                                         Plaintiff                                                                  STATE OF OHIO                    \
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                                                                                                                   ?'- l\COUNTY OF BUTLER
                                              vs.                                                                                   COURT OF COMMON PLEAS
                                                                              T. !.~ .' .. : :~ 2 ... ~ _:: 1 (Moser. J.)
                                                                             CLt.R:: OF C-~-':U~tTS
                                        LAHRAY THOMPSON                                          tJl~~        MEMORANDUM IN oppOSITION TO DEFENDANT'S

                                                       Defendant .,. ,~.cP~:
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                                                                                                    . - .· ,:-
                                                                                                                            MOTION TO PROHIBIT ANY EVIDENCE
                                                                                                                           BEARING ON CHARACTER OF THE VICTIM
                                                                                                                           no VICTIM IMPACT
                                                                                                                        _. -~
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                                             Now comes John F. Holcomb. Prosecuting Attorney, and in opposition to the
                                        defendant's motion to prohibit any evidence bearing on the character of the

                               1
                                        victims or victim impact. filed herein on April 4. 1996. says that the
                               [defendant's argument is not well taken.
                                             Defendant's argument fails to consider the fact that the cases on which he
                           I
                           /relies.               Booth v    Marvland           (19B7). 4B2 U.S. 496. and                                       South Carolina v Gathers
                           I

                           ,(19B9). 490 U.S. 805. were overruled in                                                Pavne v                Tennessee   (1991). 501 U.S. BOB.
                           [which held that the Eighth Amendment erects no per se bar to the admission of
                               i
                           !victim-impact evidence. The Ohio Supreme Court has recognized this fact in
                                   numerous cases.          see. e.g .. State v                           Fautenberrv                     (1995). 72 Ohio St. 3d 435. 438-
                           I
                           il439. 650 N.E.2d 878. 882.
                           I                 In     Fautenberrv.       the Court held that "evidence which depicts                                                 both   the
                                   circumstances surrounding the commission of the crime and also the impact of the
       oF~cEoF                     murder on the victim's family may be admissible during                                                           both   the guilt and the
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   JOHN F. HOLCOMB
                                   sentencing phases."         Id.     (Emphasis per the Court in                                          Eautenberry.)     The Court cited
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                               State v            Loza    (1994). 71 Ohio St.3d 61. 82. 641 N.E.2d 1082. 1105. as an example
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                                ijwhere evidence relating to victim-impact (e.g .. the fact that one of the victims
                                     was pregnant) was admissible in the guilt phase of trial as facts surrounding the

                                JJoffense. and thus comments by the prosecutor in the sentencing phase relating to
                                I such    victim-impact evidence was permissible. The Court in Fautenberrv carefully
                                I
                                     pointed out that expressions of a witness's opinion as to the appropriate
                                 I
                                    Jsentence. e.g .. that the victim's family desires that defendant be sentenced to
                                1



                                11   death (as a11 owed by statute i n most non-capita 1 cases pursuant to R. C. 2943 . 041)

                                llare not admissible in a capital case.          Eautenberrv. 72 Ohio St.3d at 439. 650
                                II
                                JiN.E.2d at 882: accord, State v Huertas (1990). 51 Ohio St.3d 22. 553 N.E.2d
                                111058, syllabus. However. the Court in Eautenberrv specifically allowed testimony
                                i/from the victim's family members and employer concerning the impact of the
                            II victim· s death on his survivors. Foutenbecry, jd. at 438-439, 650 N. E. 2d at 881-

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                                           Defendant is correct in stating that a pertinent character trait of the
                            /[victim is admissible as provided in Evid.R. 404(A)(2), which provides:
                                I
                                        "Evidence of a pertinent trait of character of the victim of the crime
                                        offered by the accused. or by the prosecution to rebut the same. or
                                        evidence of a character trait of peacefulness of the victim offered by
                                        the prosecution in a homicide case to rebut evidence that the victim was
                                        the first aggressor is admissible***."

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                                           Thus. the admi ssi bi l ity of character evidence may depend on the issues
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    JOHN F. HOLCOMB         I        raised in the case. which may make the victim's character relevant. This issue.
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                                 therefore. cannot be determined as a sterile. abstract question without reference
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                                                                                              VON CLARK DAVIS v. WARDEN
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                            Ito the facts to be developed at trial.
                                         WHEREFORE. the defendant's motion should be denied.
                                                                       Respectfully submitted.
                                                                       JOHN F. HOLCOMB (0001499)
                                                                       PROSECUTING ATTORNEY
                                                                       BUTLER COUNTY. OHIO



                                                                       DANIEL J. TTERMEYER (00313 5)
                                                                       ASSISTANT OSECUTING ATTORNEY
                                                                       BUTLER COUNTY, OHIO



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                             Morgan. 110 N. Third St. Hamilton, Ohio 45011, and Lynn Cunning_ , 616 Dayton
                             St., Hamilton. Ohio 45011 by U.S. regular mail this 11~~- day of      ·         .
                                 1996.                                   ~               ~
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  BUTLER COUNTY, OHIO
                                                                       DANIEL J. GATT RMEYER (0031305)
    JOHN F. HOLCOMB
                                                                       ASSISTANT PROSECUTING ATTORNEY
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                            II

                                                                                       VON CLARK DAVIS v. WARDEN
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                            Judge on that as well with regard to some of the

               2            specifications in this case.     Specifically gun

               3            specifications.     And I'll address that again when

               4            we get back there, ladies and gentlemen, those are

               5            all the elements of that aggravated robbery.

               6                       And these are, this is part and parcel of

               7            the first count of aggravated murder.       Let's talk

               8            about the specifications to    thes~   murder counts.

               9                       These are the specifications that the law

           10               said must exist to make someone eligible for the

           11              death penalty.      In addition to finding him guilty

           12              of aggravated murder, if this is true, he's
    ~
          13               eligible for the death penalty.     What this says is
(
          14               that Ronald Gosser was a witness to an offense, and

          15               that he was purposely killed to prevent his

          16               testimony in any criminal proceeding regarding that
          17               offense.
          18                           And that the aggravated murder of Ronald
          19               Gosser was not committed during the commission,
          20               attempted commission, or flight immediately after
          21               the commission, or attempted commission of the
          22               offense to which Ronald Gosser was a witness.
          23               Okay.   Break that down.

          24                           He was a witness to the DeAngelo
          25               shooting.   Okay.    His murder was not -- did not

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              1           occur during the flight, during the commission of
(
              2           the shooting or during the flight immediately

              3           thereafter.     His murder occurred some 45 minutes

              4           later, after they had left the area one time and

              5           had returned.

              6                      That element of that, that part of that

              7           is clearly satisfied.     And that Ronald Gosser was a

           8              witness to an offense.     That's the heart and soul

           9              of this case.     It's what explains everyone's

          10              actions.   We know that from Lieutenant Murray, we

         11               know it from Ronald Gosser himself.     We know it

         12               from his fiancee.    We know it because of the way he

         13               pleads with his killers.     We know that from the way

         14               he pleads with them.     I'm with you, I'm with you.

         15               That tells us that he's a witness and that he was

         16               purposely killed to prevent his testimony in any

         17               criminal proceeding regarding that offense.

         18                          Well, see, John Barefield didn't want to

         19               say on the stand when he was being crossed that he

         20               wanted to kill Ron Gosser.    Was it ridiculous, was

         21               it absolutely ridiculous that he would deny that?

         22               He shot him in the back of the head, he didn't want

         23               to kill him.    After he falls to the ground,

         24               shooting him six more times in the chest, and, boy,

         25              never had the intent to kill the guy?      Is that just


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                            absolutely ridiculous?     That has no weight.
     (
                2                      What has weight is what you know from Ron

                3           Gosser, and what you know from the other

                4           eyewitnesses presented by the State in this case.

                5           There is another way in this case that Lahray

                6           Thompson along with his partners are eligible for

                7           the death penalty, this is another specification.

                8                      There are a number of these laid out in

                9           the law that have to be met.     But the aggravated

           10               murder of Ronald Gosser was committed while Lahray

           11               Thompson acting with prior calculation and design

           12               in the commission of the aggravated murder, Ronald

           13               Gosser was committing or attempting to commit the
     ,'
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     -~
           14               offense of aggravated robbery.

           15                          Okay.    If you intentionally, purposely

           16               kill somebody while you're committing the
           17               aggravated robbery, that makes you eligible for the

           18               death penalty.     It's a felony murder type concept.

           19               Okay.   It's not simply because you're doing the

           20               aggravated robbery.    But you know, there are

           21               inferences that you make in that area, about the

           22               type of force involved, the consequences of putting

           23               a gun to the back of somebody's head and
           24              discharging it.

           25                         I mean, there are inferences you make


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                       about what the people were intending.      Prior
(
           2           calculation and design.     It is the same prior

           3           calculation and design which existed before.

           4                      Lahray Thompson knew why they were

           5           looking for Ronald Gosser, he knew that, that

           6           wasn't a mystery.     It wasn't, well, let's go out

           7           and find Ron Gosser because we wanted to invite him

           8           to a party, it wasn't anything like that.

           9                      It was find the dude that talked to the

      10               police.   Find the guy that's ratting on us, that
      11               dare tells on me.     And Lahray Thompson knew that

      12               that's what they were doing.

      13                         This is the third specification, which
      14               makes it the death penalty eligible.     It's that the

      15               aggravated murder of Ronald Gosser was committed

      16               for the purpose of escaping detection,

      17               apprehension, trial or punishment for another
      18               offense committed by Lahray Thompson with the

      19               aggravated robbery.

      20                         Ladies and gentlemen, it's quite obvious
      21               the intended effect of killing the fellow after you

      22               robbed him, and it's going to definitely have the
      23               effect of preventing his testimony, at least that's
      24              what they're intending.     They didn't fully have
      25              that effect.   They didn't know that.


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               1                         Specification Four, that Lahray Thompson
(
               2           had a firearm on his person or under his control

               3           while committing the offense.        Joyce Jones saw him

               4           with the firearm.       She did.   Ashley Gaither didn't

               5           say she saw that.       She came up later, but_you know,

               6           under the law, on or about his person includes an

               7           unarmed accomplice to an armed principal offender,

           8               that's the law on a gun specification.

           9                           If you jointly join in the criminal

          10               enterprise, and everybody knows that one has the

          11               gun and that he's going to use the gun in

          12               committing the offense, they're all responsible.

          13               You'll see that theory is, runs throughout the

          14               law.   You want to discourage complicity.        People

          15               are less likely to be successful without help.            You

          16               discourage that.

          17                           On the final count, ladies and gentlemen

          18               of the jury, is the felonious assault of Barry

          19               DeAngelo.     And ladies and gentlemen, this is the

          20               motive count.     That's basically what it is.      It's

          21               the motive.     Okay.   Butler County, Ohio, use of a

         22               deadly weapon, a .22 revolver, we've got the

         23               evidence of the bullets seized from the vehicle,

         24               we've got the gun and we've got the ballistics

         25               evidence that ties it to the shooting and to the


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                        star witnesses?     The star witnesses that they talk
r
           2            to you about in their opening statement?       The star

           3            witnesses are Lawrence Jones.     Lawrence Jones tells

           4            you what he's really all about, not on the stand,

           5            but in his letter that he writes to Lahray, I'm

           6            going to clear your name right off the map.       Blood

           7            are thicker than water.     You my family.   That's

       8                there, it's his writing.     He wrote it to Lahray.

       9                            They aren't set to snitch, if you got no

      10                choice, tell them John-John did it.     Well, how does

      11                he know, he wasn't there.     How is he going to say

      12                that?     He can't say that, because he doesn't know.

      13                If they ask you, tell them you weren't nowhere

      14                around.

      15                            Well, why do you have to tell a person

      16                that they weren't anywhere around if they weren't

      17                anywhere around.    Wouldn't they know that?    Why do

      18                you have to tell them that?     You see, the letter

      19                tells you where Lawrence Jones is coming from.        You

      20               notice he made a point, a real point of saying he

      21               was the one wearing a checkered shirt?

      22                            Why does he say that, why does he offer

      23               that as an important factor?     John Barefield, John

      24               Barefield is articulate, and a forceful speaker,

      25               and he makes for real interesting drama.      But do


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                          you think for one second that the man who already
(
              2           murdered one witness for trying to tell the truth,

              3           that the man who has it in him to put a gun

              4           directly to the back of somebody's head and murder

              5           them would think twice about telling you a lie?

              6           Would that be important to him?     Would he care?

              7                      Does he have a value system that is

           8              anything like, anything like yours?     No.    He has a

           9              code he lives by, he told you about his code.        He

         10               wouldn't think twice about it, and you know why,

         11               he's already done it.

         12                          He already sat in that same chair in

         13               front of a jury just like you and lied.       And you

         14               know he wanted to just dismiss it, he just wanted

         15               to be able to say I lied, I told a lot of lies and

         16               have it be over with, you know, it's just not that

         17               simple.   He didn't just tell one lie, he told about

         18               50 pages worth of lies in detail and he had added

         19               some details.

         20                         And now he comes in this time, I'm

         21               telling you the truth, because I have nothing to

         22               gain and everything to lose.    Well, ladies and

         23              gentlemen, we know what he does when he has

         24              something to lose, he lies and he advised anybody

         25              else, anybody else, he said that, anybody else who


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       '    .                                                                       1207

                            is facing the death penalty needs to lie, too, you
((
                2           need to do the same thing, pardon my language, so

                3           save your ass, that's his advice, get on there, get

                4           your girlfriend in, get whoever in, and lie.

                5                        And you know, he's already won his

                6           victory when he lied his way out of the death

                7           penalty in this case.     He's won his victory.

            8               Ladies and gentlemen, we know from John Barefield

            9               that, if we didn't know before, that you build an

           10               alibi by lying, by getting your friends and family

           11               to come in, that's important when you lie.

           12                            You know, it's a mockery, it's an

           13               absolute mockery.     A lie is nothing but a tool.

           14               The truth has no independent value.      A lie is a

           15               tool that gets yourself out of trouble.       Is this

           16               Defendant above that?     Is Lahray Thompson above
           17               that?     When he was arrested, I'm Julius, my name is

           18               Julius.    His name isn't Julius, is it?     It's a

           19               lie.

           20                           And he told you why he lied, because he

           21               didn't want to be questioned about this offense.

           22               And you know the playing thing is, in a matter of

           23               seconds when he   was~arrested,   he assembled a crowd

           24              and he called to the crowd to verify that he was

           25              Julius, say I'm Julius, I'm Julius.


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       STATE OF OHIO,          C\..'C.~~                  Case No. CR-1983-12-0614

              Plaintiff-Respondent,                       Judge Nastoff

                     v.

       VON CLARK DAVIS,                                   CAPITAL CASE

              Defendant-Petitioner.


                                            NOTICE OF APPEARANCE


              Now come Kort Gatterdam and Erik P. Henry of Carpenter Lipps & Leland LLP, and

       hereby enter their official appearances as counsel for Defendant-Petitioner, Von Clark Davis, in

       the above named case.

                                                          Respectfulll ~~bmitted,

                                                             ~-m~~
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                                                          Erik P. Henry (0085155)
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                                     CERTIFICATE OF SERVICE

              I hereby certify that an exact copy of the foregoing Notice of Appearance was forwarded

      by first-class, postage prepaid U.S. Mail to Michael T. Gmoser, Butler County Prosecuting

      Attorney, 315 High Street, 11th Floor, Hamilton, Ohio 45011, on this 21st day of October, 2011.



                                                          Kort Gatterd'am


      050-384-297294




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